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       EXHIBIT 103-B
    Redacted Version of
Document Sought to be Sealed
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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
      IN RE:     FACEBOOK, INC.,                MDL No. 2843
4     CONSUMER USER PROFILE                     Case No.
      LITIGATION                                18-md-02843-VC-JSC
5     ___________________________
6     This document relates to:
7     ALL ACTIONS
8
      ____________________________
9
10
11
12             ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13       CORPORATE REPRESENTATIVE - MICHAEL PATRICK CLARK
14    (Reported Remotely via Video & Web Videoconference)
15              Denver, Colorado (Deponent's location)
16                       Wednesday, May 18, 2022
17                                  Volume I
18
19
20
      STENOGRAPHICALLY REPORTED BY:
21    REBECCA L. ROMANO, RPR, CSR, CCR
      California CSR No. 12546
22    Nevada CCR No. 827
      Oregon CSR No. 20-0466
23    Washington CCR No. 3491
24    JOB NO. 5210145
25    PAGES 1 - 251

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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
      IN RE:     FACEBOOK, INC.,                MDL No. 2843
4     CONSUMER USER PROFILE                     Case No.
      LITIGATION                                18-md-02843-VC-JSC
5     ___________________________
6     This document relates to:
7     ALL ACTIONS
8
      ____________________________
9
10
11
12
13
14
15                 DEPOSITION OF MICHAEL PATRICK CLARK,
16    taken on behalf of the Plaintiffs, with the
17    deponent located in Denver, Colorado, commencing at
18    10:07 a.m., Wednesday, May 18, 2022, remotely
19    reported via Video & Web videoconference before
20    REBECCA L. ROMANO, a Certified Shorthand Reporter,
21    Certified Court Reporter, Registered Professional
22    Reporter.
23
24
25

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1                           APPEARANCES OF COUNSEL
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25    /////

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1                           APPEARANCES OF COUNSEL
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25    /////

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1                           APPEARANCES OF COUNSEL
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13
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15
16    ALSO PRESENT:
17            Ian Chen, Associate General Counsel,
18    Meta Platforms
19            John Macdonell, Videographer
20
21
22
23
24
25    /////

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1                                 I N D E X
2     DEPONENT                                              EXAMINATION
3     MICHAEL PATRICK CLARK                                          PAGE
      VOLUME I
4
5                                BY MS. WEAVER                             15
6
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9     NUMBER                                                         PAGE
10                               DESCRIPTION
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12                     ADVANCE-META-00000060 -
13                     ADVANCE-META-00000065;
14
15    Exhibit 340      User Data Deletion Policy                           43
16                     dated October 23, 2020,
17                     ADVANCE-META-00000043 -
18                     ADVANCE-META-00000056;
19
20    Exhibit 341      Control Objective - As of                           46
21                     10.29.2021,
22                     ADVANCE-META-00000054 -
23                     ADVANCE-META-00000056;
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25    /////

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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
3                                DESCRIPTION
4      Exhibit 342      Data/DeletingDeletedData -                      54
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7                       ADVANCE-META-00000002;
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9      Exhibit 343      Wiki Page - Deletion                            65
10                      Framework Overview,
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12                      ADVANCE-META-00000004;
13
14     Exhibit 344      Email dated Feb 11, 2013                        63
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16                      PwC-CPUP_FB00007766 -
17                      PwC-CPUP_FB00007768;
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19     Exhibit 345      Hive Tables,                                    90
20                      FB-CA-MDL-00347605 -
21                      FB-CA-MDL-00347886;
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25     /////

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2      NUMBER                                                        PAGE
3                                DESCRIPTION
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6                       ADVANCE-META-00000028 -
7                       ADVANCE-META-00000029;
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9      Exhibit 347      Wiki Page - Hive Anon,                         105
10                      ADVANCE-META-00000026 -
11                      ADVANCE-META-00000027;
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13     Exhibit 348      Wiki Page - What is UII?,                      106
14                      ADVANCE-META-00000059;
15
16     Exhibit 349      Gibson Dunn Letter dated                       127
17                      April 11, 2022;
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19     Exhibit 350      Wiki Page - Overview,                          138
20                      ADVANCE-META-00000030 -
21                      ADVANCE-META-00000031;
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23     Exhibit 351      Privacy Eng,                                   163
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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
3                                DESCRIPTION
4      Exhibit 352      Wiki Page - App-Scoped ID                      178
5                       (ASID) Conversations,
6                       ADVANCE-META-00000008 -
7                       ADVANCE-META-00000009;
8
9      Exhibit 353      (skipped)
10
11     Exhibit 354      Email dated 10/9/2013                          184
12                      Subject:      New stuff from Box,
13                      PwC_CPUP_FB00020372 -
14                      PwC_CPUP_FB00020380;
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16     Exhibit 355      Wiki Page - Deletion Plan,                     194
17                      ADVANCE-META-00000021 -
18                      ADVANCE-META-00000022;
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20     Exhibit 356      Wiki Page - Ent Based                          195
21                      Deleters,
22                      ADVANCE-META-00000023 -
23                      ADVANCE-META-00000025;
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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
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7                       FB-CA-MDL-03233365;
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9      Exhibit 358      Excel Spreadsheet,                             203
10                      FB-CA-MDL-032333365;
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12     Exhibit 359      Wiki Page - UII Definition,                    213
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17                           PREVIOUSLY MARKED
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1           Denver, Colorado; Wednesday, May 18, 2022

2                              10:07 a.m.

3                              ---o0o---

4

5                THE VIDEOGRAPHER:     We're on the record.        10:07:40

6      It's 10:07 a.m. Mountain Time on May 18th, 2022.

7                This is the deposition of Mike Clark, and

8      we're here in the matter of In Re:        Facebook, Inc.

9      Consumer Privacy User Profile Litigation.         I'm

10     John Macdonell, the videographer, with Veritext.            10:07:57

11               Before the reporter swears the witness,

12     would counsel please identify themselves, beginning

13     with the noticing party, please.

14               MS. WEAVER:     Good morning.     This is

15     Lesley Weaver of Bleichmar Fonti & Auld, and I              10:08:10

16     represent the plaintiffs.

17               I am taking this deposition today with

18     the assistance of Josh Samra of my firm.         And also

19     present are my able co-counsel, Cari Laufenberg and

20     Emma Wright of -- sorry -- of Keller Rohrback.              10:08:25

21               MR. BLUME:     Good morning.     Rob Blume from

22     Gibson, Dunn & Crutcher on behalf of Facebook.

23               Here today with Rose Ring,

24     Martie Kutscher Clark and Mike Ulmer, as well

25     Ian Chen from the client.                                   10:08:42

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1                SPECIAL MASTER GARRIE:       This is             10:08:50

2      Special Master Garrie.     I'm here on behalf of the

3      Court.

4                THE COURT REPORTER:       At this time, I will

5      ask counsel to agree on the record that there is no        10:08:54

6      objection to this deposition officer administering

7      a binding oath to the deponent via remote

8      videoconference, starting with the noticing

9      attorney, please.

10               MS. WEAVER:     Yes, no objection.               10:09:15

11               MR. BLUME:     No objection from Facebook.

12               THE COURT REPORTER:       Mr. Clark, If you

13     could raise your right hand for me, please.

14               THE DEPONENT:     (Complies.)

15               THE COURT REPORTER:       You do solemnly        10:09:20

16     state, under penalty of perjury, that the testimony

17     you are about to give in this deposition shall be

18     the truth, the whole truth and nothing but the

19     truth?

20               THE DEPONENT:     I do.                          10:09:20

21

22

23

24

25     /////                                                      10:09:35

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1                          MICHAEL PATRICK CLARK,                10:09:38

2      having been administered an oath, was examined and

3      testified as follows:

4

5                               EXAMINATION                      10:09:38

6      BY MS. WEAVER:

7           Q.     Good morning, Mr. Clark.       I'm

8      Lesley Weaver, and I'll be taking your deposition

9      today.

10                 Would you mind stating, for the record,       10:09:44

11     your full name and your place of employment.

12          A.     Sure.

13                 It's Mike Clark.     My legal name is

14     Michael Patrick Clark.       Place of employment is

15     Facebook or Meta.                                         10:10:01

16          Q.     And in what city are you currently

17     employed?

18          A.     I'm a remote employee from Menlo Park,

19     California, living in Denver, Colorado.

20          Q.     Thank you.                                    10:10:15

21                 How long have you worked for Facebook?

22          A.     A little over three years.

23          Q.     And what's your current role and title?

24          A.     Title is director of product management.

25          Q.     And have you always held that title?          10:10:29

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1           A.     I was a product manager when I started.         10:10:32

2      About the same level the whole time.

3           Q.     What is a product manager?

4           A.     A product manager -- product manager

5      helps pull together the specifications for both             10:10:51

6      user experience, the requirements for internal

7      Facebook developers, and business case and

8      definition for products built by Facebook.

9           Q.     And what products have you managed at

10     Facebook?                                                   10:11:14

11          A.     I have worked in privacy the entire time.

12          Q.     And is privacy a product at Facebook?

13          A.     The -- there is a privacy organization

14     and there are privacy-related products that are

15     part of that.                                               10:11:33

16          Q.     And are there specific privacy-related

17     products that you have focused on in your

18     employment at Facebook?

19          A.     Yes.    Currently, I support the org.       I

20     take care of the privacy infrastructure teams.              10:11:46

21          Q.     And what is privacy infrastructure?

22          A.     Yeah.    Privacy infrastructure is where we

23     build centralized infrastructure to enable Facebook

24     internal developers to have common central

25     solutions to solve for privacy.        That might include   10:12:08

                                                                    Page 16

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1      deletion.        Also includes retention, data                     10:12:14

2      minimization, purpose limitation, scraping,

3      anti-scraping efforts as well.

4              Q.      And who heads the privacy infrastructure

5      team?                                                              10:12:36

6              A.      Could you be more -- the product

7      organization or the product team or the -- there --

8      there are multiple -- there are multiple roles

9      associated with privacy infrastructure.               I lead the

10     product management of privacy infrastructure.                      10:12:56

11             Q.      Understood.     And I'll put a pause on

12     that.        Thank you for answering that question.

13                     Do you understand today that you are

14     testifying on behalf of Facebook as a corporate

15     representative?                                                    10:13:09

16             A.      Yes, I do.

17             Q.      And have you seen the deposition notice

18     in this case?

19             A.      I have.

20             Q.      Okay.     And you're here to testify with          10:13:16

21     regard to topic 4; is that correct?

22             A.      That is correct.

23             Q.      Do you understand that topic 4 is

24     Facebook's processes of pseudonymization,

25     de-identification, re-identification, association,                 10:13:30

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1      and deletion of user data and information; is that           10:13:34

2      your understanding?

3           A.      That is my understanding.

4           Q.      Okay.     And have been deposed before,

5      Mr. Clark?                                                   10:13:46

6           A.      I have.

7           Q.      How many occasions have you been deposed?

8           A.      A total of seven.

9           Q.      Have all of those depositions been in

10     connection with your employment at Facebook?                 10:13:54

11          A.      No.     No, they have not.

12          Q.      To what, in general, did all seven

13     depositions relate?

14          A.      One was related to a car accident that I

15     was a passenger in as a teenager.          The second were   10:14:08

16     telecommunications company I worked for were

17     disputes around billing and access rights to

18     physical infrastructure.

19                  And then the other four have been at

20     Facebook.                                                    10:14:32

21          Q.      And in what matters have you been deposed

22     as part of your employment at Facebook?

23          A.      I've been deposed on matters relating to

24     the anti-scraping efforts and enforcement that we

25     had taken, in three of the four depositions.                 10:14:54

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1              Q.   And what was the fourth deposition?                   10:14:56

2              A.   The -- the fourth deposition was

3      talking -- it was -- it was a deposition with the

4      FTC, specifically about

5              Q.   And when you say "about                        what   10:15:11

6      do you mean?

7              A.   About




9              Q.   And when was that deposition?

10             A.   That was November or December of last                 10:15:26

11     year.

12             Q.   And what was the subject matter of your

13     testimony in that deposition, in general?

14             A.   Specifically, it was about

                                                                          10:15:42

16             Q.   And what did you discuss in that

17     deposition as subject matter, specifically?

18                  MR. BLUME:   Object -- objection.            Scope,

19     generally.

20                  THE DEPONENT:     The -- it was -- it was             10:15:57

21     specifically about the assessment and my -- and --

22     and the role of privacy infrastructure in the

23     broader assessment.

24             Q.   (By Ms. Weaver)     And what specific

25     privacy infrastructure were you testifying about?                  10:16:17

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1           A.    I -- it was controls and safeguards              10:16:21

2      associated with privacy infrastructure.

3           Q.    Did it include anonymization or

4      pseudonymization of data?

5           A.    It did not include anonymization or              10:16:35

6      pseudonymization.

7           Q.    What did it include?

8           A.    It included the broader controls and

9      safeguards associated.

10          Q.    And what controls and safeguards,                10:16:47

11     specifically, if not anonymization and

12     pseudonymization?

13                MR. BLUME:     Objection.    Scope, generally.

14                THE DEPONENT:     It included the broader

15     set of safeguards that include data life cycle              10:17:03

16     management.      That included scraping and TPM.

17          Q.    (By Ms. Weaver)     When you say "data life

18     cycle management," does that include data deletion?

19          A.    That does include data deletion.

20          Q.    What else does data life cycle management        10:17:24

21     include?

22          A.    Data retention.

23          Q.    Anything else?

24          A.    No.

25          Q.    Okay.                                            10:17:38

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1              A.     The deal same safeguards are those two.             10:17:39

2              Q.     And how long was your deposition in that

3      matter, do you recall?

4              A.     Approximately four hours.

5              Q.     And I apologize.    I'm sure you told me,           10:18:04

6      but when did that deposition occur?

7              A.     I don't remember the exact date.           It was

8      either November or December of last year.

9              Q.     Thanks very much.

10                    Well, you're very good, as far as I can             10:18:16

11     tell, at depositions so far.         Especially insofar as

12     we are communicating clearly and in a way that the

13     court reporter can take down.

14                    And so I appreciate that.      Thank you.

15                    And the general rules of the road you               10:18:29

16     seem to know, which is, please allow me to finish

17     my question before you answer.         And I will endeavor

18     to not interrupt you and allow you to finish your

19     answers before I speak; is that fair?

20             A.     That is fair.                                       10:18:45

21             Q.     Okay.   And answers need to be verbal, yes

22     or no.       For purposes of the record, nodding will

23     not accomplish what we need to accomplish here

24     today in terms of creating a transcript; is that

25     fair?                                                              10:18:57

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1              A.   That is fair.                                 10:18:58

2              Q.   Okay.     If you answer my question, I'm

3      going to assume that you understood what I was

4      asking; is that fair?

5              A.   That is fair.                                 10:19:08

6              Q.   Okay.     What did you do to prepare for

7      your deposition today?

8              A.   I reviewed materials and had interviews

9      with individuals, with counsel.

10             Q.   With whom did you have interviews?            10:19:25

11             A.   I spoke with Scott Renfro.

12     Yiannis Papagiannis.        P-A-P-A-G-I-A-N-N-I-S is how

13     you spell the last name.

14                  Mayur Patel.     Eugene Zarashaw,

15     Z-A-R-A-S-H-A-W.        Ryan Borker, B-O-R-K-E-R.          10:19:48

16     Will Shackleton, S-H-A-C-K-L-E-T-O-N.           And

17     Hannes Roth.        H-A-N-N-E-S and then R-O-T-H.

18             Q.   Anyone else?

19             A.   No.

20             Q.   When you spoke with those seven               10:20:25

21     individuals, was counsel present for each

22     conversation?

23             A.   Yes.

24             Q.   And how long did you speak with each of

25     them?                                                      10:20:31

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1           A.   I -- I don't have exactly how much time I       10:20:36

2      spent with them.     Between those interviews and

3      counsel, approximately 35 hours.

4           Q.   And what did you discuss with Mr. Renfro?

5           A.   I discussed some of the historical and --       10:20:59

6      and past functionality of the deletion framework.

7           Q.   And when you say the "deletion

8      framework," what are you referring to?

9           A.   Software related to deletion

10     functionality at Facebook.                                10:21:19

11          Q.   Thank you.

12               Mr. Renfro is currently an employee, is

13     that right, of Facebook?

14          A.   That is correct.

15          Q.   And what is his title?                          10:21:28

16          A.   Yes.

17               I do not know his title.

18          Q.   Do you know what his current role is?

19          A.   His -- I -- I actually don't know his

20     exact role or title.                                      10:21:47

21          Q.   Do you know his --

22          A.   He's a -- he's a -- his past role is as a

23     software engineer.     I don't know what his current

24     title or role.

25          Q.   How long did you speak with Mr. Renfro?         10:21:59

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1           A.    I did not keep an exact accounting of the      10:22:01

2      amount of time I spoke with Mr. Renfro.

3      Potentially an hour.

4           Q.    Okay.   Well, so as not to be too

5      exhausting, can you give me a rough estimate, for         10:22:13

6      each of the seven individuals you named, how

7      many -- how much time you spent talking to each of

8      them and generally what the subject matter was?

9           A.    Sure.

10                For Yiannis Papagiannis, a total of            10:22:29

11     roughly an hour.     Spoke to Yiannis about current

12     deletion software functionality.       And his

13     experience in learnings and observations from the

14     time that he's been here, which was longer than

15     myself.   Yiannis's title is an engineering manager.      10:22:55

16                Mayur Patel, probably spent a total of an

17     hour and a half with, discussing questions that I

18     had regarding some of the technical functionality

19     of some of the systems and current processes for

20     how they operate, roughly -- and Mayur is a               10:23:41

21     software engineer.

22                Eugene, probably 30 minutes, if even

23     that, and was for historical context on past

24     functionality of deletion software.        Eugene is

25     formerly a software engineer.      I do not know his      10:24:14

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1      current title.                                                      10:24:16

2                   Ryan Borker was also around between

3      15 minutes and a half hour.       And spoke with Ryan

4      about schematization.       And Ryan is a product

5      manager.                                                            10:24:46

6                   Will Shackleton, spent about 20 minutes

7      with, and spoke to -- about past versions of

8      deletion software.       And spoke to Will for a

9      half hour.

10                  And Hannes was also between 15 minutes                 10:25:25

11     and a half hour.       And spoke to about schematization

12     as well.     And Hannes is a software engineer.

13          Q.      And what is schematization?

14          A.      Schematization is a process of

15     classifying data storage systems.                                   10:25:48

16          Q.      And what is, in general, Facebook's

17     schematization in this case, particularly as

18     relevant to the topics you discussed with people in

19     preparation for this deposition?

20          A.      Specifically, the deletion framework, the              10:26:09

21     software that operates deletion at Facebook.             The

22     simple deletion framework uses

                                                                      to

24     delete data on those systems.

25          Q.      Got it.                                                10:26:33

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1                      So to recap briefly, you spoke with              10:26:34

2      Mr. Renfro for about an hour.              Mr. Papagiannis for

3      about an hour.           Mr. Patel for about an hour and a

4      half.        We're at about three and a half.

5                      Then Mr. Zarashaw for about 30 minutes.          10:26:50

6      And let's say 30 minutes for the -- each for the

7      remaining four, so that's two -- so you spent about

8      seven hours substantively preparing for this

9      deposition.        And then you said you spent 35 hours

10     preparing.                                                       10:27:05

11                     Was the remainder of the time spent

12     talking to counsel?

13             A.      Yes, in addition to 20 of -- hours of my

14     own time reviewing material.

15             Q.      And what materials did you review for            10:27:14

16     20 hours?

17             A.      Yeah.     I -- I reviewed approximately

18     45 documents.           The UDDP.    The relevant deletion

19     controls from 2012 to present.              PwC's audits from

20     2013 to 200- -- I believe '17.              Wiki's describing    10:27:33

21     the technical details of deletion and the software

22     associated with.           And then also reviewed the

23     25 documents which you had provided.

24             Q.      And when you say you reviewed PwC's

25     audits, what specifically are you referring to?                  10:27:56

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1           A.     There were audits of the controls in that     10:28:04

2      time frame, and it was the -- at that time the

3      third-party assessment of those controls associated

4      with the 2012 FTC order.

5           Q.     What was the focus of PwC's audit during      10:28:21

6      that time frame?

7                  MR. BLUME:   Objection.      Scope.

8                  THE DEPONENT:     Yeah, I can only speak to

9      what I observed in -- in reading, which was the --

10     the privacy controls.                                     10:28:39

11          Q.     (By Ms. Weaver)     And when you say the

12     "privacy controls," what do you mean, specifically?

13          A.     There were controls that were identified

14     that -- which I had reviewed from 2012 to present,

15     and it was the audit of those controls.                   10:28:57

16          Q.     Right.

17                 And which controls specifically are you

18     referring to?

19          A.     Controls associated with deletion.

20          Q.     Anything else?                                10:29:11

21          A.     Focused primarily on the controls

22     associated with deletion.

23          Q.     What's your understanding of why PwC

24     focused an audit on privacy controls relating to

25     deletion?                                                 10:29:28

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1                   MR. BLUME:   Objection.      Scope.    And   10:29:29

2      privilege.

3                   So to the extent you know by speaking to

4      counsel, I'd instruct you not to answer.

5                   THE DEPONENT:     I don't know that I        10:29:39

6      understand the question.

7           Q.      (By Ms. Weaver)     Sure.

8                   You said you spent 20 hours reviewing

9      documents, including PwC's audits.

10                  And then you testified that the focus of     10:29:48

11     the PwC audits, with regard to privacy controls,

12     were controls associated with deletion; is that

13     correct?

14          A.      I -- just to clarify.       I didn't just

15     spend 20 hours on the PwC.        Those were -- those     10:30:01

16     were some of the documents in that time.

17          Q.      Right.

18                  And I'm asking you, having read those PwC

19     audits, what did you --

20          A.      Yes.                                         10:30:11

21          Q.      -- learn from those documents relating to

22     why PwC was auditing Facebook's privacy controls

23     associated with deletion?

24          A.      They were auditing, as part of the

25     requirements associated -- as I understand, and           10:30:26

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1      from what I read, associated with the 2012 FTC            10:30:29

2      order.

3           Q.   And when you say the "2012 FTC order,"

4      what are you referring to?

5           A.   I don't know how else to label that.            10:30:41

6      The -- the FTC agreement between Facebook and the

7      FTC in 2012.

8           Q.   And what did the agreement relate to, in

9      your understanding?

10          A.   In -- in my understanding and review of         10:30:52

11     it, agreements to privacy practices and for those

12     privacy practices to be audited.

13          Q.   And specifically, with regard to the

14     controls associated with deletion, what is your

15     understanding, based on your review and preparation       10:31:11

16     for this deposition, of what the -- what PwC was

17     focused on?

18               MR. BLUME:   Objection.      Scope.

19               THE DEPONENT:     To the best of my

20     understanding, the area that I reviewed was their         10:31:25

21     observations associated with controls associated

22     with deletion.

23          Q.   (By Ms. Weaver)     What were those

24     observations?

25          A.   I would actually want to pull those up so       10:31:36

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1      that I could speak to them directly --                        10:31:39

2           Q.      Which documents --

3                   (Simultaneously speaking.)

4                   THE DEPONENT:     -- if you'd like to go

5      through this --                                               10:31:43

6           Q.      (By Ms. Weaver)     I -- I -- I understand.

7      But I'm entitled to your recollection.           And you've

8      said now you looked at them for 20 hours in

9      association with other documents.

10                  What's your understanding, as you sit            10:31:50

11     here today, as Facebook's corporate representative,

12     of the privacy controls associated with deletion

13     that PwC was investigating?

14                  MR. BLUME:   Object to form.

15                  THE DEPONENT:     I did --                       10:32:02

16                  MR. BLUME:   Hold on.

17                  THE DEPONENT:     Sorry.

18                  MR. BLUME:   Objection.      Form and scope.

19                  THE DEPONENT:     I -- I do want to clarify.

20                  I didn't spend 20 hours reading the PwC          10:32:07

21     documents.     I just want to make sure that that's

22     accurate.

23                  For the time that I did spend reading

24     them, one that comes directly to mind would be the

25     2017 audit, where specifically, as I refer to my              10:32:18

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1      notes, where the -- found -- PwC found no issues          10:32:24

2      relating to deletion on Facebook.

3                  And the 2017 to 2019 also finds no issues

4      relating to deletion on Facebook that -- yeah, I

5      mean -- those -- those were at very high levels           10:32:53

6      what I -- those are what I remember from

7      recollection.

8                  If we go back further to 2013, where PwC

9      was testing privacy controls, also found no

10     deletion -- no issues relating to deletion.               10:33:07

11                 In the 2013 to 2015 audit, as well, also

12     identified no direct issues relating to deletion on

13     Facebook.

14          Q.     (By Ms. Weaver)     And you appear to be

15     reading from a document; is that right, Mr. Clark?        10:33:25

16          A.     Yup.   As I mentioned, I -- I was looking

17     at my notes.

18          Q.     And what are these notes?

19          A.     These were notes that I handwrote just

20     because of the timeline that I needed to cover and        10:33:36

21     to make sure that I just have something to refresh

22     my recollection.

23          Q.     When did you create these notes?

24          A.     Last night.

25                 MS. WEAVER:   We would request immediate      10:33:49

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1      production of them, Counsel.                                     10:33:50

2           Q.      (By Ms. Weaver)     And had you taken any

3      notes that are incorporated in what you're

4      reviewing before last night?

5           A.      In -- no.                                           10:34:03

6           Q.      Did anybody assist you in the preparation

7      of these notes?

8           A.      No.   I typed them myself.

9           Q.      And when you typed them, were you looking

10     at handwritten notes?                                            10:34:12

11          A.      No, I was not.     I typed -- I typed them

12     up from the 45 documents and 25 documents -- 45

13     documents, and then the 25 provided by you to -- to

14     create and generate these notes.

15                  MS. WEAVER:    Okay.     Mr. Blume, will you        10:34:33

16     produce those as soon as possible, please.

17                  MR. BLUME:    We will.

18                  MS. WEAVER:    I mean, we can take a break.

19     You're sitting in the room with him.           So why don't

20     we take a break and you can have them copied and                 10:34:43

21     then we'll take a look.

22                  Go off the record.

23                  THE VIDEOGRAPHER:      Off the record.       It's

24     10:34 a.m.

25                  (Recess taken.)                                     10:34:52

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1                  THE VIDEOGRAPHER:     Okay.     We're back on   10:53:53

2      the record.    It's 10:53 a.m.

3                  MR. BLUME:    I'm sorry.      If I could just

4      note, we produced what's been Bates-labeled -- this

5      is Rob Blume -- ADVANCE-META -- a document -60 to           10:54:04

6      -65.

7                  It's Facebook's position that those notes

8      are not obligated to be produced at this time,

9      although we did so out of courtesy to Ms. Weaver.

10                 MS. WEAVER:    Duly noted and appreciated.      10:54:22

11                 And I've taken just a quick moment here

12     to review the notes, which we will mark as

13     Exhibit 1 [sic], when Mr. Samra has a moment here.

14     I do think they will facilitate the taking of the

15     deposition.    So we'll mark those for now and just         10:54:39

16     set them aside.

17                 (Exhibit 339 was marked for

18     identification by the court reporter and is

19     attached hereto.)

20            Q.   (By Ms. Weaver)     Mr. Clark, what is your     10:54:52

21     understanding of what the word "pseudonymization"

22     means?

23            A.   Are we back on the record?

24            Q.   Yes.

25            A.   Okay.                                           10:55:02

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1           Q.      Sorry.   We're back on the record and         10:55:03

2      you're under oath.

3                   I'll ask the question again.

4                   Mr. Clark, what's your understanding of

5      the -- what the word "pseudonymization" means?             10:55:12

6           A.      The term "pseudonymization" is a term

7      where its -- its -- its technical meaning is to

8      create an additional identity from a source

9      identity.

10                  Specifically, in the case that we are         10:55:33

11     talking about here, pseudo- -- pseudonymization

12     practices at Facebook is, we have the Facebook user

13     ID that is the canonical user ID.        And the process

14     of

                                                                  10:55:55

16          Q.      And when you say "identifier," what do

17     you mean?

18          A.      Identifier can have a broad set of

19     meaning.     In -- in this case -- in -- in the -- in

20     the pseudonymization example that I was just               10:56:10

21     speaking of, an identifier is -- it's -- it's

22     something to -- a number or some kind of technical

23     concept to




25                  In the case of the canonical user             10:56:33

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1      identifier, their Facebook user ID that I -- that I         10:56:35

2      mentioned, that's to




4            Q.   And when you say "Facebook user ID," is

5      that -- written in a shorthand at Facebook?                 10:56:50

6            A.   I -- I apologize.     One word broke out

7      when you asked that question.       Can you repeat that.

8            Q.   No problem.

9                 How does Facebook refer to the Facebook

10     user ID?                                                    10:57:05

11           A.   The Facebook user ID, which is an

12     internal use, it's for internal Facebook developers

13     only to use.   We refer to it as the canonical user

14     identifier.

15           Q.   And is it           Is it expressed              10:57:23

16     ordinarily?

17           A.   It -- it can be expressed               , yes.

18           Q.   Are there other ways to refer to it?

19                MR. BLUME:    Objection.     Form.

20                THE DEPONENT:     User ID.    Facebook user      10:57:36

21     ID.

22           Q.   (By Ms. Weaver)     Any other way?

23           A.   Those -- those are the ones that I know

24     of offhand.

25           Q.   So -- apologies.                                 10:57:48

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1                So             and UID the same thing?            10:57:51

2           A.




4           Q.   And what other identifiers are you aware

5      of in use at Facebook that are used for processes           10:58:07

6      of pseudonymization?

7           A.   Purely for the sake of pseudonymization,

8      I would -- one example would be the




                                                      So that at

17     any point if the user deletes their account, that

18

19          Q.   And then --

20          A.   That's one example.                               10:59:13

21          Q.   And then the




23               MR. BLUME:     Objection.    Form.

24               THE DEPONENT:     Could you ask that more

25     specifically.                                               10:59:28

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1              Q.   (By Ms. Weaver)     I'm just asking, is the        10:59:30

2

3              A.   Specifically, inside of Hive,

                                      And that is while the user

5      account is active and the data exists.            That is tie   10:59:51

6                                             in the data

7      warehouse.

8              Q.   And when you say "

                                    do you mean

                                                                       11:00:05

11                  MR. BLUME:   Objection.      Form.

12                  THE DEPONENT:     The -- I'm -- I'm trying

13     to figure out the right way to answer that question

14     because it's -- it -- it -- in a data warehouse,

15     you have unstructured data that might be a log, for             11:00:29

16     instance.     And if there was a user ID in that log

17     entry,

                                                 while the account

19     is active and before -- and while the data still

20     lives on the system




22             Q.   (By Ms. Weaver)     Perfect.     Thank you.

23                  What does the word de-identification

24     mean?

25             A.   De-identification is the process of                11:01:23

                                                                        Page 37

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1      taking and stripping identity from --                      11:01:30

2      generically -- generic technical definition is, is

3      taking any identifiers or stripping any identifiers

4      out of a set of data so it's not identifiable.

5              Q.   And what is re-identification?                11:01:50

6              A.   Re-identification is a process that --

7      using the generic technical definition -- where a

8      set of data that while not directly identifiable,

9      there is some process by which data can be tied

10     back to some original identity.                            11:02:14

11             Q.   Great.

12                  And what about association in this

13     context?

14                  MR. BLUME:   Objection.      Form.

15                  THE DEPONENT:     Association and -- as you   11:02:29

16     say in this context, can you clarify what you mean.

17             Q.   (By Ms. Weaver)     Sure.

18                  Topic 4, to which -- for which you're the

19     corporate representative, seeks information about

20     Facebook's processes of a number of things,                11:02:42

21     including association of user data and information.

22                  In that context, what does association

23     mean?

24             A.   Thank you.

25             Q.   Sure.                                         11:02:54

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1           A.    The word "association" in that context is        11:02:54

2      how -- I -- I asked the question because

3      association has specific technical meaning in

4      Facebook's systems, in addition to the generic

5      technical use of the word is where data can be              11:03:07

6      associated or identified back to an original user

7      identifier.

8           Q.    Okay.   And then what does deletion mean,

9      as you understand it, with regard to topic 4?

10          A.    Deletion, as I understand it, in regards         11:03:37

11     to topic 4 is the -- the Facebook processes by

12     which we -- when a user requests an individual

13     object or their accounts to be deleted, that --

14     that their -- that the obligations of that deletion

15     are met.                                                    11:03:58

16          Q.    When data is deleted at Facebook, does

17     that mean it no longer exists or can it also mean

18     that the associations or identifications no longer

19     connect a user to the data?

20                MR. BLUME:   Objection.      Form.               11:04:25

21                THE DEPONENT:     Can -- that felt like a

22     couple of questions.

23                Can you -- can you be more specific.

24          Q.    (By Ms. Weaver)     Yeah.    I'm actually just

25     trying to lay it out so you can see where I'm               11:04:34

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1      headed.                                                   11:04:37

2           A.   Okay.

3           Q.   So does deletion at Facebook mean the

4      data no longer exists?

5           A.   When data is deleted at Facebook, the --        11:04:45

6      the data itself is gone or is no longer

7      identifiable in any way back to the user.

8           Q.   So sometimes deletion could mean that the

9      data still exists.     But the way to identify or

10     associate data with a user has just been                  11:05:07

11     eliminated; is that fair?

12               MR. BLUME:     Objection.    Form.

13               THE DEPONENT:     I




15          Q.   (By Ms. Weaver)       Why not?                  11:05:19

16          A.




22               If there is a log entry that includes --

23     I'll use my own name as an example -- that includes

24     my own user identifier, when it's first uploaded,

25     my IP address, maybe some device information,             11:05:54

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1      things that would be necessary for the normal                   11:05:58

2      operation and debugging of any issues that might

3      have popped up, and that there was a photo uploaded

4      and what that photo was,




                because the photo would also be gone if I

10     deleted my account, and any of the associated                   11:06:26

11     information like IP address or device information

12     would also be gone.

13             Q.   When the data still exists somewhere in,

14     say, a table or a data source, is there an

15     associated general descriptor of, for example, this             11:06:42

16     is data from 2007 from Facebook users, in general?

17                  MR. BLUME:     Objection.    Form.    Objection.

18     Form.

19                  THE DEPONENT:     In form I -- I -- I don't

20     know that I would agree with exactly how that would             11:07:03

21     state.

22                  Like in the example I used, it would be

23     photo upload logs.        But the 2007 would be past

24     retention periods, and so I wouldn't expect, per

25     our policies, for that to exist.                                11:07:18

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1           Q.   (By Ms. Weaver)     Let me do this.          Let's   11:07:30

2      keep walking through our definitions, and I'm going

3      to come back to this issue when I think we have a

4      better way to communicate about it.

5                The first question is, did you refer to              11:07:37

6      that data that's not associated -- that still

7      physically exists, but it is not associated, is

8      there a different way to refer to that than just

9      deleted data?

10               MR. BLUME:     Objection.    Form.                   11:07:58

11               THE DEPONENT:     Yeah, I -- that -- that

12     data is de-identified.

13               MS. WEAVER:     Okay.   Perfect.     That's what

14     I was hoping for.

15               I'll ask you to now turn to                          11:08:21

16     Exhibit Share.    And we've marked a couple of

17     exhibits while -- and when I say "we," Josh Samra

18     has marked a couple of exhibits while we were

19     chatting, and I believe it's Exhibit 339.

20          Q.   (By Ms. Weaver)     And do you know,                 11:08:40

21     Mr. Clark, about how you have to kind of refresh

22     Exhibit Share to have exhibits show up?

23          A.   Let me see how I can make that work.

24          Q.   Okay.

25          A.   I think I've got it right here.                      11:08:50

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1                   Could you repeat for me the exhibit               11:08:52

2      number.

3           Q.      Yes.    It's 339.

4                   I see, though, it starts with an

5      Exhibit 1.     You should disregard that.          That was    11:08:57

6      done in error at my instruction, and we will remove

7      it from the file.

8           A.      I'm waiting for it load.

9                   MS. WEAVER:    Okay.      And, actually, you'll

10     see there are two exhibits while we're waiting.                11:09:10

11                  For the record, Exhibit 339 is a copy of

12     the document just produced by Facebook bearing

13     Bates numbers ADVANCED-META-60 through -65, and

14     bearing the words "Mike Clark Deposition Notes."

15                  (Exhibit 340 was marked for                       11:09:30

16     identification by the court reporter and is

17     attached hereto.)

18                  MS. WEAVER:    And Exhibit 340 is a

19     document bearing Bates numbers ADVANCED-META-43

20     through -56, and bearing the words "User Data                  11:09:39

21     Deletion Policy."

22          Q.      (By Ms. Weaver)       Let me know when you

23     have them up, Mr. Clark.

24          A.      Okay.

25                  Which one would like me to look at first?         11:09:58

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1           Q.     Why don't you look at 339, and let's just     11:10:01

2      identify it for the record.

3           A.     Okay.

4           Q.     In the informal way, not the data way.

5           A.     This appears to be the notes that I typed     11:10:20

6      up, which I have physically in front of me as well.

7           Q.     And what was the basis for these notes?

8           A.     I had a lot of documents that I reviewed

9      and wanted to be able to keep the timeline straight

10     in my head for what happened when.                        11:10:39

11          Q.     And do you have a list of the notes that

12     you relied upon when you drafted these notes -- I'm

13     sorry.    Strike that and I'll restate it.

14                 Do you have a list of the documents that

15     you relied upon in drafting these notes?                  11:10:52

16          A.     I -- these were documents provided by

17     counsel, for instance, the UDDP.      The deletion

18     controls from 2012.    The PwC audits.     Number of

19     Wikis.

20                 As -- as it says right here, like             11:11:17

21     these are -- these are examples of -- of what I

22     pulled this from.

23          Q.     And you physically possessed those

24     documents at the time you were writing these notes;

25     is that right?                                            11:11:27

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1              A.   Yes.                                                   11:11:27

2              Q.   And do you still have them?

3              A.   Not right in front of me, but I do have

4      them.

5              Q.   Okay.   And you could prepare a list of                11:11:31

6      them, correct?

7              A.   Correct.

8              Q.   Okay.   And do you believe that these

9      notes are true and accurate, to the best of your

10     knowledge, based on the documents that you                          11:11:43

11     reviewed?

12                  MR. BLUME:     Objection.    Form.

13                  THE DEPONENT:     They were only notes.          And

14     based on what I had, I believe them to be true.

15             Q.   (By Ms. Weaver)     Okay.    Let's go look at          11:11:54

16     Exhibit 340.

17             A.   I am opening it and waiting for it to

18     load.

19                  I am looking through the document.           I

20     don't know if this is an error.          This appears to be         11:12:47

21     two different documents.

22                  There is the UDD_ -- UDDP, or the user

23     data deletion policy, which comes from the internal

24     Facebook policies.        And then it appears the last

25     three pages look like a spreadsheet of control                      11:13:11

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1      objectives and safeguards associated with deletion.        11:13:13

2            Q.   Okay.    Have you seen both of these

3      documents before?

4            A.   I -- I have seen both of these documents

5      before.                                                    11:13:27

6            Q.   Okay.    This was how it was produced to

7      us.   So we didn't know that they were, in fact,

8      separate documents.      And I think what we will do is

9      re-mark them and we will end Exhibit 340 at

10     Bates number 53, and then we will re-mark as               11:13:47

11     Exhibit 341, the document beginning with

12     Bates number -54 through -59.

13                (Exhibit 341 was marked for

14     identification by the court reporter and is

15     attached hereto.)                                          11:13:57

16                MS. WEAVER:     No objection from opposing

17     counsel, if we do so?

18                MR. BLUME:     No objection.

19                MS. WEAVER:     Okay.   So Josh -- Mr. Samra,

20     maybe you could work on that.                              11:14:09

21           Q.   (By Ms. Weaver)     In the meantime, if

22     there's no objection, we'll just take testimony on

23     the documents and re-mark them later?

24                MR. BLUME:     That's fine.

25           Q.   (By Ms. Weaver)     Okay.     Looking at the    11:14:18

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1      first page of Exhibit 340, Mr. Clark, what -- what         11:14:19

2      is this document?

3              A.   This appears to be the user -- the

4      internal Facebook user data deletion policy,

5      effective October 23, 2020.                                11:14:40

6              Q.   And is it in effect today?

7              A.   Yes.

8              Q.   And have you seen the policy that was in

9      effect prior to October 23, 2020?

10             A.   I reviewed the controls and Wiki pages        11:14:55

11     prior to that, and the privacy policies prior to

12     that.

13             Q.   Was there a document similar in scope and

14     purpose to user data deletion policy at

15     Exhibit 340, prior to October 23, 2020?                    11:15:13

16                  MR. BLUME:   Objection.      Form.

17                  THE DEPONENT:     The mix of controls and

18     deletion Wiki pages were the -- the prior version

19     of this, between what's found in our external

20     facing policy, in addition to our internal pages,          11:15:36

21     plus the controls, the combination of those.

22             Q.   (By Ms. Weaver)     Currently, how does the

23     external facing and the internal facing policy

24     differ from one another?

25                  MR. BLUME:   Objection.      Form.            11:15:53

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1                THE DEPONENT:     The internal policy             11:15:56

2      provides details for how internal Facebook

3      developers -- what -- what the requirements are as

4      part of the overall privacy program,




8           Q.   (By Ms. Weaver)     And do you see, at the

9      first page of Exhibit 340, a reference to "User

10     Data" in the header?                                        11:16:41

11          A.   Where -- and apologies.

12               Do you mean where it says "7/7/2021" and

13     then "User Data Deletion Policy"?

14          Q.   Yes.    That's one of the places.

15          A.   Okay.                                             11:17:02

16          Q.   And then a little bit lower, do you see

17     where it says we --




20               Do you see that?                                  11:17:13

21          A.   I do.

22          Q.   What's your understanding of what user

23     data means?

24          A.   User data is -- is information that the

25     user has provided, so user-generated content.          In   11:17:32

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1      addition to information that is about and                   11:17:36

2      associated with the user.

3            Q.     And when you say "In addition to

4      information that is about and associated with the

5      user," can you be more specific, providing examples         11:17:53

6      of what you mean?

7            A.     I -- I will give an example.

8                   I -- I believe an example of it might be

9      a photo that I posted to my profile.           The

10     user-generated content is the photo that I've               11:18:07

11     provided and any word that I've provided describing

12     it.

13                  In addition to user data, associated

14     would -- would also include the likes or reactions

15     to that photo.       The comments associated with that      11:18:22

16     photo.     And the -- and the associated log entry

17     that I've uploaded that photo would be -- those

18     would be a series of example.

19           Q.     Does it include metadata?

20                  MR. BLUME:    Objection.     Form.             11:18:46

21                  THE DEPONENT:     The -- the log entry would

22     be an example of metadata.

23           Q.     (By Ms. Weaver)     Is an example of

24     metadata also, for example, location information?

25           A.     Yeah.    If I tagged the photo as -- if I      11:18:59

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1      provided a location in that photo, yes.                   11:19:03

2           Q.     Are privacy settings metadata that is

3      also associated with user data?

4                  MR. BLUME:   Hold on.

5                  Objection.   Form.                            11:19:26

6                  THE DEPONENT:     I -- could you be more

7      specific.    That's -- that's a very broad...

8           Q.     (By Ms. Weaver)      Yes, I can.

9                  If a user posts a photo, using your

10     example, but posts it not publicly, is there a            11:19:34

11     metadata field associated with the photo?

12          A.     There is -- I -- I -- I don't know if I'd

13     call that metadata, but there is -- there is an

14     association -- would be the technical term the --

15     to what that audience control setting was for that        11:19:52

16     photo.

17          Q.     And does that association have a name?

18                 Is it called a privacy setting or a...

19                 MR. BLUME:   Objection.

20                 THE DEPONENT:     I -- I'd refer to it as     11:20:09

21     audience control, specifically, as -- as what that

22     setting would be.

23                 Association is -- or ASSOC, A-S-S-O-C,

24     which is short for association -- is the

25     association itself of -- of the log entry or the          11:20:26

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1      audience control back to that photo.                           11:20:32

2           Q.   (By Ms. Weaver)     And if a user posts a

3      photo publicly, is there an ASSOC file that people

4      externally can see?

5                MR. BLUME:   Objection.      Form.                   11:20:48

6                THE DEPONENT:     Can you tell me what you

7      mean by "see"?

8           Q.   (By Ms. Weaver)     Is there a way for

9      anyone to be able to determine, by looking at a

10     file and its associated data, that a photo was                 11:21:05

11     publicly posted on someone's wall?

12          A.   While I didn't prepare for that

13     specifically as part of this testimony and --

14     and -- and role as a company representative, but

15     speaking from personal experience, that is                     11:21:28

16     represented on -- on every photo and post.             There

17     is a -- there is both an icon and a link for how --

18     whether it is public or whether it's friends only,

19     or what that audience control might be.

20          Q.   And Facebook maintains that information              11:21:44

21     in association with the object; is that right?

22               MR. BLUME:   Objection.      Form.    Scope.

23               THE DEPONENT:     In order -- as -- as part

24     of the apps's functionality, yes, that would --

25     there would need to be an association.                         11:22:07

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1           Q.     (By Ms. Weaver)      Okay.    And I will come   11:22:11

2      back to that.

3                  Returning to Exhibit 340, could you

4      please turn to the page ending with

5      Bates number -50.                                           11:22:27

6                  And do you know what I mean by

7      Bates number?

8           A.     The number in the lower right-hand

9      corner?

10          Q.     Yes.    Perfect.                                11:22:35

11          A.     Okay.    And just for clarity, 340 is the

12     UD -- is the user data deletion policy?

13          Q.     Yes.

14                 And you referred to it as the UDDP; is

15     that correct?                                               11:22:43

16          A.     That is correct.

17          Q.     So I'm -- I'll direct your attention to

18     where it says "

19                 And do you see the first sentence where

20     it says "




                                                right?

23          A.     Yes.

24          Q.     And that's Facebook's policy, right?

25          A.     That is Facebook's policy.                      11:23:12

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1           Q.   And how long has that been Facebook's           11:23:13

2      policy?

3           A.   That has been Facebook's policy for as

4      long as there has been




10          Q.   Why is that Facebook's policy?                  11:23:44

11               MR. BLUME:     Objection.    Form.    Scope.

12               THE DEPONENT:     It is Facebook's policy

13     because




17               If it was -- it wouldn't be able to live

18     up to that obligation if we didn't have a -- if --

19     if it weren't a policy on top of both -- if it

20     weren't both technically infeasible, in addition to       11:24:16

21     being policy to not attempt to

22          Q.   (By Ms. Weaver)     And how long has that

23     been Facebook's policy?

24          A.   I'm temporally referring back to my

25     notes, so I can remember the timing.                      11:24:38

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1                The process that I was referring to, and        11:24:41

2      the process that's referred to -- part of the

3      process referred to that's in here is a process

4                                                 And that was

5      introduced to




                 That was launched in 2011.

8           Q.   So to your understanding, the data

9      deletion policy described in Exhibit 340 was in

10     effect from 2011 forward; is that right?                  11:25:21

11          A.   That --

12               MR. BLUME:     Objection.    Form.

13               THE DEPONENT:     The technical components

14     of              have been in place since that time,

15     and it's my understanding that that was part of the       11:25:30

16     policy with that implementation as well.

17               (Exhibit 342 was marked for

18     identification by the court reporter and is

19     attached hereto.)

20               MS. WEAVER:     Okay.   I'll go ahead and       11:25:36

21     mark now tab 302, Josh -- actually, I think what we

22     will do next -- yeah, let's -- let's -- strike

23     that, Josh.

24               Let's mark tab 81.

25               And for the record, tab -- tab 81 bears         11:26:17

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1      Bates number ADVANCE-META-1 to -2.                              11:26:19

2                   It bears the words at the top left-hand

3      page, "Data/Deleting Deleted Data - Facebook."            And

4      it says "Last modified Wednesday, November 30, 2011

5      at 8:17pm by Adam Kramer."                                      11:26:36

6           Q.      (By Ms. Weaver)     And let me know when you

7      see Exhibit 342, Mr. Clark.        I have it up.

8           A.      I will refresh.

9                   I have it now.     Waiting for it to open.

10                  I have it open.                                    11:27:39

11          Q.      And when you have a moment to review it,

12     please just tell me, what is Exhibit 342.

13                  Have you seen Exhibit 342 before,

14     Mr. Clark?

15          A.      I have.                                            11:29:51

16          Q.      And when did you last see it?

17          A.      Read it over the weekend.

18          Q.      Okay.     And you're rereading it now?

19          A.      Yup.

20                  Okay.     I've completed reading.                  11:30:31

21          Q.      What is Exhibit 342?

22          A.      It is an internal Wiki page labeled

23     "Deleting Deleted Data," dated November 30th, 2011.

24          Q.      And does it express what Facebook's

25     policy and practices were, as of its date, with                 11:30:54

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1      regard to deleting deleted data?                             11:30:57

2                   MR. BLUME:   Objection.      Form.

3                   THE DEPONENT:     I can state what it

4      appears to be.     It's not identified as a policy

5      specifically.                                                11:31:08

6                   It looks like an engineer with very

7      colorful writing wrote details about implementation

8      of deleting deleted data and how to -- how to

9      handle it.     I -- it doesn't identify itself as a

10     policy.                                                      11:31:36

11          Q.      (By Ms. Weaver)     I'm asking you, as

12     Facebook, if this was Facebook's policies and

13     procedures as of 2011?

14                  MR. BLUME:   Objection.      Form.

15                  THE DEPONENT:     It appears to be internal     11:31:53

16     Facebook developer documentation on working with

17     deleting deleted data.

18          Q.      (By Ms. Weaver)     And is there something

19     about it you think is inaccurate?

20                  MR. BLUME:   Objection.      Form.              11:32:06

21                  THE DEPONENT:     The only thing that I'm

22     stating is that it doesn't appear to identify

23     itself as a formal policy.

24          Q.      (By Ms. Weaver)     Okay.    Does it -- well,

25     looking at the -- the document itself, do you see            11:32:17

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1      where it says "This wiki page explains what you           11:32:20

2      need to think about with respect to




5                Do you see that?                                11:32:31

6           A.   I do see that.

7           Q.   And -- and -- and then it says




                                                                 11:32:45

11               Do you see that?

12          A.   I do see that sentence.

13          Q.   What is

14          A.   I do not know.

15          Q.   You're not familiar with a project called       11:32:58

16

17          A.   I'm not familiar with a project called

18

19          Q.   We'll return to that.

20               Do you see under




25               Do you see that?                                11:33:25

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1           A.     I do see that sentence.                          11:33:26

2           Q.     Is that accurate?

3                  MR. BLUME:   Objection.      Form.

4                  THE DEPONENT:     I agree with the first

5      sentence.    The expression in the second sentence           11:33:42

6      is -- is the opinion of an engineer as opposed to

7      formal policy as the rationale for theirs, but...

8           Q.     (By Ms. Weaver)     Okay.    Does Facebook let

9      a user choose who can see a post on Facebook,

10     whether it's a comment or a post or a photo?                 11:34:05

11          A.     Yes.

12                 MR. BLUME:   Objection.      Form.    Scope.

13          Q.     (By Ms. Weaver)     Looking at the next

14     sentence it says




17                 Do you see that?

18          A.     I do see that.

19          Q.     Do you agree with that?

20                 MR. BLUME:   Objection.      Form.    Scope.     11:34:31

21                 THE DEPONENT:     I -- in -- I would refer

22     back to the UDDB [sic] where -- and -- and the

23     phrasing of that statement as formal policy, yes.

24          Q.     (By Ms. Weaver)     And the next sentence

25     says "                                                       11:34:48

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1




3                Do you see that sentence?

4           A.   I do see that sentence.

5           Q.   Okay.   What does UDB mean?                     11:35:05

6           A.   I believe that is the user database.

7           Q.   And how is that different from Hive?

8                MR. BLUME:   Objection.      Form.    Scope.

9                THE DEPONENT:     The UDB, which in the

10     modern version of how we named that would be called       11:35:28

11     TAO -- the objects and associations -- is the

12     online production storage systems that the

13     applications actually run from as opposed to Hive,

14     which is the data warehouse.

15          Q.   (By Ms. Weaver)     And what does "business     11:35:49

16     need" mean in this document?

17               MR. BLUME:   Objection.      Form.    Scope.

18               THE DEPONENT:     I don't know exactly what

19     business need was defined as in this document.

20          Q.   (By Ms. Weaver)     What's your                 11:36:11

21     understanding, on behalf of Facebook, as to what

22     the business need is for Facebook




24               MR. BLUME:   Objection.      Form.

25               THE DEPONENT:     The -- I -- I believe         11:36:26

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1      there's -- there's an example in the next sentence         11:36:29

2      that's provided that,




9           Q.     (By Ms. Weaver)     Are you aware --

10          A.     And another example --                         11:36:58

11          Q.     Oh, I'm sorry.

12                 Go ahead.

13          A.     I'm just reading from the document.

14          Q.     You were saying "Another example"...

15          A.




20          Q.     And are you aware of a formal policy that      11:37:19

21     defined business need, as set forth in this

22     document?

23                 MR. BLUME:   Objection.      Form.    Scope.

24                 THE DEPONENT:     At this time of this

25     document, no.                                              11:37:33

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1           Q.   (By Ms. Weaver)     And in the -- do you see    11:37:35

2      the paragraph below where it says "




8                Do you see that?

9           A.   I do read that.

10          Q.   Is it Facebook's policy that it only has        11:37:59

11     the obligation to delete user-generated content,

12     but not metadata or the context around UGC?

13               MR. BLUME:   Objection.      Form.    Scope.

14               THE DEPONENT:     Specifically, I would

15     refer to -- to -- to the question that you're             11:38:22

16     asking -- to the user data deletion policy back in

17     Exhibit 340, to what the policy is.

18          Q.   (By Ms. Weaver)     I -- I don't want you to

19     refer to a document.   I'm trying to get your

20     testimony here.                                           11:38:40

21               So the question is, is it Facebook's

22     policy that Facebook only has the obligation to

23     delete user-generated content, but not metadata or

24     the content around UGC?

25               MR. BLUME:   Objection.      Form.    Scope.    11:38:54

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1                  THE DEPONENT:     The reason I referred to     11:38:59

2      the other document is, when asked for policy,




                                                                  11:39:15

6           Q.     (By Ms. Weaver)     Does that include

7      metadata?

8                  MR. BLUME:   Objection.      Form.

9                  THE DEPONENT:     It depends on where the

10     metadata is stored.




15                 If it is part of the data warehouse




20          Q.     (By Ms. Weaver)     So that is de-identified   11:40:07

21     data; is that right?

22          A.     That is correct.

23          Q.     And you were specifically referring to

24     Exhibit 340, which is the policy in effect

25     October 23rd, 2020, and forward; is that right?            11:40:20

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1           A.   That is -- that is the date of the last           11:40:26

2      update to that document.

3           Q.   And looking back at Exhibit 342, is this

4      document correctly describing the policy that was

5      in effect at the time?                                      11:40:39

6           A.   This document doesn't identify itself as

7      a policy at the time.     It is an engineer's notes

8      on de- -- an internal Facebook engineer's notes on

9      deleting deleted data.

10               MS. WEAVER:     Okay.   Let's take a look --      11:40:58

11     and we can refresh.     I've marked another couple of

12     documents, and I'd like you to take a look at

13     Exhibit 344.

14               (Exhibit 344 was marked for

15     identification by the court reporter and is                 11:41:22

16     attached hereto.)

17               THE DEPONENT:     That was 344?

18               MS. WEAVER:     Yes.

19               THE DEPONENT:     Thank you.

20               MS. WEAVER:     No, I skipped one.      I'll go   11:41:32

21     back to it.

22               THE DEPONENT:     For clarity, which

23     document am I supposed to look at?

24               MS. WEAVER:     Exhibit 344.

25               THE DEPONENT:     Oh.                             11:42:10

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1                  MS. WEAVER:   And for the record,                  11:42:29

2      Exhibit 344 is one of the documents that plaintiffs

3      identified to Facebook in preparation for this

4      deposition over, I think, two weeks ago now.             And

5      it bears Bates numbers PwC_CPUP_FB00007766 through             11:42:40

6      -68.

7                  On the first page of Exhibit 344, it says

8      sent Monday February 11th, 2013, from Evan Eneman,

9      and there's a Facebook email address, to

10     Kelley K. Perng, P-E-R-N-G at us.pwc.com.                      11:43:01

11            Q.   (By Ms. Weaver)     Let me know when you've

12     had an opportunity to review it, Mr. Clark.

13            A.   I've had a chance to review it.

14            Q.   What is Exhibit 344?

15            A.   Exhibit 344 is an email with only                  11:43:54

16     attachments from Evan Eneman at Facebook.com to

17     Kelley K. Perng at PwC.

18                 And two of the attachments from the

19     email, which include the Wiki page that we were

20     looking at in the prior exhibit called "Deleting               11:44:14

21     Deleted Data," in addition to an additional Wiki

22     page called "Deletion Framework."

23                 (Exhibit 343 was marked for

24     identification by the court reporter and is

25     attached hereto.)                                              11:44:26

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1             Q.   (By Ms. Weaver)     And not to make this      11:44:27

2      complicated, but if you look at Exhibit 343, do

3      you -- can you confirm that this is the other Wiki

4      that is in this attachment in 344?

5             A.   So in 343, which is the "Deletion             11:45:00

6      Framework," last updated June 3rd, 2013, at

7      8:02 p.m., the -- in the email, it is the "Deletion

8      Framework" last modified Thursday, July 12th, 2012,

9      at 1:49 by a different individual.         So it -- it

10     appears to be the same Wiki page but different            11:45:32

11     versions of it.

12            Q.   And do you have an understanding -- well,

13     wait -- strike that.

14                 When did you last see Exhibit 344?

15            A.   In documents I had reviewed over the          11:45:46

16     weekend.

17            Q.   Why do you have an -- why do you

18     understand that these documents were sent to

19     someone at PwC, in or around February of 2013?

20            A.   I -- I don't have an understanding            11:46:06

21     because there's context missing in the text of the

22     email or even the subject line is just 5.2.2B.

23            Q.   And around this time, PwC was auditing

24     Facebook with regard to privacy controls associated

25     with                                  isn't that right?   11:46:25

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1                 MR. BLUME:   Objection.      Form.             11:46:29

2                 THE DEPONENT:     That is my understanding,

3      correct.

4           Q.    (By Ms. Weaver)     And you can confirm that

5      Facebook provided this to PwC as part of that             11:46:38

6      audit, right?

7                 MR. BLUME:   Objection.      Form.    Scope.

8                 THE DEPONENT:     I -- I'll reiterate,

9      without further context on the email, I don't know

10     exactly what the email was to know if that was a          11:46:52

11     specific request of the audit or -- or what the

12     purpose was.

13          Q.    (By Ms. Weaver)     Okay.    We'll let the

14     jury decide that.

15                Looking back at Exhibit 342, the document      11:47:05

16     that we were discussing, the very specific question

17     to you, as Facebook's representative is, was it

18     ever Facebook's policy that it would retain

19     metadata or context around the post but would

20     delete user-generated content?                            11:47:25

21                MR. BLUME:   Objection.      Form.

22                THE DEPONENT:     Can you ask that question

23     again.

24          Q.    (By Ms. Weaver)     Yup.

25          A.    I got confused by that.                        11:47:35

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1           Q.   No problem.                                      11:47:36

2                At any point in time, was it Facebook's

3      policy that when a user requested deletion of its

4      account -- account, Facebook would delete UGC but

5      retain metadata, or the context around an action, a        11:47:46

6      post, for example?

7                MR. BLUME:    Objection.     Form.

8                THE DEPONENT:

9      as we've been talking about it, which

                                                                  11:48:26

11     launched in 2011 in order to provide that.

12               Users had the ability to delete their

13     accounts prior to that, and dependent upon

14     retention time periods for -- for the deletion

15     of -- of the content, that would have been                 11:48:44

16     identifiable before that.

17               I believe that answers your question.

18          Q.   (By Ms. Weaver)     So prior to 2011, your

19     testimony is that




23               MR. BLUME:    Objection.     Form.

24               THE DEPONENT:     That is inaccurate.

25     Specifically after                                     ,   11:49:28

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1




7                Prior to 2011, that process did not

8      exist,




                                                                 11:50:07

11          Q.   (By Ms. Weaver)     Perfect.     Thank you.

12               I was not trying to trick you.         I just

13     was trying to understand the policy.        And you've

14     clarified it and I appreciate it.

15               Okay.   Let's talk about anonymization.         11:50:18

16               On Exhibit 342, do you see where it says

17




                                                                 11:50:31

21               And then it says




                                                                 11:50:46

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1                   Do you see that?                               11:50:47

2             A.    I see the sentences that you've read,

3      yes.

4             Q.    With regard specifically to the sentence,

5      "




                    do you agree with that?

9                   MR. BLUME:   Objection.      Form.    Scope.

10                  THE DEPONENT:     Can you state that one       11:51:13

11     more time.

12            Q.    (By Ms. Weaver)     Specifically with regard

13     to the concept that




                     o you agree with that?

18                  MR. BLUME:   Objection.      Form.    Scope.

19                  THE DEPONENT:     I -- I asked for clarity

20     because that feels like two separate and distinct           11:51:35

21     questions.

22            Q.    (By Ms. Weaver)     Okay.    I can break it

23     out.

24                  Do you agree that Facebook does not have

25                                                                 11:51:47

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1                                                                   11:51:51

2                MR. BLUME:    Objection.      Form.   Scope.

3                THE DEPONENT:     That there is no

                    the double negative is getting me.

5                So there's -- there is




8                Is that the question being asked?

9           Q.   (By Ms. Weaver)     Yes.

10               MR. BLUME:    Same objection.                      11:52:11

11               THE DEPONENT:     That is correct.

12          Q.   (By Ms. Weaver)     And does Facebook have a

13




15               MR. BLUME:    Objection.      Form.   And scope.   11:52:23

16               THE DEPONENT:     That is the goal of the

17               process, to




                                            But the things that

20     are not technically feasible are                             11:52:39

21          Q.   (By Ms. Weaver)     Okay.     And then looking

22     at the next paragraph, does that describe the

23     process that you referred to earlier, where you

24     take a user ID and

                                                                    11:52:56

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1                MR. BLUME:   Objection.      Form.    Scope.     11:53:00

2                THE DEPONENT:     This is the                I

3      referred to earlier,

                                 in documentation.       And,

5      yes, that is the                                           11:53:20

6           Q.   (By Ms. Weaver)     And what triggers the

7      pseudonymization process at Facebook?

8                MR. BLUME:   Objection.      Form.

9                THE DEPONENT:




                                              that is supposed

12     to be triggered.

13               So that that information, in addition to

14     the next paragraph where other information that

15




17          Q.   (By Ms. Weaver)     Okay.    I'll come back to

18     the second question in just a second, by what you

19     mean by identifiable data.

20               Are there occasions where the process of         11:54:21

21     pseudonymizing data




23               MR. BLUME:   Objection.      Form.

24               THE DEPONENT:     Specifically -- and -- and

25     I -- I know you asked me not to do it, but the             11:54:45

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1      exceptions to that are -- are laid out in the UDDP,           11:54:50

2      and if we could refer to -- back to the UDDP in

3      340 --

4              Q.   (By Ms. Weaver)     Sure.    Let's look at it.

5              A.   -- what those exceptions are, are listed         11:54:59

6      there.

7              Q.   Let's turn to Exhibit 340.

8              A.   I'm waiting for it to load, and I will go

9      to the specific section.

10             Q.   Fabulous.                                        11:55:14

11                  And I think you're looking for page 45,

12     under "Exceptions."

13             A.   That is correct.     Page 45, under

14     "Exceptions."

15                  And those exceptions fall into a few             11:55:34

16     categories, the first one being "

                            The second one being "

                               The third being

                       And, finally,

20             Q.   And what's -- what does

                       refer to with regard to the exception

22     for "




24             A.   Yeah.     This is one -- I'll -- I'll

25     actually, for the sake of the record, read from the           11:56:06

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1      document, so it's -- it's clear and concise.                 11:56:09

2                  "We" -- being Facebook -- "are subject to

3      laws, regulations, and legal process worldwide that

4      impose




                                                                    11:56:35

11          Q.     What's a litigation hold?

12                 MR. BLUME:   Objection.      Form.     Scope.

13                 THE DEPONENT:     I didn't specifically

14     prepare, as -- as a corporate representative, to

15     talk about what -- a litigation hold.                        11:56:50

16                 But from my personal experience,

17     litigation hold is where there is some kind of

18     order to hold data from -- from a Court or...

19          Q.     (By Ms. Weaver)     Are you done talking?

20     Your -- your last sentence --                                11:57:09

21          A.     Oh, I was.

22          Q.     -- ended with "or" -- or the last word

23     was "or."

24          A.     Oh, I meant to say "order."          But I was

25     going to cough and stopped.                                  11:57:16

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1           Q.      No problem.     I've been there.               11:57:17

2                   Are you aware of any litigation holds

3      being issued at any point in time, since you've

4      been working at Facebook, which suspended the

5      process of anonymization that we have just been             11:57:32

6      discussing; that is,

7                   MR. BLUME:    Objection.     Form.    Scope.

8                   THE DEPONENT:     Can you ask that entire

9      question one more time.

10          Q.      (By Ms. Weaver)     Are you aware of any       11:57:48

11     litigation holds being issued at any point in time,

12     since you have been working at Facebook, which

13     suspended the process of pseudonymization that

14     we've been talking about; specifically,

                                                                   11:58:02

16                  MR. BLUME:    Same objection.

17                  THE DEPONENT:     The deletion process, in

18     the central deletion framework,




                                     there -- there are no

23     exceptions to that process moving forward.

24          Q.      (By Ms. Weaver)     With regard to the

25     process of                                , does that       11:58:42

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1      happen on an ongoing basis for every user?                      11:58:47

2             A.    The -- to use a metaphor, so like if

3      you've ever taken the tour of the Golden Gate and

4      they like to tell you that they start painting it

5      and never finish painting it, and that is how that              11:58:59

6      process works.     That is a process that's

7      continually running in the background to -- to

8      continually anonymize that information.

9             Q.    Just to be clear, if I am a current

10     Facebook user, all of my data is anonymized

                                    as a general rule; is that

12     right?

13            A.    That is --

14                  MR. BLUME:   Object -- objection.          Form.

15                  THE DEPONENT:   That is incorrect as               11:59:28

16     stated.     Your statement included all of my data.

17     That could not be the case or the product couldn't

18     function.

19                  I've got photos that I've uploaded of my

20     kids 15 years ago that -- in order for the product              11:59:41

21     to function and work, those photos can't be

22     anonymized or the data associated with them.

23                  Very specifically, the pseudonymization

24     process is built to work in technical systems where

25     it's                                           content.         11:59:58

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1      And so the pseudonymization process runs -- even                 12:00:00

2      the name of the -- of the product itself,




8                   MR. BLUME:   Ms. Weaver, if you get to a

9      good breaking point...

10                  Thank you.                                          12:00:27

11            Q.    (By Ms. Weaver)     And it's your testimony

12     that                                                      that

13     process; is that right?

14            A.    It is my testimony that --

15                  MR. BLUME:   Sorry.     Objection.     Form.        12:00:36

16     And scope.

17                  Go ahead.

18                  THE DEPONENT:     It is my testimony that

19                                           the deletion

20     process.                                                         12:00:46

21            Q.    (By Ms. Weaver)     And are you aware of

22     whether or not -- independent of whether

                       that process, the anonymization

24     process was halted with regard to the named

25     plaintiffs in this action?                                       12:01:01

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1                    MR. BLUME:     Objection.       Beyond the scope.   12:01:03

2      Form.

3                    THE DEPONENT:     I'm not aware.

4              Q.    (By Ms. Weaver)     Do you know who would

5      know?                                                             12:01:10

6              A.    I do not.

7              Q.    Do you have any reason to think it was?

8                    MR. BLUME:     Objection.       Form.   Scope.

9                    THE DEPONENT:     It -- it is my

10     understanding that the deletion process and the                   12:01:21

11     deletion framework is not halted for any of those

12     reasons.

13                   MS. WEAVER:     Okay.    Yeah, we can take a

14     break now.      Thank you.

15                   You might want some water.                          12:01:34

16                   We can go off the record.

17                   THE VIDEOGRAPHER:       Thanks.     We're off the

18     record.      It's 12:01 p.m.

19                   (Recess taken.)

20                   THE VIDEOGRAPHER:       Okay.     We're back on     12:15:30

21     the record.      It's 12:15 p.m.

22             Q.    (By Ms. Weaver)     Mr. Clark, you

23     understand you're still under oath, right?

24             A.    Yes.

25                   (Brief Interruption.)                               12:15:47

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1                   THE VIDEOGRAPHER:       Sorry about that.        12:15:47

2                   A recording is going.       I just hit the

3      other backup thing by accident.

4                   MS. WEAVER:     Okay.    Fine.    So it is

5      recording right now; is that correct?                         12:15:54

6                   THE VIDEOGRAPHER:       Yeah, we're recording.

7      Thank you.

8                   MS. WEAVER:     Perfect.

9           Q.      (By Ms. Weaver)     Mr. Clark, returning to

10     Exhibit 342, under the heading "Anonymization," we            12:16:00

11     were discussing the                           process.

12                  Do you recall that?

13          A.      Yes.

14          Q.      And it says "




20                  Do you see that?                                 12:16:33

21          A.      I do see that sentence.

22          Q.      And is that consistent with your

23     understanding?

24                  MR. BLUME:    Objection.     Form.    Scope.

25                  THE DEPONENT:     Until an account is --         12:16:48

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1      until an account is deleted, the




3            Q.   (By Ms. Weaver)     And what does it mean to

4      say

5                 MR. BLUME:   Objection.      Form.    Scope.   12:17:04

6                 THE DEPONENT:     I do not know what this

7      engineer meant by that.

8            Q.   (By Ms. Weaver)     Okay.    And I meant to

9      open this with a question about testimony that you

10     gave a little bit earlier.                                12:17:21

11                You referred to it might be that a

12     snapshot was taken of data before this process was

13     engaged in.

14                Do I have that correct?

15                MR. BLUME:   Objection.      Form.    Scope.   12:17:33

16                THE DEPONENT:     I -- if it's the statement

17     I remember, that sounds slightly inaccurate.

18           Q.   (By Ms. Weaver)     Well, let me read it

19     back to you --

20           A.   Yeah.                                          12:17:49

21           Q.   -- or I'm trying to.

22                You said "The deletion process in the

23     central deletion framework




                                                                 12:18:05

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1




3                 Do you see that -- or is that consistent

4      with your understanding?

5                 MR. BLUME:   Objection.                        12:18:17

6                 THE DEPONENT:     That is consistent with my

7      understanding.

8            Q.   (By Ms. Weaver)     So can you explain for

9      me what you meant when you referred to a snapshot

10     and what its purpose was?                                 12:18:25

11                MR. BLUME:   Objection.      Form.    Scope.

12                THE DEPONENT:     For the sake of

13     preparation and preparing for this, I did evaluate

14     our policies and practices with regards to what

15     happens when a litigation hold, or a similar              12:18:39

16     process -- and I understand that there

                   I do not know the technical details of

18     it.

19                I also know that

                        , whether it is in -- whether it's       12:18:53

21     in process or happens after that request has come

22     in.

23           Q.   (By Ms. Weaver)     And what is the source

24     of your information regarding the snapshot?

25           A.   I only know the name of it as a snapshot.      12:19:10

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1      And it was from -- it was from the -- from the             12:19:14

2      interviews that I did.      And I believe that one

3      was -- in that conversation was counsel and

4      Mayur Patel.

5           Q.     And Mr. Patel or is it Ms. Patel?              12:19:29

6           A.     Mister.

7           Q.     Mr. Patel told you that a snapshot might

8      be taken?

9           A.     It was that the deletion process is

                                                                  12:19:46

11     Myself, nor himself, or our experts on the legal

12     hold process, it's merely the -- this is the

13     process associated with the deletion framework.

14     Neither of us are experts on the -- the actual

15     snapshot that's occurring, only the deletion               12:20:02

16     framework and the processes associated with it.

17          Q.     What do you understand the snapshot is

18     taken of?

19                 MR. BLUME:   Objection.      Form.    Scope.

20                 THE DEPONENT:     I did not prepare for that   12:20:16

21     as part of this testimony.

22          Q.     (By Ms. Weaver)     Okay.    But do you have

23     an understanding, as you sit here, what the

24     snapshot is taken of?

25          A.     It -- I do not.     It would be entirely       12:20:25

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1      speculation, so I wouldn't know.                              12:20:28

2             Q.   Okay.   Returning to Exhibit 342.

3                  Do you see where it says -- I'm back to

4      the paragraph we were reading together -- and it

5      says "

                                      .     They are kept in the

7

8                  Do you see that?

9             A.   I do see that sentence.

10            Q.   Is that correct?                                  12:21:10

11                 MR. BLUME:   Objection.       Form.    Scope.

12                 THE DEPONENT:     As of the date of this

13     document and this engineering documentation,

14     that -- that is my understanding as to where that

15     association occurs.                                           12:21:26

16            Q.   (By Ms. Weaver)        And does that

17     association still occur in that table?

18            A.   It still occurs in a physical table

19     with -- but the mapping to it is in TAO.

20            Q.   And what is the name of that table?               12:21:46

21            A.   I believe it's still the same table as

22     the underlying physical table.          I don't know the --

23     I don't know the exact name of the association in

24     TAO.

25            Q.   So --                                             12:21:57

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1              A.   Like --                                        12:21:58

2              Q.   -- for example, if I wanted to search for

3      data associated with a current Facebook user, could

4      I go to that table, look up

                                      the data?                    12:22:10

6                   MR. BLUME:     Objection.     Form.   Scope.

7                   THE DEPONENT:     I -- I believe you've

8      asked two or three different questions in that one.

9                   Do you mind breaking that up?

10             Q.   (By Ms. Weaver)     Okay.     It's actually    12:22:20

11     meant to be one question.

12             A.   Okay.

13             Q.   Using this table, can you identify data

14     that is older than 90 days for a current Facebook

15     user?                                                       12:22:33

16                  MR. BLUME:     Objection.     Form.

17                  THE DEPONENT:     The question itself isn't

18     specific enough for me to be able to answer with a

19     yes or a no.

20             Q.   (By Ms. Weaver)     Okay.     Why don't you    12:22:44

21     answer as best you can and we'll try to clean it

22     up.

23             A.   Okay.     If you go back to your original

24     and -- and ask me the first part of your question.

25             Q.   Using this table, can you identify data        12:22:58

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1      for a current Facebook user that is older than              12:23:04

2      90 days?

3                   MR. BLUME:   Objection.      Objection.

4      Scope.     And form.

5                   THE DEPONENT:     Could you identify data      12:23:16

6      for a current user.

7                   Could identify in production data systems

8      metadata for a current user past 90 days because

9      it's not part of the                  process.     And so

10     that metadata might be, to use your earlier                 12:23:44

11     example, the audience control settings on a post,

12     because that's part of the production storage

13     system.

14                  But you would not use this table to map

15     to that association because it's current, active,           12:24:01

16     live production user data.

17          Q.      (By Ms. Weaver)     What do you mean when

18     you say "production data systems metadata"?

19          A.      I will answer that in a few parts.

20                  I think the production -- when I -- when       12:24:35

21     I refer to production, it's the storage systems,

22     the -- the Graph and the associated storage systems

23     for where the functionality of the platform --

24     the -- the Facebook product itself, where content

25     is served from and where the data, in order to              12:24:48

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1      populate that product, comes from.                               12:24:52

2                 Alternatively, the offline storage

3      systems or the -- or the data warehouse that is not

4      part of the production storage platform --

5           Q.    Okay.                                                 12:25:12

6           A.    -- does not serve content directly to the

7      platform or the application.

8           Q.    I understand.

9                 Yes, you are answering a different

10     question than I am asking.      And it's my fault, so            12:25:20

11     let me try again.

12                What data sources are searchable by

13                MR. BLUME:   Objection.      Form.    Scope.

14                THE DEPONENT:               is only used as

15     part of the             process for

                           and that                            occurs

17     on                                        .

18                The RID also exists as a mapping in a

19     single table in the production storage system,

20     which in 2011, was called scrape_udb_assoc_rid.                  12:26:03

21                And it's only the RID and UID mapping in

22     there.

23          Q.    (By Ms. Weaver)     Can you search Hive

24     using an

25                MR. BLUME:   Objection.      Form.    Scope.          12:26:32

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1                   THE DEPONENT:     The answer to that               12:26:38

2      question is -- is, if I'm looking in an individual

3      table, can I look for a specific -- and that answer

4      would be yes.

5                   MS. WEAVER:     Okay.   Let's mark tab 4.          12:26:52

6                   We're going to come back to this exhibit,

7      but I just like where you're headed so I'm going

8      to...

9              Q.   (By Ms. Weaver)     And while we're waiting

10     for it to load, how can you search an individual                12:27:11

11     table using

12                  MR. BLUME:    Objection.     Form.    Beyond the

13     scope.

14                  THE DEPONENT:     I did not specifically

15     prepare for that as part of my representing                     12:27:31

16     Facebook.

17             Q.   (By Ms. Weaver)     Please answer the

18     question.

19                  MR. BLUME:    Same objection.

20                  THE DEPONENT:     In my personal capacity,         12:27:43

21     if I were querying Hive, I -- I would use one of

22     the -- one of the tools built to query offline

23     tables in Hive and would -- would use a query

24     language called HQL.

25             Q.   (By Ms. Weaver)     HQL?                           12:28:03

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1           A.     Hive query language.                             12:28:05

2           Q.     And how would you conduct a query if you

3      wanted to identify a dataset in Hive associated

4      with one user?

5                  MR. BLUME:   Objection.      Form.    Scope.     12:28:16

6                  THE DEPONENT:     Repeat that question or

7      clarify that question.       It's very general and

8      broad.

9           Q.     (By Ms. Weaver)     If you wanted to

10     identify data in Hive connected with one user, how           12:28:31

11     would you conduct that query using HQL?

12                 MR. BLUME:   Objection.      Beyond the scope.

13                 THE DEPONENT:     I didn't specifically

14     prepare for that as a -- as a representative of

15     Facebook.    But in my -- in my personal experience,         12:28:45

16     I -- I wouldn't go -- I -- I couldn't go search

17     Hive for just one user or across all of Hive

18     without bringing Hive to its knees.

19                 I can search a table, if I know a

20     specific table and I'm looking for a specific                12:29:02

21     or -- or some- -- something like that.           I -- I

22     would know the table.       I'd know the -- I'd -- I'd

23     have to have an understanding of the structure of

24     that data and what I was looking for and how to

25     query and -- and how that data had been written              12:29:18

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1      in -- in order how to go look for it.                          12:29:20

2           Q.     (By Ms. Weaver)     And let -- let me ask

3      this, how does the HQL tool work?

4                  MR. BLUME:   Objection.      Form.    Beyond the

5      scope.                                                         12:29:36

6                  THE DEPONENT:     Well, I can't answer that

7      question in the context of preparation that I did

8      as a representative of Facebook.

9                  But in my personal capacity, HQL isn't

10     software.    H -- HQL is part the -- the query                 12:29:47

11     language that's part of Hive as a -- as a storage

12     system.

13          Q.     (By Ms. Weaver)     I understand.      And

14     that's not what I asked you.

15                 You said if you were going to search               12:29:58

16     Hive, you would use the HQL tool.

17                 How does the HQL tool work?

18                 MR. BLUME:   Objection.      Form.    Beyond the

19     scope.

20                 THE DEPONENT:     That wasn't something that       12:30:12

21     I specifically prepared for as a representative of

22     Facebook.

23                 But in my personal capacity, and to

24     clarify my prior answer and make sure that it's

25     accurate and concise there, I would either use a               12:30:23

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1      series of tools, and then I would use the HQL                  12:30:26

2      language in -- in one of those tools.

3           Q.     (By Ms. Weaver)     Thank you.

4                  So you would use HQL language and a

5      series of tools.                                               12:30:40

6                  What are those tools?

7                  MR. BLUME:   Objection.      Form.    Beyond the

8      scope.

9                  THE DEPONENT:     I didn't specifically

10     prepare for that in the -- as a representative of              12:30:48

11     Facebook.

12                 But in my personal capacity, an example

13     of one of those tools might be a tool called Scuba.

14          Q.     (By Ms. Weaver)     And what is Scuba?

15                 MR. BLUME:   Same objection.                       12:31:09

16                 THE DEPONENT:     I didn't specifically

17     prepare for that as part of my testimony as a

18     representative of Facebook.

19                 But in my personal capacity, Scuba is a

20     tool to help data scientists and data engineers,               12:31:18

21     where they know where data lives in Hive, to be

22     able to write a query to do analysis or -- or

23     analytics on a subset of data.

24          Q.     (By Ms. Weaver)     And you said to help a

25     data scientist and data engineers where they know              12:31:46

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1      where data lives in Hive.                                 12:31:49

2                Do you recall that?

3           A.   Yes.

4           Q.   And how do data scientists and data

5      engineers knows where data lives in Hive?                 12:32:00

6                MR. BLUME:    Objection.     Form.    Scope.

7                THE DEPONENT:     I did not prepare for that

8      as part of the scope of my testimony as a

9      representative of Facebook.

10               But in my personal capacity, what I meant       12:32:14

11     by that was that I would need to know the table

12     where that data lives in order to be able to go

13     write a query.

14               There are -- there are lots of tables.

15     And as a data scientist or a data engineer, I             12:32:30

16     would -- I would need to know where those tables

17     are in order to be able to go query to do that.

18               (Exhibit 345 was marked for

19     identification by the court reporter and is

20     attached hereto.)                                         12:32:43

21               MS. WEAVER:     Okay.   Let's take a look at

22     Exhibit 345, which is loaded.

23               And for the record, Exhibit 345 bears

24     Bates numbers FB-CA-MDL-00347605 through -886.

25          Q.   (By Ms. Weaver)     And while -- while          12:33:05

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1      you're waiting for it, to pull it up, Mr. Clark --               12:33:05

2      just let me know when you have it -- it says "This

3      document contains all of the recently used Hive

4      tables as defined by any table which has at least

5      one user in the past 30 days as of 5/12/2010.               It   12:33:16

6      is sorted by the number of distinct users within

7      this period."

8                   Do you see that?

9              A.   It's still loading.

10             Q.   Okay.                                               12:33:32

11             A.   Is -- is that at the beginning of the

12     document?

13             Q.   It's at the top of the document and it's

14     very long.     It's about 280 pages, so...

15             A.   Okay.   The document, I think, is fully             12:33:56

16     loaded.

17                  What was your question?

18             Q.   First of all, do you recognize

19     Exhibit 3- -- 345, or do you know what it is?

20             A.   I recognize the first page of it.          I        12:34:12

21     don't -- I saw the first page of it.         I don't think

22     I saw the whole thing.      But I'm looking through it.

23                  MS. WEAVER:   And Josh, could we mark

24     tab 91.

25     /////

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1                (Exhibit 346 was marked for                          12:35:22

2      identification by the court reporter and is

3      attached hereto.)

4                THE DEPONENT:     I've looked through --

5      I've looked through about 60 pages of it.         I -- I       12:35:26

6      can look through the whole document, if you'd like.

7           Q.   (By Ms. Weaver)      No, no, that's fine.        I

8      think -- if you need to, to answer the question,

9      you should.

10               But, in general, do you have an                      12:35:36

11     understanding as to what Exhibit 345 is?

12               MR. BLUME:    And -- and we object to the

13     extent it wasn't on the list provided by you before

14     the deposition.

15               THE DEPONENT:     I -- I -- I would --               12:35:49

16     any -- I don't know what it is.       I don't know the

17     source of -- of it.    If --

18          Q.   (By Ms. Weaver)      You discussed

19     previously -- well, strike that.

20               Is there any reason to think that this is            12:36:00

21     not a document that contained recently used Hive

22     tables, with at least one user in the past 30 days,

23     as of May 12th, 2010; i.e., an output for a search

24     within Hive at Facebook?

25               MR. BLUME:    Objection.     Form.    Beyond the     12:36:15

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1      scope.                                                        12:36:16

2                THE DEPONENT:     I -- I don't know that I

3      can make a representation either way.           It contains

4      information that I would expect potentially

5      describing tables, but I -- without the query or              12:36:28

6      without further details, I wouldn't be able to

7      represent one way or the other what this is.

8           Q.   (By Ms. Weaver)     Okay.     I'm going to ask

9      a few questions, in general.      But maybe will spark

10     some recollection.                                            12:36:46

11               On the first page of this, you see it

12     says "




14               Do you see that one?        It says

                                                                     12:36:58

16               MR. BLUME:   Objection.

17               THE DEPONENT:     I do see it at the bottom

18     of the first page.

19          Q.   (By Ms. Weaver)     And -- and then it says

20




22               Do you see that?

23          A.   I do see that.

24          Q.   Do you know what partition means with

25     regard to Hive and Hive tables?                               12:37:23

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1                   MR. BLUME:   Objection.      Form.     Beyond the   12:37:25

2      scope.

3                   This is a document not produced in

4      advance of this deposition.

5                   THE DEPONENT:     I didn't specifically             12:37:33

6      prepare for that as part of my representation of

7      Facebook.

8                   However, in my personal experience, a

9      partition is -- Hive is built by a series of --

10     files and tables are those files and partitions, as              12:37:47

11     is my general understanding.

12          Q.      (By Ms. Weaver)     Okay.    And then it says

13     "Columns."

14                  Do you see that?

15                  MR. BLUME:   Same objection.         Form.   And    12:38:04

16     scope.

17                  And the document not produced pursuant to

18     the protocol.

19                  THE DEPONENT:     I do see the word

20     "Columns."                                                       12:38:13

21          Q.      (By Ms. Weaver)     And then it says

22     "userid" after that.

23                  Do you see that?

24          A.      I do see that.

25          Q.      And is -- do you understand that to mean            12:38:22

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1      the Facebook ID?                                                 12:38:24

2                  MR. BLUME:   Objection.      Form.     Scope.

3                  Same objections with regard to the

4      protocol.

5                  THE DEPONENT:     Yeah, I did not                    12:38:30

6      specifically prepare to answer that as -- as a

7      representative of Facebook.

8                  In my personal experience, if I saw a

9      column named "userid," I would expect that to be

10     the user ID.                                                     12:38:42

11          Q.     (By Ms. Weaver)     And was there a point in

12     time when Hive was searchable by user ID?

13                 MR. BLUME:   Objection.      Form.     Scope.

14                 THE DEPONENT:     I didn't specifically

15     prepare for that as part of my being a                           12:39:03

16     representative of Facebook.

17                 In my personal experience, your question

18     is extremely broad in being able to query Hive.             If

19     I know a table and I know the "Table:"

                                                  and I                 12:39:22

21     understood the structure, or the columns that are

22     part of that, I could query for user ID in that

23     specific table.

24          Q.     (By Ms. Weaver)     Okay.    And I'll have you

25     look right now at Exhibit 346.                                   12:39:39

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1           A.   Waiting for it to refresh.                      12:39:54

2           Q.   And while we're waiting, just looking

3      back at Exhibit 345, to be clear, where this

4      document -- where columns are identified in Hive,

5      are columns generally fields that could be searched       12:40:05

6      using the data in that column?

7                MR. BLUME:     Objection.    Form.    Scope.

8                And violates pro- -- the use of the

9      document violates the protocol.

10               THE DEPONENT:     I didn't specifically         12:40:23

11     prepare for that as part of my representation -- or

12     being a representative of Facebook.

13               However, in my personal capacity, if I

14     know the table, I can query.      But I have to -- in

15     order from a -- from a feasible -- from a                 12:40:38

16     technically feasible perspective, I need to

17     understand the mapping of the table I'm working

18     with in order to do any queries like that.

19          Q.   (By Ms. Weaver)     Okay.    Why don't you

20     take a look at Exhibit 346.                               12:40:49

21          A.   Okay.   I --

22          Q.   Do you have it up?

23               MS. WEAVER:     And for the record, it's

24     ADVANCE-META-26 to -27.

25               THE DEPONENT:     I have it loaded now.         12:41:02

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1           Q.    (By Ms. Weaver)     And what is Exhibit 346?      12:41:04

2           A.    346 appears -- pardon me -- appears to be

3




5           Q.    And that is the process within Hive of            12:41:30

6

7      correct?

8                 MR. BLUME:    Objection.      Form.

9                 THE DEPONENT:     Specifically, the process

10     is            that creates

                                             tables.

12          Q.    (By Ms. Weaver)     Right.     And we were just

13     looking at Hive tables with UIDs in them.

14                So my question to you was, was it in --

15     was the practice in effect, prior to a certain               12:42:05

16     point in time, to maintain UIDs in Hive?

17                MR. BLUME:    Objection.      Form.   Scope.

18                And refers to a document produced in

19     violation of protocol -- or not produced, I guess,

20     in violation of protocol.                                    12:42:23

21                THE DEPONENT:     Can you ask that question

22     one more time.

23          Q.    (By Ms. Weaver)     Yup.

24                We were just looking at Hive tables with

25     UIDs in them, correct?                                       12:42:34

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1                   MR. BLUME:   Objection.      Same -- same              12:42:36

2      objection.

3                   THE DEPONENT:     I didn't prepare for that

4      as -- answering these questions as a representative

5      of Facebook.                                                        12:42:43

6                   But in my personal experience, we were

7      not looking at actual data of Hive tables.                We were

8      only looking at descriptions in a document that may

9      or may not actually have been Hive tables.

10             Q.   (By Ms. Weaver)     Okay.    Let me ask this.          12:42:58

11     Currently, is it possible to obtain a description

12     in Hive tables that identifies columns that would

13     include whether or not                      are contained

14     in the tables?

15                  MR. BLUME:   Objection.      Form.    And scope.       12:43:13

16                  THE DEPONENT:     Well, I didn't prepare for

17     that specifically as part of this testimony, as a

18     representative of Facebook.

19                  But in my personal experience, the way

20     that question is asked, that answer would be "no."                  12:43:25

21             Q.   (By Ms. Weaver)     And why is the answer

22     "no"?

23             A.   While I didn't prepare for this as part

24     of my testimony as a representative of Facebook, in

25     my personal capacity, the -- having the column                      12:43:40

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1      there information -- or the column information                     12:43:45

2      doesn't tell me if there's                                in the

3      table.

4                   What that tells me is, is there a field

5      that might be called user ID, which I would expect                 12:43:55

6      would have either                                 had not

7      been run on it                                      had been

8      run on it.

9             Q.    And then those fields containing

             would be searchable by                  , correct?           12:44:19

11                  MR. BLUME:    Objection.     Form.    Scope.

12                  THE DEPONENT:     I did not prepare for this

13     as part of my testimony as a representative of

14     Facebook.

15                  But based on my personal recollection, if             12:44:28

16     I know the table and in working with a specific

17     table, yes, I can query for a




19            Q.    (By Ms. Weaver)     And looking at

20     Exhibit 346, do you see it also refers to a device                 12:44:43

21     ID?

22            A.    Let me read this document.

23            Q.    No problem.

24                  It's under "Overview," and I'm looking at

25     the third paragraph, which reads                                   12:44:56

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1                                  is deleted upon account           12:44:59

2      deletion.        Also,




5                      Oh, I'm so sorry.    I'm actually looking     12:45:31

6      at the wrong -- this is my -- my fault.              Strike

7      that.        I'm looking at the wrong document.

8                      Let's look at Exhibit 346.       That's

9      totally fine.        We can --

10                     Do you see where it says -- strike that       12:45:47

11     line of questioning and I'll return to it.

12                     Do you see where it says

13             A.      I do see that section.

14             Q.      And it says "




18                     Do you see that?

19             A.      I do see that sentence.

20             Q.      And what does -- what does that mean?         12:46:23

21             A.      The -- part of -- part of the challenge

22     of building at this scale and volume of Facebook

23     and the transactions -- number of transactions that

24     happen, one of the things that engineer -- internal

25     Facebook engineers have to do consistently is be              12:46:51

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1      careful to make sure that if processes fail,                  12:46:54

2      because there's many moving parts, that -- that

3      those processes are always like double-checked and

4      that there's something that does that.

5                  And -- and what I would read into this            12:47:03

6      sentence in this Wiki page is that at -- at the --

7      on a -- on a daily basis, we make sure that every

8                                            for any that did

9      not

10     creation.    Because if you didn't do that, you would         12:47:22

11     have

                                                                is

13     the case that is -- that that case is failure,

14     since those are unique.

15            Q.   Got it.                                           12:47:41

16                 And looking a little lower at

17     Exhibit 346, do you see where -- the sentence

18




                                                                     12:47:58

21                 Do you see that?

22            A.   I do see that.

23            Q.   Is that true?

24                 MR. BLUME:   Objection.     Form.

25                 THE DEPONENT:    To the best of my                12:48:08

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1      knowledge, that is true.                                             12:48:08

2             Q.      (By Ms. Weaver)     And --

3             A.      And that is the -- that is the -- that is

4      the new current name of the

5      from the prior document.                                             12:48:18

6             Q.      Right.

7                     So for the record, in Exhibit 342, it

8      said they are kept in the




                   is that right?                                           12:48:36

11            A.      That is correct.

12            Q.      And where does that dim table live?

13                    MR. BLUME:    Objection.     Form.

14                    THE DEPONENT:     Generally, it lives in the

15     production file system.          And to the best of my               12:48:50

16     knowledge, it's available and queriable via TAO.

17            Q.      (By Ms. Weaver)     And what does dim stand

18     for?

19            A.      I don't remember.     It's -- it's a

20     generic -- it's a generic -- it's used                               12:49:08

21     industry-wide as -- as a table identifier.                  I just

22     don't remember.

23            Q.      I'm -- I'm asking also because in -- in

24     the Exhibit 345, the opening tables were labeled

25                                                                          12:49:27

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1                   Do you -- do you recall that?                    12:49:31

2              A.   I do see that.

3              Q.   But you don't know what it means; is that

4      fair?

5              A.   Just to share, I didn't -- I didn't              12:49:43

6      prepare for that specifically as part of my

7      testimony as a representative of Facebook.

8                   But in my personal recollection, is a --

9      is -- is used generically industry-wide.           And I've

10     used that outside of Facebook in table names.            I    12:49:56

11     just don't remember what it stands for.

12             Q.   Okay.   And looking to the next page of

13     Exhibit 346, where it says "How Can I Access

14                  And it --

15             A.   Which page are you on?                           12:50:18

16             Q.   I'm sorry.   It's the second page of

17     Exhibit 346.

18                  And do you see in bold it says "How Can I

19     Access           the second from the bottom paragraph?

20             A.   I -- I do see that.                              12:50:30

21             Q.   And -- and it says you can either access

22     the table we've been discussing or -- and it refers

23     to another table.

24                  Do you see that?

25                  MR. BLUME:   Objection.     Form.                12:50:46

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1                   THE DEPONENT:     I do see that.                12:50:47

2              Q.   (By Ms. Weaver)       What is the table

3      identified after the "or"?

4                   MR. BLUME:    What was that?      Can you ask

5      that again.     I'm sorry.     I missed that.                12:51:01

6              Q.   (By Ms. Weaver)       What is the table

7      identified after the "or"?

8                   (Simultaneously speaking.)

9                   MR. BLUME:    Oh, after -- after the "or."

10     After the "or," yeah.                                        12:51:07

11                  Objection.    Form.     Scope.

12                  THE DEPONENT:     It -- it's not a table, as

13     I'm reading this.     If you read the follow-on

14     sentence, maybe -- it -- it refers to it as a www,

15     dub, dub, dub function.        And so you can either call    12:51:27

16     the table, or you can run this function that

17     performs the lookup and pulls from TAO for newly

18     created IDs.

19                  So it's as opposed to querying the table,

20     this is software functionality that you can call             12:51:47

21     for what you're trying to do.

22                  MS. WEAVER:     Okay.    Thank you.

23                  And now why don't you take a look at

24     Exhibit 347.

25     /////                                                        12:52:05

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1                 (Exhibit 347 was marked for                    12:52:05

2      identification by the court reporter and is

3      attached hereto.)

4                 MS. WEAVER:    And while it's loading, I

5      will admit and apologize, that this was the               12:52:09

6      document I was reading from earlier inadvertently.

7                 For the record, it bears Bates number

8      ADVANCE-META-26 to -27.

9            Q.   (By Ms. Weaver)     And when you have a

10     moment to review it, please just tell me what it          12:52:23

11     is.

12           A.   Okay.    I've just loaded it.      I will

13     review it now.

14           Q.   Okay.

15           A.   This appears to be Revision No. 47176393       12:52:58

16     of the internal Wiki page on

17           Q.   And do you use a reference to user

18     identifying information there?

19           A.   I -- I see -- I do see user identifying

20     information or UII a few times in the document.           12:53:28

21           Q.   And what is UII?

22           A.   UII would include information like -- I

23     know it's laid out in the UDDP -- and we could

24     refer to the document.     But just generally, it's

25     information that could be used to identify me.            12:53:51

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1                And I think some examples that I had            12:53:54

2      given before, to just enforce those, would be -- an

3      IP address might be some kind of device

4      information.   It -- it's any of that information

5      that might live in a table that, like I said,             12:54:07

6      could -- could tie back to something identifiable.

7                (Exhibit 348 was marked for

8      identification by the court reporter and is

9      attached hereto.)

10               MS. WEAVER:     Okay.   And I'm going to mark   12:54:20

11     as Exhibit 348, tab 99, Josh.      And we'll turn to

12     that in a second.

13          Q.   (By Ms. Weaver)     But focusing on

14     Exhibit 347, the one that you have open, do you see

15     that this document refers to device identifiers?          12:54:34

16               And, again, that's three paragraphs down

17     under the word "Overview."

18          A.   Okay.     By the way, some of those specific

19     examples I was looking for in the last one, emails,

20     IP addresses, names, location, cookies are other          12:54:51

21     examples of UII.

22          Q.   Perfect.

23          A.   And what was your question?

24          Q.   Do you see a reference to device

25     identifiers?                                              12:55:01

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1           A.     In the first paragraph?                        12:55:07

2           Q.     In the third paragraph, below the word

3      "Overview."

4           A.     Yes.

5           Q.     Okay.   What's a device identifier?            12:55:14

6           A.     While I didn't specifically prepare for

7      that as part of my testimony as a representative of

8      Facebook, in my personal experience, an example

9      of -- of a device identifier would be like a set of

10     information that uniquely identifies one device            12:55:42

11     versus another.

12          Q.     Do you know what an IDFA is?

13                 MR. BLUME:   Objection.      Form.    Scope.

14                 THE DEPONENT:     I didn't prepare for that

15     as part of my represen- -- as part of my testimony         12:55:57

16     as a representative of Facebook.

17                 In my personal experience, I know

18     generically what it is.       But I don't have

19     experience working with IDFA.

20          Q.     (By Ms. Weaver)     Okay.    Is an IDFA an     12:56:09

21     identifier for an Apple device?

22                 MR. BLUME:   Objection.      Form.    Scope.

23                 THE DEPONENT:     I didn't prepare for that

24     as part of my testimony as a representative of

25     Facebook.                                                  12:56:22

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1                  But in my personal experience, that is --      12:56:22

2      that is the extent of my understanding for what an

3      IDFA is.

4           Q.     (By Ms. Weaver)     Okay.    So you were

5      prepared to testify about Exhibit 347, but you             12:56:31

6      weren't prepared to testify about the sentence that

7      says "




                                   is that right?                 12:56:47

11                 MR. BLUME:   Objection.      Form.

12                 THE DEPONENT:     I was prepared to talk

13     about the processes for the deletion of those

14     identifiers.

15          Q.     (By Ms. Weaver)     Okay.    Can you -- can    12:57:05

16     you tell me what it means to cache a device

17

                  or do we have to get another witness on

19     behalf of Facebook on this topic?

20                 MR. BLUME:   Objection.      Form.    Scope.   12:57:21

21                 THE DEPONENT:     While I didn't

22     specifically prepare for this as part of my

23     testimony on behalf of representing Facebook, in my

24     personal experience,

25     means that in order to keep these identifiers              12:57:35

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1                and so that it doesn't

                               or that that data would be

3                                                         after a

4      user deleted their account, that the -- the same

5      types of protections that are put in place on




7           Q.     (By Ms. Weaver)     What is a hash?

8           A.     While I didn't prepare for that

9      specifically as part of my testimony as a

10     representative of Facebook, in my personal                   12:58:05

11     capacity, a hash is where I represent a series of

12     information or -- or, you know, like a series of

13     words or descriptors in a common mathematical

14     formula that -- that comes out as some size of hash

15     that's defined by size.       It might be 64-bit hash        12:58:25

16     that means there's 64 characters that were

17     generated as part of that and...

18          Q.     And the purpose of hashing is

19     pseudonymization, correct?

20          A.     No.                                              12:58:40

21          Q.     Could it -- sorry.

22          A.     So specifically -- specifically, the

23     purpose of building a hash is so that I have --

24     just technically and specifically a hash -- which I

25     did not prepare as part of my testimony as a                 12:58:51

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1      Facebook representative.                                  12:58:53

2                   But in my personal capacity, the reason I

3      build a hash is so that I can quickly index and

4      store information to match an index between two

5      types of things without having to match to the            12:59:07

6      original.     It's much more technically efficient in

7      order to do that.

8              Q.   Is it part of a re-identification process

9      then?

10             A.   The -- could you -- could you be more        12:59:18

11     specific in your question?

12             Q.   What does re-identification mean?

13             A.   Re-identification is the -- when

14     something has been de-identified in a way -- and

15     this would have to be done up front -- that the           12:59:36

16     re-identification -- that the de-identification is

17     done in such a way that there is either a key or

18     some capability to, in some point in the future,

19     re-identify what the source was that had been

20     de-identified.                                            12:59:54

21             Q.   So when you described a hash is a way to

22     index and store information to match an index

23     between two types of things, is that a form of

24     re-identification?

25             A.   No.                                          01:00:06

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1           Q.     Why not?                                      01:00:07

2           A.     They are very different technical

3      concepts and -- and -- and just -- they're --

4      they're not -- it's not even apples and oranges.

5      It's -- it's apples and potatoes.       It's -- it's      01:00:24

6      something entirely different.      A hash is a

7      technical concept and a technical function.

8      Re-identification is a process.

9           Q.     Okay.   What is the purpose of

                 dentifiers at Facebook, as set forth in         01:00:40

11     Exhibit 347, which you were prepared to testify

12     about?

13                 MR. BLUME:   Objection.    Form.

14                 THE DEPONENT:   There are technical

15     safeguards in place around looking for inauthentic        01:00:55

16     behavior, for instance.     And -- and part of the

17     ability to -- I didn't -- I -- I didn't

18     specifically prepare for this as part of my

19     testimony as a representative of Facebook.

20                 But in my personal capacity, there --         01:01:14

21     there are challenges like inauthentic behavior

22     and -- and automation and tools.       And so

23     identifiers and               looking for a senses

24     [sic] of where the

                                                                 01:01:34

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1                   And in order to build systems to evaluate      01:01:37

2      from -- from both a security and an integrity

3      perspective what might be happening, the number of

4      logins from a                            may be one of --

5      may be an example -- using a synthetic example, may         01:01:52

6      be an example of

7      would -- would make it




9           Q.      (By Ms. Weaver)     Okay.    Is it your

10     testimony that in Exhibit 347, which describes the          01:02:09

11                  process, which you testified you were

12     prepared to describe, that the description of

13     device identifiers was done to identify abusive

14     behavior or was it done to try to anonymize data?

15          A.      You're asking two very different               01:02:36

16     questions.

17                  Would you ask those questions

18     independently.

19          Q.      Absolutely.

20                  In Exhibit 347, which describes the            01:02:42

21                  process that you've testified you were

22     prepared to discuss here today, and is in your

23     notes, it refers to hashing device identifiers.

24                  What is your understanding of the purpose

25     of describing hashing identifiers -- device                 01:02:59

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1      identifiers in this document?                                    01:03:03

2              A.      Specifically, in my role as -- as

3      preparing for this testimony, the process of

4      Hive Anon running on device identifiers is to

5      prevent any potential future                                 .   01:03:18

6                      And as part of              and by doing

7                         and generating -- generating those

8      on a -- on a -- on a frequent basis, keeps activity

9      from being able                               , as a whole, by

10     having the

                    in that table.

12             Q.      And if the --

13                     (Simultaneously speaking.)

14                     THE DEPONENT:     I'm talking about --

15     I'm --                                                           01:03:47

16             Q.      (By Ms. Weaver)     Oh, I'm sorry.

17                     Go ahead.

18                     THE DEPONENT:     -- speaking to

19     specifically how                    works in the

20     pseudonym -- pseudonymization process of -- of                   01:03:55

21     this.

22             Q.      (By Ms. Weaver)     Okay.    And if device

23     identifiers were not

                          , or somehow other anonymized or

25     hashed, would it be possible to search Hive using                01:04:24

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1      device identifiers -- well, strike that.           That's a   01:04:28

2      bad question.

3                In general, can you search Hive using

4      device identifiers?

5                MR. BLUME:   Objection.       Form.     Scope.      01:04:36

6                THE DEPONENT:     I -- I think in -- in

7      general, the -- all like -- I didn't specifically

8      prepare for that as part of my testimony, as a

9      representative of Facebook.

10               But in my personal capacity, the                    01:04:50

11     questions that ask generically if it's possible to

12     query Hive, I'll continue to caveat with, if I know

13     a table and I know where that data is located, I

14     can query the specific table.

15               And when I query that specific table, if            01:05:07

16               had not run, I could query for a device

17     ID across that time period.

18          Q.   (By Ms. Weaver)        And if --

19          A.   Once              --

20          Q.   I'm sorry.   I'm sorry.                             01:05:22

21          A.   -- has run -- once                    has run, I

22     couldn't query across the entire time period of

23     that table for that device ID because it would only

24     match in 10-day chunks, and all other information

25     that would help make it re-identifiable in any way            01:05:43

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1      has also been taken out as part of the                       01:05:47

2      process.

3           Q.    Perfect.

4                 Turning back briefly to Exhibit 346 -- I

5      just meant to follow up.                                     01:05:59

6                 It says on the very first paragraph, "(In

7      addition to                             , we also have

8                                                       etc.)."

9                 Do you see that?

10          A.    I do see that.                                    01:06:20

11          Q.    What is a dating profile?

12          A.    When the dating product was added to

13     Facebook, one of the potential concerns is when I'm

14     in the dating app, I don't have visibility to who

15     the person's actual profile is so that I can have            01:06:42

16     safe conversations, until at some point I want to

17     match with someone.

18                Part of doing that inside the app was not

19     presenting the user ID in any of that

20     functionality, or links back to the user profile,            01:06:58

21     so that that -- the dating app could live outside

22     of that, and if the person chose to share at some

23     point in the future with whoever they were chatting

24     with, they could.

25                And so a                                    was   01:07:11

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1      associated                                           in those         01:07:17

2      cases.       So that at any point if I quit using the

3      dating app, it's never mapped directly to it.                   And

4      it's also severed, any time I delete my account,

5      any dating activity that there was.                                   01:07:31

6              Q.     And why does Facebook do that?

7                     MR. BLUME:    Objection.     Form.    Scope.

8                     THE DEPONENT:     Facebook specifically

9      built           both for the purpose of                     .   And

10     in this case, the                                                     01:07:47

11     and -- and other                                      that if a

12                                       ever changes, the ability

13     to                                 or

                                   the canonical ID and what that

15




                                        there exists a table to

18

19             Q.     (By Ms. Weaver)     Okay.

20             A.     It's also -- that's the technical reason.              01:08:25

21                    In addition, we have policies to also

22     protect the user ID.         And part of having a privacy

23     program and -- and training Facebook internal

24     engineers and every employee on that privacy

25     program is to abide by that.            And so it's both              01:08:41

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1      technical and process protections to protect the          01:08:44

2      user ID.

3           Q.      And that's because a user ID can

4      personally and immediately identify a person,

5      correct?                                                  01:08:52

6           A.      That is an active user, correct.

7           Q.      And if you'd turn now to what's been

8      marked as Exhibit 348, is this the definition of

9      UII you were thinking of earlier?

10          A.      I just loaded it and I'm reading it.         01:09:26

11          Q.      Yeah.

12                  The question -- the first question is,

13     what is Exhibit 348, and when you're ready for it.

14          A.      So this appears to be a --

15     Revision 52569136 of the internal Wiki page called        01:09:47

16     "What is UII?"

17          Q.      And is this Facebook's definition of UII

18     currently?

19          A.      Unfortunately, when I read this document

20     and I look at the "What is UII," there's a Wiki           01:10:08

21     "Redirect to Privacy/UII_Definition_0."

22                  And so this document looks incomplete.

23          Q.      So we would need that hyperlink for you

24     to be able to answer if this is Facebook's

25     definition of UII?                                        01:10:32

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1           A.     That is correct.                              01:10:37

2           Q.     Okay.     Let me ask you this question.

3                  When was the last time you saw this

4      document?

5           A.     I would need to go refer to my notes to       01:10:48

6      see if I saw this one.

7           Q.     Okay.     Go ahead and refer to your notes.

8           A.     I -- I just honestly -- I -- I don't

9      think --

10          Q.     I think it's fine to look at your notes.      01:10:57

11          A.     I don't know that I had in my notes which

12     documents -- I would -- I would need to physically

13     go look in the binder to see if I saw this one.

14          Q.     Okay.     I'll try to see if opposing

15     counsel produced that document.                           01:11:12

16                 But while we're working on that, I wanted

17     to ask a couple questions about Exhibit 348.

18          A.     Specifically, the example earlier that I

19     was looking for?

20          Q.     Uh-huh.                                       01:11:32

21          A.     And the question you answered -- or

22     asked, was in 347, under "Overview," where there

23     were just examples of what UII -- that have been

24     generated in more than 90 days ago, included

25     emails, IP addresses, names, locations, cookies.          01:11:45

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1              Q.   And when you say "cookies," what do you         01:11:48

2      mean?

3              A.   Web browser cookies.

4              Q.   Such as?

5                   MR. BLUME:    Objection.     Form.              01:11:58

6                   THE DEPONENT:     Cookies that Web browsers

7      use for the sake of authentication or similar

8      functions.

9              Q.   (By Ms. Weaver)     Facebook uses cookies,

10     right?                                                       01:12:18

11             A.   Facebook does use cookies.

12             Q.   And what Facebook cookies are you aware

13     of --

14                  MR. BLUME:    Objection.     Form.

15             Q.   (By Ms. Weaver)     -- that are UII?            01:12:27

16                  MR. BLUME:    Objection.     Form.

17                  THE DEPONENT:     I can't actually recollect

18     without looking at my -- looking at -- looking back

19     in some of the prior documents.          I -- there's --

20     there's a variety of -- there's -- there's a number          01:12:46

21     of different cookies.

22             Q.   (By Ms. Weaver)     Okay.    Are you familiar

23     with the datr cookie?

24             A.   I'm familiar with the datr cookie.

25             Q.   And datr --                                     01:12:57

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1             A.   D-A -- sorry -- D-A-T-R.                        01:12:59

2             Q.   Yes.

3                  What is the datr cookie?

4                  MR. BLUME:   Objection.      Form.    Scope.

5                  THE DEPONENT:     The datr cookie is a          01:13:13

6      unique browser identifier.

7             Q.   (By Ms. Weaver)      And when you say it's a

8      "unique browser identifier," is it unique to

9      browsers, or is it unique to a specific visit by a

10     device to a browser?                                        01:13:35

11                 MR. BLUME:   Form.

12                 THE DEPONENT:     That -- that question is

13     technically inaccurate.       If you could ask it in a

14     different way.

15            Q.   (By Ms. Weaver)      Well, let me put it this   01:13:47

16     way.    Sometimes cookies have lots of different

17     identifiers contained in them.        Datr -- the cookies

18     can have the identifier of the browser and the

19     device ID and a number of things.

20                 I'm asking what information is contained        01:13:59

21     in the datr cookie?

22            A.   The datr cookie specifically is tied to

23     the browser.

24            Q.   And the browser only?

25            A.   It is -- it is the browser as it exists.        01:14:13

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1      And -- and so it's -- it's -- it's the browser as               01:14:15

2      it's operating.

3              Q.   Okay.   And you're aware of other Facebook

4      cookies as well; is that right?

5              A.   I am.   I would need to refresh my                 01:14:27

6      recollection.

7              Q.   And how would you refresh your

8      recollection?

9              A.   I would -- there's -- I would -- I'd

10     probably look back at the filing I helped put                   01:14:42

11     together which described all the Facebook cookies

12     from before.

13             Q.   Do you mean --

14             A.   I just don't remember the names of all of

15     them.                                                           01:14:55

16             Q.   Do you mean your notes?

17             A.   No, I do not mean -- mean my notes.         I --

18     the --

19             Q.   What filings did you put together which

20     described all the Facebook cookies from before?                 01:15:02

21             A.   Not that I personally put together.         It

22     was one that -- as Facebook, we had put together

23     that had all of them -- provided clarity on the

24     names and descriptions of all of them.          And I

25     just -- I'm struggling to remember the names of all             01:15:22

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1      the cookies.                                                       01:15:25

2              Q.   Where is that document?

3              A.   In a binder sitting across the room.

4              Q.   Can you look at the document?

5              A.   Yeah.                                                 01:15:35

6                   MR. BLUME:    Objection.    Form.

7                   MS. WEAVER:    Mr. Blume, will you allow

8      him to look at the document that he needs to

9      testify regarding these cookies?

10                  MR. BLUME:    Objection to the scope of the           01:15:46

11     list of cookies as it relates to topic 4.

12                  MS. WEAVER:    I sent an email identifying

13     these cookies, and I'm assuming that's why he

14     prepared this.

15                  Why don't we go off the record.                       01:16:00

16                  SPECIAL MASTER GARRIE:      Actually, let's

17     wait.

18                  MS. WEAVER:    Okay.

19                  SPECIAL MASTER GARRIE:      I actually was on

20     these emails -- I was on these emails exchanged as                 01:16:07

21     a Special Master, and I'm just a bit -- is that --

22     before we just say this emails and cookies, do you

23     want to -- are we all on the same page when we say,

24     did you receive the emails, Counsel Blume?               And are

25     we talking apples to apples with regards to the                    01:16:25

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1      exhibit.                                                   01:16:28

2                 So Counsel, we identified multiple

3      cookies.   You extend that to Counsel Blume,

4      correct?

5                 MS. WEAVER:     Yes.                            01:16:37

6                 SPECIAL MASTER GARRIE:       Now, you're

7      asking about those specific cookies, not other

8      cookies, correct?

9                 MS. WEAVER:     Yes.

10                SPECIAL MASTER GARRIE:       Okay.    So then   01:16:42

11     have you -- and I believe those cookies we're

12     discussing are the ones that -- we -- that you

13     emailed about are the ones we're discussing now,

14     correct?

15                MS. WEAVER:     Yes.                            01:16:52

16                SPECIAL MASTER GARRIE:       Okay.    And

17     then --

18                MR. BLUME:     Do you want to put those up?

19                SPECIAL MASTER GARRIE:       Well, before --

20     she can share with the email but -- or we can enter        01:16:58

21     it into the record.      But I just want to make sure I

22     understand before I -- before we go off the record,

23     that I understand what -- what's occurring.

24                So now, you're asking the witness about

25     those cookies.   And Mr. Clark, when you said              01:17:14

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1      "cookies," were you referring -- you were referring           01:17:16

2      to the cookies that Counsel Weaver was asking you

3      about, correct?

4                  THE DEPONENT:     I was given an open-ended

5      question on a list of cookies.          And I just couldn't   01:17:26

6      recollect the list of cookies.          And so I -- I'm not

7      aware of --

8                  SPECIAL MASTER GARRIE:        That's why I'm

9      confused.

10                 THE DEPONENT:     Yeah.                           01:17:31

11                 SPECIAL MASTER GARRIE:        So when we're

12     saying list of cookies --

13                 THE DEPONENT:     Yeah.

14                 SPECIAL MASTER GARRIE:        -- what do you

15     mean by "list of cookies"?                                    01:17:35

16                 MS. WEAVER:     You're asking me?

17                 SPECIAL MASTER GARRIE:        Like what I'm

18     confused is, Counsel --

19                 MS. WEAVER:     I want to ask this --

20                 SPECIAL MASTER GARRIE:        -- when you were    01:17:39

21     emailed a list of cookies to Counsel Blume, we were

22     talking about those cookies.          But you said "list of

23     cookies," and I was just -- I just -- I want to

24     make sure we're all talking about the same cookies.

25                 MS. WEAVER:     Let me be clear.      I am        01:17:53

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1      seeking to elicit testimony about the cookies that            01:17:54

2      I emailed Mr. Blume about.           It seemed to me that

3      Mr. Clark had prepared regarding those cookies,

4      Rob, and --

5                   SPECIAL MASTER GARRIE:        That's what I --   01:18:05

6      that's what I'm trying to figure out.

7                   MS. WEAVER:     Yeah.

8                   SPECIAL MASTER GARRIE:        That it's not

9      other cookies that aren't related to the ones you

10     asked about.     That's...                                    01:18:11

11                  MS. WEAVER:     Is there a document

12     that the --

13                  MR. BLUME:    And so put that -- if we put

14     that --

15                  MS. WEAVER:     Can I -- can I just ask, is      01:18:14

16     there a document that the witness prepared in

17     response to the questions I asked about those

18     cookies?

19                  SPECIAL MASTER GARRIE:        Maybe you could

20     provide --                                                    01:18:22

21                  (Simultaneously speaking.)

22                  MR. BLUME:    The list --

23                  SPECIAL MASTER GARRIE:        -- that email

24     with the list of the cookies just so we're all on

25     the same page.                                                01:18:26

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1                 I apologize, Counsel Weaver, but -- I do              01:18:27

2      recollect it.   But I don't -- I don't have it right

3      before me right now.

4                 MS. WEAVER:    You want me to just email it

5      around, Special Master Garrie, right now?                        01:18:35

6                 SPECIAL MASTER GARRIE:         Well, if you can

7      put it on the screen so we can all see it --

8                 MR. BLUME:    Put it on the screen.

9                 SPECIAL MASTER GARRIE:         -- that would be

10     helpful.   Because it is, it is helpful.                         01:18:42

11                (Discussion off the stenographic record.)

12                MS. WEAVER:    Can we go off the record?          I

13     just need to find this.

14                SPECIAL MASTER GARRIE:         We can go off the

15     record while you find it, of course.                             01:19:27

16                MR. BLUME:    Should we break for lunch?

17                MS. WEAVER:    No.    I'm in the middle of

18     questioning.

19                SPECIAL MASTER GARRIE:         No.

20                MR. BLUME:    Okay.    Okay.     Just a               01:19:35

21     suggestion.

22                SPECIAL MASTER GARRIE:         We're in the

23     middle of a question.

24                MR. BLUME:    Just a suggestion.          Okay.

25                SPECIAL MASTER GARRIE:         Forget it.             01:19:39

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1                 MR. BLUME:   Okay.                               01:19:39

2                 THE VIDEOGRAPHER:      Okay.     We're off the

3      record.   It's 1:19 p.m.

4                 (Recess taken.)

5                 THE VIDEOGRAPHER:      We're back on the         01:25:27

6      record.   It's 1:25 p.m.

7           Q.    (By Ms. Weaver)      What information does

8      the datr cookie hold?

9                 MR. BLUME:   Objection.        Form.   Scope.

10                THE DEPONENT:     While I didn't                 01:25:42

11     specifically prepare for this as part of my

12     representation -- as being a representative of

13     Facebook, in my personal experience, datr cookie is

14     a cookie that tracks the browser as a unique

15     identifier for the browser.                                 01:26:01

16          Q.    (By Ms. Weaver)      Does the datr cookie

17     contain a URL?

18          A.    I didn't specifically prepare for that as

19     part of my testimony, as a representative of

20     Facebook, but in my personal experience, I -- I do          01:26:21

21     not believe it contains any URL, but I don't know.

22                (Exhibit 349 was marked for

23     identification by the court reporter and is

24     attached hereto.)

25          Q.    (By Ms. Weaver)      Okay.     Take a look at    01:26:27

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1      Exhibit 349, and tell me if this is the document              01:26:29

2      that you were referring to a moment earlier.

3              A.   I've got the document open and I'm

4      looking.

5              Q.   And I think it's on the sec- -- third --         01:26:54

6      page 3.

7              A.   That is the document I was referring to.

8              Q.   And you were involved in the creation of

9      this document; is that right?

10             A.   I did assist counsel in the creation of          01:27:11

11     this document.

12             Q.   Did you assist counsel in the

13     identification of cookies?

14                  MR. BLUME:   Objection, to the extent your

15     involvement involves conversation with counsel,               01:27:19

16     it's privileged.

17                  And I instruct you not to answer.

18                  And work product.

19             Q.   (By Ms. Weaver)     Okay.    Fine.    I'll ask

20     this.                                                         01:27:34

21                  Did you provide information about what

22     the datr cookie is?

23             A.   No.

24             Q.   Do you know who did?

25                  MR. BLUME:   Objection.      To the extent you   01:27:46

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1      know as a result of conversations with counsel, I'd                 01:27:47

2      instruct you not to answer.

3                   THE DEPONENT:       I only know that because

4      it was part of the conversation with counsel.

5                   MS. WEAVER:     Rob, your position is you              01:28:03

6      telling him who knows about the datr cookie is

7      privileged; is that right?

8                   MR. BLUME:    No.     Your question was, who

9      gave the information with regard to this letter

10     about datr -- datr cookies.          That's privileged.             01:28:12

11                  MS. WEAVER:     Okay.

12                  MR. BLUME:    To the extent he knows that

13     information from discussions with counsel.

14          Q.      (By Ms. Weaver)       You're not prepared to

15     testify about the datr cookie, is that right,                       01:28:23

16     Mr. Clark?

17                  MR. BLUME:    Object -- objection.             Form.

18                  THE DEPONENT:       I'm not prepared to

19     testify about the datr cookie as a representative

20     of Facebook.     Only from personal experience.                     01:28:39

21          Q.      (By Ms. Weaver)       And you, from personal

22     experience, don't -- well, strike that.

23                  Do you know how -- what -- strike that.

24                  Do you know how the datr cookie

25     identifies a Web browser?                                           01:28:52

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1           A.     It -- I'm not prepared to answer that as              01:28:55

2      part of testifying as a representative of Facebook.

3      But in my personal experience, that -- the

4      datr cookie is a generated unique identifier to a

5      browser.    How that occurs and -- and exactly the                01:29:09

6      content in it, I do not know.

7           Q.     Who would know?

8           A.     I -- I -- I am not prepared to testify to

9      that as a representative of Facebook.          In my

10     personal experience, I don't have a specific name                 01:29:25

11     that I would know that would know that part of the

12     process.

13          Q.     Can you -- can you identify anybody that

14     you work with at Facebook who knows how the datr

15     cookie functions?                                                 01:29:41

16          A.     As of -- I -- I didn't prepare for that

17     as part of my testimony as a representative of

18     Facebook.    But in my personal experience, I -- I

19     would go look up who I would need to, to go have

20     that conversation.     I don't -- I don't know a name             01:29:59

21     offhand.

22          Q.     Okay.   Do you know -- okay.       Strike that.

23                 What is the fpb cookie?

24          A.     I didn't specifically prepare for that as

25     part of my testimony representing Facebook.              But in   01:30:14

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1      my personal experience and -- I -- I would refer to         01:30:17

2      the -- I would refer to the filing for that detail.

3                The underscore FB cookie is set on the

4      third-party domain only if the advertiser/publisher

5      has installed the Facebook pixel business tool and          01:30:28

6      opted into the use of these cookies.

7                The cookie has its own -- or has a

8      browser identifier and -- and in the epoch time

9      when the cookie was created.       And then for

10     additional details, there's documentation on the            01:30:43

11     external developer Facebook side.

12          Q.   And you said the epoch time?

13               It's a little unclear.        I just didn't

14     understand what you said.

15          A.   The -- yeah, it's -- it's E-P-O-C-H.              01:31:01

16     It's -- it's a time commonly used in -- in computer

17     languages and UNIX time systems.        The -- the time

18     since -- and I should know it offhand -- but

19     sometime in 1969 or 1970, and the number of

20     seconds that's --                                           01:31:21

21          Q.   Sorry.     It's just that I couldn't

22     understand you and it didn't come through on the

23     transcript.   That's fine.

24               Okay.     What is the                   cookie?

25               MR. BLUME:     Objection.     Form.    Scope.     01:31:34

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1                  THE DEPONENT:     I didn't prepare to                 01:31:37

2      specifically talk about that as a representative of

3      Facebook.

4                  But in my personal experience, those are

5      the cookies that are used for my                             to   01:31:44

6      Facebook and whether                              .      And so

7      that's -- that's where my

8      information is stored.

9           Q.     (By Ms. Weaver)     Do third parties

10     transmit the Facebook user ID through                             01:32:01

11     cookies?

12          A.     I didn't specifically prepare to talk to

13     that as a representative of Facebook.

14                 But in my personal experience, those

15     cookies are only scoped to Facebook.com.              So third    01:32:15

16     parties should not have access to that.

17          Q.     They are not supposed to have access to

18     the Facebook user ID is your testimony?

19                 MR. BLUME:   Objection.      Form.    And scope.

20                 THE DEPONENT:     I didn't specifically               01:32:34

21     prepare for that as part of my testimony.

22                 But in my personal experience, that --

23     that question is very, very generic and -- and --

24     and inaccurate.

25                 What I had stated before is the                       01:32:46

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1                          cookies are cookies that are used for          01:32:50

2                          , and third parties are not

3      authorized or should not have access to those

4      cookies in the browser as they're scoped to

5      Facebook.com.                                                      01:33:07

6                      And to further reiterate, that is why we

7      have third-party application-scoped IDs and other

8      kinds of IDs, so that we don't give third parties

9      the canonical Facebook user ID.

10             Q.      (By Ms. Weaver)     You're referring to the        01:33:26

11     ASID; is that correct?

12             A.      That is correct.

13             Q.      Okay.   We'll come back to that.

14                     Why did Facebook create -- well, strike

15     that.                                                              01:33:35

16                     You said that the -- the fbc cookie is

17     used for authentication.

18                     How does that function?

19                     MR. BLUME:   Objection.      Form.    Beyond the

20     scope.                                                             01:33:46

21                     THE DEPONENT:     That -- that wasn't what I

22     said.        I didn't specifically prepare for that as

23     part of my testimony.

24                     But in my personal experience, the

25     xs/c_user and xs c_user cookies are what are used                  01:33:56

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1      for authentication and identify for users logged                   01:34:03

2      in.

3                      The_fbc cookie is a cookie that is set on

4      third-party domain only if the advertiser and

5      publisher has installed the Facebook pixel business                01:34:15

6      tool.        And it is set only if the click originated

7      from the Facebook service.

8                      For instance, when clicking on an ad in

9      Facebook newsfeed.           And the_fbc cookie contains an

10     encrypted user ID.                                                 01:34:32

11             Q.      (By Ms. Weaver)     And who encrypts the

12     user ID?

13                     MR. BLUME:     Objection.    Form.     Scope.

14                     THE DEPONENT:     I didn't prepare for that

15     as part of my testimony.                                           01:34:43

16                     In my personal experience, I don't know.

17             Q.      (By Ms. Weaver)     Okay.    And so just

18     the record -- so the record is clear, you did not

19     prepare to testify regarding the fpb cookie,

20     the_fbc cookie, the                                  cookie, the   01:34:56

                       cookie or       cookies; is that right?

22                     MR. BLUME:     Objection.    And to the extent

23     the question asks for preparation beyond topic 4 is

24     beyond the scope.

25                     THE DEPONENT:     I did not.     As a -- as a      01:35:19

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1      representative of Facebook, I didn't prepare for            01:35:20

2      that topic.

3              Q.   (By Ms. Weaver)     And did you prepare for

4      whether or not those cookies contained information

5      such as fbid, fbtype or URL?                                01:35:26

6                   MR. BLUME:    Same objection.

7              Q.   (By Ms. Weaver)     Are you answering the

8      question?

9              A.   As a part of my preparation, as a

10     representative of Facebook, I did not prepare for           01:36:03

11     that.

12             Q.   Did you prepare to discuss the datr

13     cookie?

14                  MR. BLUME:    Objection, to the extent the

15     question seeks information beyond topic 4 is beyond         01:36:17

16     the scope.

17                  THE DEPONENT:     As a part of my

18     representation as a representative of Facebook, I

19     did not prepare for that.        But did share -- from my

20     personal experience.                                        01:36:30

21                  MS. WEAVER:     Okay.   We'll move on.

22             Q.   (By Ms. Weaver)     Do you know who at

23     Facebook would be qualified to discuss those

24     cookies?

25                  MR. BLUME:    Objection.     Form.             01:36:47

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1                   THE DEPONENT:     As a representative of --   01:36:52

2      as my preparation as a representative of Facebook

3      for this testimony, I didn't prepare for that.

4                   In my personal experience, I -- I do not

5      have a name.                                               01:37:03

6             Q.    (By Ms. Weaver)     Okay.    Going back to

7      Exhibit 348.

8                   Let me just ask a question.          You

9      testified a moment ago that there was a binder in

10     the room that you used to prepare -- prepare that          01:37:21

11     included Exhibit 349; is that right?

12            A.    Yes.

13            Q.    And you reviewed and -- and recalled that

14     it referenced cookies, right?

15            A.    That is correct.                              01:37:45

16            Q.    Did -- did you discuss whether you would

17     testify regarding those cookies?

18                  MR. BLUME:   Objection.      Form.

19                  THE DEPONENT:     I did not.

20            Q.    (By Ms. Weaver)     Okay.    Going back to    01:37:59

21     348.

22                  Do you see that there's a reference in

23     the first paragraph -- I'm sorry.           Okay.

24                  There's a sentence that says "This means

25     we need to                                                 01:38:20

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4                  Do you see that?

5             A.   I do see that.                                01:38:34

6             Q.   And then it says




8                  Do you see that?

9             A.   I do see that.

10            Q.   What does that mean?                          01:38:45

11            A.   I'll use an example that I -- that I used

12     earlier.

13                 I think when I upload a photo to the

14     service -- I upload the photo.       I might attach a

15     description to that photo.      That photo will get       01:39:06

16     likes and reactions and comments and other things.

17                 The photo and those main interactions

18     will

                   The metadata -- some of the metadata

20     associated with that upload might include a log           01:39:29

21     that -- that showed that I had uploaded a photo and

22     what that photo was, my IP address, and other

23     information about the photo that I uploaded.

24                 When the user deletes their account and

25     we                                                          :39:56

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1




                           it was deleted, the

                 weren't stored in           and weren't a part

7      of that original record.

8           Q.   And what does "long term analyses" mean?

9           A.   In the future wanting to know about

10     activity of photo uploads.                                  01:40:44

11               An example might be going back in time to

12     look at how many photo uploads there were

13     in May of 2022, to have an understanding about the

14     performance and function of the systems of -- of

15     the application and the platform.                           01:41:04

16               MS. WEAVER:     Okay.   Let's mark exhibit --

17     tab 92, please.

18               (Exhibit 350 was marked for

19     identification by the court reporter and is

20     attached hereto.)                                           01:41:10

21          Q.   (By Ms. Weaver)     And let me know when

22     you've had a chance to review it.

23          A.   I still haven't had anything show up.

24               MS. WEAVER:     It has for us.

25               THE DEPONENT:     Oh, there it is.      It just   01:41:53

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1      came in.                                                    01:41:53

2           Q.    (By Ms. Weaver)     Do you recognize

3      Exhibit 350?

4           A.    Let me read it.

5                 Okay.    I've had a chance to read it.           01:42:22

6           Q.    Great.

7                 What is Exhibit 350?

8           A.    Exhibit 350 appears to be a Wiki page

9      titled "Overview," which is Revision 57833386 from

10     the internal Facebook Wiki.                                 01:42:38

11          Q.    And so does it reflect Facebook's

12     procedure for              at a high level?

13          A.    I -- as -- as opposed to procedure, I --

14     I -- I read this as an overview, a description.

15          Q.    And what is it describing?                       01:43:06

16          A.    A high-level overview of Hive Anon.

17          Q.    Is it describing the                  process?

18          A.    It -- it's a providing a high-level

19     overview of what               is.

20          Q.    And what is               ?                      01:43:26

21          A.




                                                                   01:43:43

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1                                                                      01:43:49

2           Q.   Okay.    And looking at the second page of

3      the document, at Bates number -31, what does that

4      diagram reflect?

5           A.   It reflects




7           Q.   What is an                ?

8           A.




                  to run against tables and

                                        those tables.

12          Q.   Okay.    I'm going to try to get --

13          A.   To those --

14          Q.   I'm sorry.    Go ahead.

15          A.   No.                                                   01:44:43

16               MS. WEAVER:    So I'm going to try to --

17     Josh, can you try to screen share this diagram.

18               MR. SAMRA:    Yep.    Give me a second.

19          Q.   (By Ms. Weaver)      Looking at this same

20     page, it gives a couple of examples; is that right?             01:45:02

21          A.   Yes.

22          Q.   And can you describe what -- how the

23     example is illustrating how this                       works?

24          A.   Yes.

25               So it appears that this example is -- if              01:45:28

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1      we have a table named                                 the   01:45:31

2      following columns:




                                                       And these   01:45:57

6      are actually -- these aren't even real actual

7      column names.




                                                       When

13     these accounts were registered for how

14     works in the -- I don't remember the name of the

15     table offhand -- but in the table that

             there's a synthetic sample table here where

17     there's a




                                                      which is

23     the -- as opposed to going through and

                            all of the data in the file,

25     which is                   goes through and gets --         01:47:28

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1      gets                in this process.

                                                                       ,

3      which essentially

                    And the same happened for

                                                                           01:47:51

6                                       in this synthetic example

7      were identified                and were                Those

8      are now                                                being

9      the aggregated statistic was remained at 20 and 10.

10     And                                                                 01:48:15

11            Q.   Okay.

12            A.   Finally, if John                      account, in

13     the                                             table, John's

14                                    , therefore, none of the

15     applications or internal Facebook developers, or                    01:48:31

16     anyone else,

17     John's -- any -- any data                                   .

18            Q.   Okay.     And if he does not delete his

19     account, they can still             for the          is that

20     right?                                                              01:48:53

21            A.   Until that data is

                               yes.

23            Q.   Okay.     And looking at the diagram, can

24     you describe what the diagram is reflecting?

25                 Is that showing where the script is                     01:49:07

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1      running?                                                      01:49:09

2           A.    Yeah.    It's -- it's a -- it's a very poor

3      engineering diagram trying to explain these

4      concepts which are in bullets right above, which --

5      where it talks about how it works.       At a high            01:49:42

6      level, there are        steps that occur during the

7                 process.                      where a

8      software called                            data to be

9

10                Two, whoever the owner of the data is, is          01:49:59

11     notified via a tool called mobilizer.        And the --

12     the -- the owner is notified through -- through a

13     task using the task system.

14                The column -- the -- the column policies

15     are updated.   The owner updates the policies using           01:50:20

16     the Hive Anon UI.     There's a triggering directive

17     where -- using software called Roomba that a new

18     policy is picked up.

19                And then five, directive and action,

20     UDTF, that over 90 days data is Anon or null.           And   01:50:39

21     then finally, with deletion, that once a user

22     deletes their account, the mappings are actually

23     deleted.

24          Q.    Thank you.

25          A.    The -- the diagram is trying to                    01:50:57

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1      demonstrate that, but poorly.                                      01:51:00

2           Q.     Okay.   And what is Scribe?

3           A.     Scribe is a software development tool.             I

4      didn't specifically prepare as part of my testimony

5      to answer what scribe was, as a representative of                  01:51:24

6      Facebook.     But in my personal experience, Scribe is

7      a developer tool.

8           Q.     And what is it used for?

9           A.     I -- I do not know.

10          Q.     And how does        function?       How does it        01:51:40

11     detect UII?

12          A.

13          Q.          Sorry.

14          A.        is -- that's okay.      As -- as a tool

15     is -- is -- is purpose built to identify patterns                  01:51:51

16     of UII, through both manual rules, in addition to

17     machine learning, to look for what might be UII

18     in -- in any -- in any of those tables.

19                 MS. WEAVER:     Okay.    Great.

20                 We can take a break.                                   01:52:14

21                 MR. BLUME:     Lunch?

22                 THE VIDEOGRAPHER:       Okay.     Off the record

23     it's 1:52 p.m.

24                 (Recess taken.)

25                 THE VIDEOGRAPHER:       Okay.     We're back on        01:53:32

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1      record.   It's 1:53 p.m.                                  01:53:34

2                 MR. BLUME:    So with regard to topic 4,

3      which speaks to the processes related to deletion,

4      pseudonymization, de-identification,

5      re-identification association and deletion of user        01:53:48

6      data and information, as that relates to cookies,

7      Mr. Clark is prepared to discuss whether Facebook

8      uses cookies as identifiers; specifically,

9      identifiers for users.     And if so, how Facebook

10     treats those cookies within the deletion framework.       01:54:07

11                It was -- it is -- it's our position that

12     to discuss the processes of that deletion

13     framework, to talk about the specific cookies, what

14     they are specifically, what information they get is

15     beyond the scope.                                         01:54:25

16                He's certainly prepared to talk about how

17     the framework -- deletion framework deals with

18     cookies, to the extent those cookies are

19     identifiers.   But not any specific cookie or its

20     purpose or the information it gets.                       01:54:37

21                SPECIAL MASTER GARRIE:      He can do the

22     high level, but getting into the technical ways of

23     how the cookies operationally work within the

24     different frameworks he describes is beyond the

25     scope.                                                    01:54:48

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1                   Is that what -- the gist of what we're             01:54:49

2      getting at?

3                   MR. BLUME:   Well, let -- let me clarify.

4                   He can talk about the -- the details of

5      how the deletion framework deals with cookies to                01:54:55

6      the -- to the extent cookies are -- are

7      identifiers.     But what is specific cookie seeks --

8                   SPECIAL MASTER GARRIE:     That's what I

9      mean.     The specific cookies that were emailed or

10     identified by plaintiffs, they identified a subset              01:55:08

11     of specific cookies, those interworkings of how

12     those specific cookies interoperate with those

13     frameworks is -- he is not prepared to testify

14     about.

15                  MR. BLUME:   Except to the extent that             01:55:21

16     they --

17                  SPECIAL MASTER GARRIE:     The technical.

18                  MR. BLUME:   Right.

19                  Except to the extent that those cookies

20     are considered identifiers and -- and are part of               01:55:26

21     the process.

22                  It doesn't matter what the specific

23     cookie is, as far as the deletion framework.            Every

24     cookie would be treated the same way.         And he's

25     prepared to talk about how the deletion framework               01:55:41

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1      deals with cookies as -- en masse.       But any                01:55:43

2      specific cookies, he -- is beyond -- we would argue

3      is beyond the scope.

4                  They're all treated the same way.           Every

5      cookie is treated the same way within the processes             01:55:55

6      of pseudonymization, de-identification,

7      re-identification, associations, deletion.             It

8      doesn't matter which cookie.      They're all treated

9      the same.

10                 MS. WEAVER:   So if I may --                        01:56:09

11                 (Simultaneously speaking.)

12                 SPECIAL MASTER GARRIE:     Didn't -- didn't

13     he testify --

14                 MS. WEAVER:   The topic includes

15     association.    We identified, for example, the named           01:56:13

16     plaintiffs' DYI files complaining -- containing

17     datr cookies precisely so we could understand what

18     data and information that's in the description.

19     User data and information is expressed through

20     those cookies, which the witness said and is                    01:56:33

21     factually correct, are identifiers.

22                 So Facebook is collecting and tracking

23     through the datr cookie which websites users visit,

24     and I -- I attempted to get testimony about that

25     today after sending --                                          01:56:48

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1                SPECIAL MASTER GARRIE:      But he --                 01:56:50

2                MS. WEAVER:    -- an email two weeks ago

3      to -- only to find out in the deposition that in

4      preparation here, counsel has not had the person

5      prepare on any of those cookies.                                01:57:00

6                SPECIAL MASTER GARRIE:      Well, one sec.        I

7      don't want to -- let's not go down a rabbit hole

8      here because that's where we're heading and we

9      still have deposition left.

10               At the end of the day, prepared or not,               01:57:11

11     we can take that offline at a separate point.         The

12     bottom line is the witness that's here now isn't

13     prepared to speak about those specific technical

14     cookies that are associated with this specific

15     topic, as it relates to how you just described it.              01:57:28

16     It is what it is, right?

17               MS. WEAVER:    Yup, I understand.

18               SPECIAL MASTER GARRIE:      But --

19               MR. BLUME:    Hold on.   Hold on.

20               Just to be clear, he's prepared to                    01:57:36

21     testify about whether Facebook uses the datr cookie

22     as an identifier.   That's -- so he can speak to

23     that.

24               SPECIAL MASTER GARRIE:      But those were --

25               MR. BLUME:    And then if so, how -- what's           01:57:44

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1      that?                                                     01:57:47

2                SPECIAL MASTER GARRIE:      Where -- where

3      I'm confused is those cookies she's referring to

4      are those, those things, like this is -- those are

5      the specific cookies that consist of what you're          01:57:53

6      talking about.   So where I --

7                MR. BLUME:   Right.

8                SPECIAL MASTER GARRIE:      -- where I'm

9      getting confused is, those cookies that she

10     identified -- that are identified by plaintiffs           01:58:02

11     are -- I don't think all -- but a subset of the

12     exact topic you're talking about.      But --

13               MR. BLUME:   Any facts --

14               SPECIAL MASTER GARRIE:      -- those are

15     technical tools --                                        01:58:12

16               MR. BLUME:   Well, but if -- if -- yeah.

17     Are the -- are -- is the following cookie -- does

18     Facebook consider the following cookie to be an

19     identifier.   If yes, how does -- how does Facebook

20     deal with it within the deletion framework.               01:58:22

21               He's prepared to answer those questions.

22     But the -- but if -- if -- but the specific --

23     if -- if Facebook doesn't consider a specific

24     cookie to be an identifier, then it's not caught up

25     within the deletion framework, which is what he's         01:58:34

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1      here to testify about.                                        01:58:37

2                   MS. WEAVER:    So he's only here about

3      deletion.     But the topic talks about association of

4      user data and information.          That's what the topic

5      says.                                                         01:58:44

6                   MR. BLUME:    The processes of -- the --

7      the processes of pseudonymization,

8      de-identification, re-identification, association

9      and deletion of --

10                  MS. WEAVER:    Of --                             01:58:54

11                  MR. BLUME:    -- of user data --

12                  MS. WEAVER:    -- user data.

13                  MR. BLUME:    -- within that -- it's the

14     process --

15                  MS. WEAVER:    Association of user data and      01:58:58

16     information --

17                  SPECIAL MASTER GARRIE:       No, let me -- let

18     me --

19                  MS. WEAVER:    Yeah.

20                  SPECIAL MASTER GARRIE:       The part            01:59:01

21     that I -- so what she's saying is that those

22     cookies are used to associate with specific users

23     by Facebook as tools.       And she's asking him

24     specific questions about those cookies that are

25     believed and been represented, I believe, to                  01:59:14

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1      associate user activity or make the association of          01:59:17

2      a Facebook user and their activity.        Those specific

3      subset of cookies.     And then --

4                MR. BLUME:     Yes.   If Facebook --

5                SPECIAL MASTER GARRIE:       -- association is    01:59:29

6      done via that cookie.

7                MR. BLUME:     If Facebook -- if Facebook

8      considers the particular cookie to be an identifier

9      associated with a user and that -- and is part of

10     that process, he's -- he is happy to talk about it.         01:59:40

11               SPECIAL MASTER GARRIE:       But he can talk

12     about those cookies.

13               MR. BLUME:     He -- he can -- he can answer

14     the question whether -- whether Facebook considers

15     those cookies to be identifiers.       It says --           01:59:49

16               (Simultaneously speaking.)

17               SPECIAL MASTER GARRIE:       But to know how

18     they -- she wants -- the question is how does

19     Facebook associate.     How is that Facebook -- maybe

20     I'm missing something.     But I believe what's being       01:59:59

21     asked is how is that association done by Facebook

22     with those cookies.     Like what is the process

23     through which -- technical process through which

24     Facebook makes an association.

25               Maybe I'm misreading or mishearing what           02:00:13

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1      plaintiffs are asking about.       And my question is,        02:00:16

2      can he talk about how -- maybe I'm

3      misunderstanding.

4                Is he prepared to testify about the

5      technical process of how Facebook makes those                 02:00:25

6      associations?

7                MR. BLUME:   To the extent the -- by

8      "association," you mean identify -- identifiers?

9      In other words --

10               SPECIAL MASTER GARRIE:        The user.             02:00:42

11               MR. BLUME:   -- did he identify a user and

12     how that -- how that information is then captured

13     within these processes, as set forth in topic 4,

14     yes.

15               SPECIAL MASTER GARRIE:        So if we open up      02:00:52

16     the cookie, we can -- he can walk us through how

17     that cookie makes those associations?

18               MR. BLUME:   No.     He can identify whether

19     or not these cookies are considered by Facebook to

20     be identifiers, generally.      Not how they work.      But   02:01:04

21     whether they are in the process, in the deletion

22     framework, considered to be identifiers.          In other

23     words, used to identify the user.

24               SPECIAL MASTER GARRIE:        Okay.    The

25     specific --                                                   02:01:14

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1                  MS. WEAVER:    I think -- well, we can save           02:01:15

2      for another day --

3                  SPECIAL MASTER GARRIE:      The technical --

4      he's not --

5                  MS. WEAVER:    -- because it seems very               02:01:17

6      clear that despite the fact that plaintiffs

7      identified specific pages pulled out of the DYI

8      file with datr cookies associated with the named

9      plaintiffs, this witness does not -- according to

10     the instructions of counsel, doesn't interpret the                02:01:34

11     datr cookie to be an identifier for users.              And for

12     that reason, this witness is not prepared to

13     testify on that topic.

14                 MR. BLUME:    Well, you never asked -- you

15     never asked him that question.       Ask him that                 02:01:47

16     question.

17                 MS. WEAVER:    Either way -- Rob, you

18     excluded your preparation --

19                 MR. BLUME:    No, ask him the question.

20                 THE COURT REPORTER:     Hold on.     Hold on.         02:01:52

21     Hold on.

22                 SPECIAL MASTER GARRIE:      No, you guys are

23     doing this again.    Time out.     Time out.

24                 We'll go off the record and I'll reset

25     everything.    And I will take time away from -- take             02:02:00

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1      time and add time, so we may end up at zero.                 02:02:02

2                   But the point being is stop and listen to

3      each other.     The net/net is that what Counsel Blume

4      is saying, the question you just asked,

5      Counsel Weaver, you can ask the question and hear            02:02:13

6      the answer.

7                   Did I miss that, Counsel Blume?

8                   MR. BLUME:    That's correct.     No, that is

9      absolutely correct.

10                  SPECIAL MASTER GARRIE:      And then based --   02:02:22

11     based on that answer, Counsel Weaver, you may

12     find --

13                  MS. WEAVER:    I think he said that's

14     incorrect.

15                  MR. BLUME:    No, I said that's absolutely      02:02:28

16     correct.     Ask him if he considers the datr cookie

17     to be an identifier.       If so, how it fits in the

18     process.     And ask for --

19                  MS. WEAVER:    But the question is

20     whether -- sorry.                                            02:02:36

21                  The question is whether it's associated

22     with user data and information.         That's the topic.

23                  MR. BLUME:    The --

24                  MS. WEAVER:    Facebook's process of

25     association of user data and information.                    02:02:46

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1                  MR. BLUME:    And -- and for purposes of       02:02:52

2      pseudonymization, de-identification,

3      re-identification, that association is identifiers.

4      And so asking if it's -- if he considers it for

5      purposes of the deletion framework, which is what          02:03:02

6      he's here to testify, whether it's considered an

7      identifier.    If it is, it fits into the process.

8      If it's not, then it doesn't.        He's here to talk

9      about that deletion, de-identification,

10     pseudonymization and association with regard to            02:03:15

11     those that -- and within that process.          Just ask

12     him the ordinary question.

13                 SPECIAL MASTER GARRIE:      That's a broad

14     question.

15                 MS. WEAVER:    I'll just -- Special Master,    02:03:23

16     I don't want to waste any more time.         It's very

17     difficult to take depositions and have arguments

18     like this in the middle of a dep.        So let's --

19                 MR. BLUME:    I agree.

20                 MS. WEAVER:    -- refer this to a different    02:03:32

21     time.   And I would just note -- have you pay

22     attention, Rob, to the Oxford comma.         In topic --

23     in topic 4, there's a comma after association.

24                 SPECIAL MASTER GARRIE:      Wait.    Wait.

25                 MS. WEAVER:    All of those topics are         02:03:42

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1      individual.                                                      02:03:43

2                   SPECIAL MASTER GARRIE:      I think -- I

3      think you made a good point.         We're not

4      accomplishing anything here.

5                   MS. WEAVER:    Right.                               02:03:48

6                   SPECIAL MASTER GARRIE:      I give 15

7      minutes --

8                   MR. BLUME:    Right.

9                   SPECIAL MASTER GARRIE:      -- back to

10     plaintiffs here because this was at my request.                  02:03:50

11                  I was just trying to see if we could

12     avoid the downstream issue that looks inevitable,

13     to come.     So we will -- we will put a pin in it and

14     I will -- we will -- we will figure if it is

15     appropriate or whether it was or was not, or so on               02:04:06

16     and so forth.

17                  I was hoping it would be resolved herein,

18     but it does not seem foreseeable.

19                  MR. BLUME:    Well, not -- yeah.

20                  SPECIAL MASTER GARRIE:      I understand,           02:04:15

21     Counsel Blume, your position.         I fully get it.        I

22     understand, Counsel Weaver, your position.               I

23     realize there's a fundamental issue there that will

24     not be resolved during this break.

25                  So everybody should go get lunch, and we            02:04:25

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1      will resume -- I was duly hopeful that I was                    02:04:26

2      misreading what I thought, but it is fine --

3                  MR. BLUME:    Well, welcome your -- this

4      question, as you --

5                  SPECIAL MASTER GARRIE:          I mean, I thought   02:04:42

6      that -- you know, fair enough.         I think there's

7      just a -- so we can take a break.            Everybody get

8      lunch.    And we'll put a pin in it and we'll resume.

9                  MS. WEAVER:     Okay.    When do we want to

10     get -- come back?                                               02:04:50

11                 MS. LAUFENBERG:     We're still on the

12     record, by the way.

13                 THE COURT REPORTER:       Can we go off?

14                 THE VIDEOGRAPHER:       Sure.     We're off the

15     record.    It's 2:05 p.m.                                       02:05:01

16                 (Recess taken.)

17                 THE VIDEOGRAPHER:       We're back on the

18     record.    It's 2:55 p.m.

19          Q.     (By Ms. Weaver)     Hello, Mr. Clark.

20                 Did you have a good lunch?                          02:55:21

21          A.     I did.

22          Q.     Okay.    You know that you're still under

23     oath, right?

24          A.     That is correct.

25          Q.     Okay.    I'd like to ask you to just turn           02:55:29

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1      back to Exhibit 81 [sic].      We never quite got done    02:55:32

2      with it.

3                 And for record, that's the 11-30-2011

4      "Data/DeletionDeletedData" internal Wiki.

5           A.    I don't have -- oh, 342?                       02:55:49

6                 MS. WEAVER:     I'm sorry.    342, yes.

7                 What did I say?

8                 THE DEPONENT:     81.   That's okay.

9                 MS. WEAVER:     Apologies.

10          Q.    (By Ms. Weaver)     And I'll direct your       02:56:01

11     attention to the section here discussing

12     "Anonymization," where it says -- we had just

13     discussed the paragraph that says "It is simple to

14                a user."

15                Do you recall that?                            02:56:35

16          A.    I see the paragraph.

17          Q.    Yeah.

18                It's the paragraph where it identified

19     the table with the             between

20     right?                                                    02:56:50

21          A.    Yup.    Yes.

22          Q.    Okay.    And now look at the second

23     paragraph there.

24                "The second part is not as

25     straightforward, because it requires thinking about       02:56:57

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1      what content of your data tells you who a user is.               02:57:02

2      Can you                                                    to

3      '               code?     Probably not.    A lotttt of

4      people                          Their email address?

5      Obviously.     (But emails are

                       an                 Probably, because with

7      a              too, an                                    that

8          at that time.       This requires thinking! But

9      also--do you really need" -- well, strike that.

10                  Do you have an understanding of the                 02:57:33

11     concept that even with some anonymization, content

12     of data can still identify a user?

13                  MR. BLUME:     Objection.    Form.

14                  THE DEPONENT:     Can you ask that question

15     one more time.       I was reading.                              02:57:55

16             Q.   (By Ms. Weaver)     Sure.    No problem.

17                  Do you have an understanding of what this

18     paragraph is talking about, the sentences that I

19     just read?

20                  MR. BLUME:     Objection.    Form.    And scope.    02:58:02

21                  THE DEPONENT:     I do have an understanding

22     about                and the process of deleting UII and

23     the examples in here.        And the complexity in making

24     sure that that UII that's deleted is complete and

25     that there still isn't the ability to identify.                  02:58:21

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1           Q.   (By Ms. Weaver)     "There still isn't the      02:58:27

2      ability to identify"; is that what you said?

3           A.   That -- that UII has been wiped.

4           Q.   Okay.

5           A.   That is -- that is what I said.                 02:58:34

6           Q.   And earlier, when we looked at

7      Exhibit 348, you said that you would like to have

8      seen the document at the hyperlink redirect the

9      privacy UII definition; is that right?

10          A.   That is correct, because that is what it        02:58:56

11     actually says what is UII on that page.

12               MS. WEAVER:     Okay.   And I'll let counsel

13     know, we've looked for this document and been

14     unable to find it.     So if you have it, we'd

15     appreciate you producing it so that we can complete       02:59:06

16     testimony about that topic.

17               MR. BLUME:     Duly noted.

18          Q.   (By Ms. Weaver)     Looking a little lower,

19     at the second part, where it says "

                     ; do you see that?                          02:59:21

21          A.   I do see that.

22          Q.   It says "You must            any

23               Do you see that?

24          A.   I do see that.

25          Q.   And that's referring to user-generated          02:59:33

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1      content, correct?                                                   02:59:35

2              A.      UGC means or -- or is an acronym for

3      user-generated content, correct.

4              Q.      And -- and what is that again?

5              A.      That was content generated by the user.             02:59:48

6      So that -- that might have been information that

7      they typed in the field.         That might have been the

8      post.        A broadly user-generated content might

9      include a photo or video as well.

10             Q.      Okay.   So why don't we turn to the second          03:00:03

11     page of the document.

12             A.      Okay.

13             Q.      And I'll just point to the bottom there

14     where it says "Remember.         Our product is control

15     over data.        Blogs and photo sharing existed before            03:00:23

16     Facebook, but they were public.           Because there was

17     no real notion of 'identity' on the internet,

18     hundreds of millions were afraid to share.                 We let

19     users say who can see what, and that is why users

20     trust us, and that trust is why they upload content                 03:00:40

21     to Facebook that they want to share.            When the user

22     says no--the content is not for sharing

23     anymore--not even with themselves--they mean not

24     with us, either.

25                     "Failure to comply with these regulations           03:00:52

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1      make Facebook a liar in the eyes of the                         03:00:55

2      United States Congress.        That's why we care.

3      Please don't be that guy."

4                   Do you see that?

5           A.      I do see that.                                     03:01:04

6           Q.      What does identity refer to in that

7      paragraph?

8                   MR. BLUME:   Objection.      Form.    And scope.

9                   THE DEPONENT:     I -- I think this

10     document, as I mentioned earlier, is clearly the                03:01:14

11     editorial and writing of an individual engineer and

12     not necessarily a policy.

13                  So when they say "identity," I -- I don't

14     know that I can necessarily interpret what that

15     engineer meant.                                                 03:01:28

16          Q.      (By Ms. Weaver)     What does identity

17     mean -- mean at Facebook?

18                  MR. BLUME:   Objection.      Form.    And scope.

19                  THE DEPONENT:     I didn't -- I didn't

20     specifically prepare something for that, but I --               03:01:46

21     I -- the -- in general, from just my own personal

22     experience, the -- the term "identity" is,

23     you know, those things that can be -- I --

24     you know, it's the combination of the things that

25     identify back to me or -- or tie back to me.                    03:02:04

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1                MS. WEAVER:     Okay.     I'll mark tab 58,       03:02:08

2      please.

3                (Exhibit 351 was marked for

4      identification by the court reporter and is

5      attached hereto.)                                           03:02:22

6                MS. WEAVER:     And for the record, while

7      we're waiting for it, Exhibit 351 is

8      Bates number FB-CA-MDL-01952478.        And on the top it

9      says "Privacy Eng."

10          Q.   (By Ms. Weaver)     And let me know when you      03:03:00

11     have Exhibit 351.

12          A.   Okay.     I do not yet.

13               It just came through.

14          Q.   Great.     Thank you.

15          A.   Waiting for it to load.                           03:03:40

16               I have it.

17          Q.   And let me know when you've had a chance

18     to look at it.

19          A.   Still reading through it.

20          Q.   That's okay.                                      03:05:09

21               Did -- have you seen this document before

22     today?

23          A.   I believe I saw this document before

24     today.

25               MS. WEAVER:     And for the record, this is       03:05:18

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1      a document that we identified in our email to             03:05:22

2      counsel.

3                  THE DEPONENT:     Yeah.   That is where I

4      would have seen it.

5                  Okay.                                         03:05:29

6           Q.     (By Ms. Weaver)     What is Exhibit 351?

7           A.     It appears to be a work chat or workplace

8      communication.

9                  I can't -- I can't tell.       There's no

10     context between Ethan Raymond and Scott Renfro and        03:05:58

11     John Biesnecker.

12          Q.     Who is Ethan Raymond?

13          A.     I don't know.

14          Q.     Okay.   And, in general, what I'm focusing

15     on in this document and relates just to definition        03:06:23

16     of user identifiable information.

17                 And the first question is, Ethan Raymond

18     apparently is raising questions about what UII is.

19     And do you see where he cites a couple internal Web

20     links there.                                              03:06:43

21                 Right in the very top of the page,

22     there's "




24     then under that there's the

25                 Do you see that?                              03:06:55

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1              A.   The                                                03:07:01

2              Q.   Yes.

3              A.   I do see that link, yes.

4              Q.   Yes.

5                   What is "                                          03:07:04

6              A.   As we talked about earlier, in the

7                   page,           a tool that looks at

8                                      in a table in             and

9      looks                 Does so through




12             Q.   So -- I'm sorry.

13             A.                     would be how some of that

14     logic is built and what it's looking for.

15             Q.   So is        a tool?                               03:07:36

16             A.          is a software tool.

17             Q.   And do you know --

18             A.   The pieces --

19             Q.   I'm sorry.     I just can't -- I can't tell

20     when you're done speaking.          I apologize.    I'm not     03:07:48

21     trying to interrupt you.

22             A.   A piece -- it's a -- it's a -- it's a

23     piece of software specifically built for looking

24

25             Q.   And when did it first come into use?               03:08:01

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1              A.   I know that it's been around a while.              I   03:08:10

2      don't remember exactly when that tool started.              I

3      know that it predates               based on this document.

4              Q.   Yes.

5                   And were you just looking for that answer              03:08:23

6      in another document in front of you?

7              A.   I was double-checking my notes from

8      earlier this morning to see if I had made note of

9      that.

10             Q.   I see.     Okay.                                       03:08:32

11                  And what do you -- well, strike that.

12                  How does

13     and who received reports of it?

14                  MR. BLUME:     Objection.      Form.    And scope.

15                  THE DEPONENT:       Well, as I'm reading this          03:08:47

16     example -- or as I'm reading this document,                 was

17     not specifically written to

                       And if I'm looking at the example of

19     this document, these were separate examples where a

20     question was asked, do we have a standard and                       03:09:11

21     comprehensive definition of exactly what PII is at

22     Facebook.     I've looked at the following links which

23     give general definition of examples of PII.

24                  And so the                  doesn't

                                       proactively within policy           03:09:25

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1                                                                      03:09:29

2            Q.   (By Ms. Weaver)     I understand.

3                 But apparently there was a document

4      created and was available in            called

5                    is that how you interpret that?                   03:09:47

6                 MR. BLUME:   Objection.       Form.   And scope.

7                 THE DEPONENT:     Once again, if I -- if I

8      look to the document, as this is written -- and I

9      want to make sure maybe that we're reading the same

10     thing.                                                          03:09:57

11                At the -- towards the bottom of what

12     looks like a paragraph break, there is -- it says

13     "Question 1: Do we have a standard & comprehensive

14     definition of" exactly what Face- -- what                 --

15     "what exactly"                     at Facebook?         I" --   03:10:10

16     being Ethan Raymond -- "have looked at the

17     following links, which give general definitions or

18     examples of

19           Q.   (By Ms. Weaver)     Right.

20           A.   And I see a star, which would be a                   03:10:22

21     bullet, "[General definition]."         I see another star

22     that -- "[What counts as                    ]," which is

23     the                        you're referring to.

24                And then I see a third star, which would

25     be                         which are -- these are just          03:10:36

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1      separate examples of pages this person had read.                 03:10:40

2      They're --

3             Q.    Right.     I understand.

4                   And right before that third star, do you

5      see the words                                                    03:10:50

6             A.    I do.     I see that as part of the URL.

7             Q.    Right.

8             A.    Associated -- that is the Wiki URL

9      associated with

10     "(https://our.internmc.facebook.com/intern/wiki/Con              03:10:58

11     tent_Policy/CO_Resources/Known_Questions/" -- and

12     the #9 dot, in Wiki terms, would link directly to

13     question 9.     And 9 -- the 9th question was

14     "_Privacy_Violations."

15            Q.    Understood.                                         03:11:27

16                  That's exactly what I was trying to lay

17     out.

18                  So that document lists

19                    but you think it's not in               is that

20     right?                                                           03:11:38

21            A.    Those are entirely separate bullets.

22     That page is what counts as

23            Q.    Got it.     Okay.    Great.    Moving on.

24                  A little bit lower, do you see --

25            A.    Yeah.                                               03:11:49

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1           Q.   -- where Scott Renfro wrote we --                  03:11:49

2      "Instead, we long ago started using this term




4           A.   Yeah.

5           Q.   And he said "Generally, we try to avoid            03:12:00

6      the use of the             altogether because there

7      are too many different interpretations, including

8      an especially large split between the

                                    about the definition."

10               I switched those sentences around, but             03:12:17

11     you see them, right?

12          A.   I do see them.

13          Q.   Okay.   And so do you understand, if

14     includes not only the

                                                              but   03:12:30

16     also includes                              and other

17     things that might -- may                        ?

18          A.   I do see that.

19          Q.   Do you agree with that?

20               MR. BLUME:    Objection.     Form.    Scope.       03:12:47

21               THE DEPONENT:     I -- I do.     And I actually

22     think this is -- I do want to -- I do want to call

23     out something specific in that sentence as well.

24     Because I think while we were talking about cookies

25     before the break, one of the things that's really            03:12:58

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1      important in the distinction here, that I did                 03:13:01

2      prepare for, are how cookie values are handled by

3      the deletion process.

4                   We don't store the cookies themselves.

5      Cookies only exist on a Web browser.           Whereas, the   03:13:11

6      cookie values themselves, like when a -- like the

7      datr cookie contains a set of information.

8                   One of the pieces of information in there

9      would be the datr key itself, which I talked about

10     from my own personal experience.          But in my           03:13:30

11     preparation, when that key is stored and it is

12     something that is potentially user identifiable,

13     the handling of that would be UII as stated here.

14     So this is consistent with my understanding.

15          Q.      (By Ms. Weaver)     Okay.    And just to         03:13:45

16     clarify the record, is it your understanding that

17                                          includes not only

18

                            , but also includes

                 and other things that




22          A.      Yeah.   The important qualification there

23     being that

24          Q.      Okay.   Great.

25                  And then do you see a little lower,              03:14:13

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1      there's another message from Mr. Renfro at                  03:14:18

2      7:42 a.m., and he says -- I'm sorry, at

3      1:28 p.m. -- it's very -- down at the bottom.

4                   He's referring -- it -- it says "Not

5      really.                           a subset of User Data."   03:14:39

6                   Do you see that?

7              A.   I do see that.

8              Q.   And what is

9                   MR. BLUME:     Objection.    Form.

10             Q.   (By Ms. Weaver)     You know, if you need to   03:15:17

11     read it, I can -- I -- I could try to sort of jump

12     ahead, but I can go back.

13             A.   Yeah, I'm -- I'm -- I'm --

14             Q.   That's fine.

15             A.   -- reading the rest of the context, so...      03:15:23

16             Q.   Yeah.   Let me read it to you.

17                  So at 7:42 a.m. Scott Renfro writes

18     "There's also been some work to identify user data

19     by                             by looking at all the

20     types                           when a user account is      03:15:35

21     deleted."

22                  Do you see that?

23             A.   Yeah.   I'm -- I am reading further up in

24     the document to make sure I've got the right

25     context for how this is being referred to.                  03:15:44

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1             Q.    Excellent.                                        03:15:46

2                   And so the question, when you're ready,

3      is what is

4                   MR. BLUME:     Objection.     Scope.   Form.

5      And scope.     I'm sorry.                                      03:16:12

6                   THE DEPONENT:     Yeah.     My understanding of

7      what           is, is that it -- it is a

8      classification.     I -- I don't know the taxonomy for

9      that classification.        And it -- it -- so that

10     certain types of actions and what that data may be.            03:17:39

11                  How they are referring to it in this

12     context, I am unfortunately not familiar with.

13            Q.    (By Ms. Weaver)     Did you discuss this

14     with Mr. Renfro in preparation for your deposition?

15            A.    We did not --                                     03:17:50

16                  (Court Reporter initiates discussion off

17     the stenographic record.)

18                  THE COURT REPORTER:       John, can you go off

19     the record?

20                  THE VIDEOGRAPHER:     Yeah.                       03:18:11

21                  We're off the record 3:18 p.m.

22                  (Recess taken.)

23                  THE VIDEOGRAPHER:     Okay.     Back on the

24     record.     It's 3:19 p.m.

25            Q.    (By Ms. Weaver)     Great.                        03:19:23

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1                   And so looking a little bit lower back to             03:19:25

2      Mr. Renfro was writing at -- July 10th, at

3      1:28 p.m.

4                   He says "Not really.                           is a

5      subset of User Data.      It's sensitive in the context            03:19:38

6                works in because it's User Data.

7      Basically,                                                subset

8      of User Data.     User Data is what we usually care

9      about unless we care just about things that are

10                                                                        03:19:54

11     care about."

12                  Do you see that?

13          A.      I do see that sentence or paragraph.

14          Q.      Do you agree that

15                  MR. BLUME:   Objection.      Form.    And scope.      03:20:10

16                  THE DEPONENT:     Based -- based on this

17     paragraph, PII, as Scott had mentioned prior in

18     this document -- Mr. Renfro -- has a variety of

19     definitions.

20




25          Q.      (By Ms. Weaver)     Great.                            03:21:01

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1                And so looking at Exhibit 340, the "User        03:21:01

2      Data Deletion Policy," when it refers to user data,

3      we unfortunately have not been produced the

4      document at the hyperlink to user data in

5      Exhibit 340, and we just received this document --        03:21:14

6      I think they were loaded Saturday morning.

7                But for the -- what is your definition of

8      user data, as used in this policy?

9           A.   As used in this policy, I would expect it

10     to include all user-generated content and user            03:21:42

11     identifiable information.

12          Q.   Does it include user identifiers as well?

13          A.   As -- as I -- as I just said, it would

14     include user-generated content and user

15     identifiable information.     And the -- the term         03:21:57

16     "user identifiable information" implies that the --

17     that the information itself could be used as

18     identifiable to an individual.

19          Q.   Right.

20               And just to be specific, and to be clear,       03:22:15

21     does it also include like




23          A.   There is only one canonical user

24     identifier that matters and that's the user ID,

25     FBID, UID that -- the same single user identifier         03:22:38

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1      is the one that matters most.                                       03:22:44

2                      And I couldn't answer the question

3      identifiers just previously in -- in -- as that

4      is -- that is too generic use of the term.

5                      We -- because of                              and   03:22:54

6      because of after somebody deletes their account,

7      the                                no longer user

8                            as that

9      nor is it                          .    It -- it's -- it's not

10                                                                         03:23:14

11             Q.      Is it user data?

12                     MR. BLUME:      Objection.    Form.

13                     THE DEPONENT:      Can you ask a complete

14     question.        I want to make sure I understood the

15     question you're asking.                                             03:23:37

16             Q.      (By Ms. Weaver)        Are the actual

17     identifiers we just discussed, user data, do they

18     fall within your definition of user data?

19             A.      We just discussed two.        So I want to make

20     sure I'm answering the right ones.                                  03:23:51

21                     The                                   is user

22     data.        And when an account is deleted, that --

23     that's

24                     The RID, while an account is active, is

25     UII, because there is a mapping from the RID to the                 03:24:13

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1              Once an account is deleted is                                03:24:18

2      as it is no




4             Q.      Is the        -- well, it's user data and

5      UII?                                                                 03:24:40

6                     MR. BLUME:     Objection.    Form.

7                     THE DEPONENT:     The SID, while an account

8      is active,                              .   Once an account

9      is deleted, it is

                                                                            03:25:13

11            Q.      (By Ms. Weaver)     And is the ASID, UII or

12     user data?

13            A.      The                   While an account is

14     active and a consumer of a

                            or if given permission and consent to           03:25:29

16     a third-party developer to use that, the

                   -- is the

                                                       identifier

19     that is given to

                                                           .   And it       03:25:51

21     is unique                                    and to that --

22     that

23                    It is not identifiable externally.            It is

24     only identifiably intern- -- identifiable

25     internally to internal Facebook developers.                 And as   03:26:11

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1      long as that                               is there, it       03:26:16

2      is               in that sense.

3                 It's intentionally made because we don't

4      give the

                                                       everything,   03:26:28

6      to                              because if a user

7      de-activates the application or terminates their

8      connection with that third-party developer,




                       And the FBID has no meaning -- or             03:26:47

11     sorry -- the

                                   .

13          Q.    So -- I'm sorry.

14          A.    So while the user is active and using the

15                         is                          internally.   03:27:01

16     And once that                             or once the

17     user deletes their account, it is

18     internally.

19          Q.    Is the ASID still in use?

20          A.    The ASID is still in use --                        03:27:20

21          Q.    And when was it --

22          A.    -- to best of my knowledge.

23          Q.    And when was it first used?

24                MR. BLUME:    Objection.     Form.

25                THE DEPONENT:    As I didn't prepare for           03:27:36

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1      the third-party application as much, but rather,          03:27:37

2      the use of those identifiers in deletion, I don't

3      know that I prepared for that date.          But I'm

4      double-checking in my notes.

5                  (Exhibit 352 was marked for                   03:27:46

6      identification by the court reporter and is

7      attached hereto.)

8                  MS. WEAVER:     And while you're checking,

9      we have marked as Exhibit 352, a document your

10     counsel produced to us and said you would be              03:27:54

11     prepared to discuss today.

12                 It's bearing Bates number ADVANCE-META-8

13     through -9, and the title is "App-Scoped ID (ASID)

14     Conversions."

15                 THE DEPONENT:     I see that that document    03:28:16

16     is loaded now.

17          Q.     (By Ms. Weaver)     Do you know when the

18     ASID was first used at Facebook?

19          A.     I'm still reading the document.

20          Q.     I'm just -- before you're looking at the      03:28:29

21     document, I'm just asking, do you know when the

22     ASID was first used at Facebook?

23          A.     I do not know when it was first used at

24     Facebook.

25          Q.     And if you were going to find out, how        03:28:38

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1      would you find out?                                         03:28:40

2              A.   I would look to -- the -- the source of

3      record would be the code -- the code associated

4      with app source, app-scoped IDs.

5              Q.   It's knowable, though, right?                  03:29:07

6                   MR. BLUME:     Objection.    Form.

7                   THE DEPONENT:     It should be.

8              Q.   (By Ms. Weaver)     Okay.

9              A.   It should be.

10             Q.   Take a moment and let me know when you've      03:29:13

11     had a moment to look at Exhibit 352.

12             A.   Okay.

13             Q.   Did you review this document in

14     preparation for your deposition?

15             A.   I did.                                         03:30:25

16             Q.   And what is it?

17             A.   It is a Wiki page titled "App-Scoped ID

18     (ASID) Conversions."        It's Revision 24784904 in the

19     Wiki.

20             Q.   Okay.    And do you see where it says          03:30:57

21     "There are two directions for ASID

22                             .   The first one is going from

23                    and the second is going in




25                  Do you see that?                               03:31:09

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1             A.   I do.                                         03:31:13

2             Q.   And underneath that in a bullet point it

3      says                   Privacy SEV that should be

4      fixed ASAP."

5                  Do you see that?                              03:31:21

6             A.   I do see that.

7             Q.   What is -- what is SEV?

8             A.   That is a SEV.

9             Q.   And what does it stand for?

10            A.   It is -- it -- it is its own noun at          03:31:33

11     Facebook.     And a SEV is an incident with some

12     level of -- there is a -- it is a -- it's -- it's

13     our system for tracking things that need to be

14     fixed, and a scale of prioritization attached to

15     it.                                                       03:31:57

16            Q.   Okay.   And looking a little lower, do you

17     see it says "ASIDs.     The intention of ASIDs is to

18     provide 3rd-party applications with




20                 Do you see that?                              03:32:17

21            A.   I do see that.

22            Q.   And that's why ASIDs were created; is

23     that right?

24            A.   That is my understanding, yes.

25            Q.   And then below it says                        03:32:25

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1                            programmatically at scale is bad           03:32:27

2      and should be considered a privacy SEV."

3                   Do you see that?

4           A.      I do see that.

5           Q.      And is that true?                                   03:32:38

6           A.      That is -- that is true.

7           Q.      Okay.   And a little lower it says

8      "Example of Exploitation.        A way this could be

9      exploited is if

                                       able to be                       03:32:52

11     programmatically exploited,

                                                     in order to

13

14     which would be bad for a couple of reasons.              1. It

15     would violate users' privacy.        2. It would remove          03:33:07

16                                                       developers

17     could just

18                  Do you see that?

19          A.      I do see that.

20          Q.      And is that true?                                   03:33:19

21          A.      Is -- I -- the words that you read are --

22     are on the page, that is true.

23                  I think what is -- I -- can you tell me

24     what you're asking?

25          Q.      Yeah.                                               03:33:36

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1                   Is it true that if apps started sharing      03:33:36

2      data with each other, developers could start

3      sharing and compiling data, which would violate

4      users' privacy, and remove dependence on Facebook

5      Growth and Ads, if developers just circumvent them?       03:33:47

6           A.      Yeah.

7                   What I -- what I read this as is a

8      theoretical explanation of how this could be

9      exploited if somebody were to do this kind of

10     mapping, and to reinforce the importance of why           03:34:02

11     this happens.

12                  This is consistent when -- this is the

13     type of example that's written in regularly in

14     security documentation and other things so that

15     there is an understanding of what could be                03:34:17

16     exploited.     So that people have an understanding of

17     what they're trying to build defenses against when

18     they're -- when they're building tools and

19     safeguards.

20          Q.      Okay.   And looking at the last page and     03:34:29

21     the last paragraph, do you see there's a sentence

22     in bold?

23          A.      I do see that sentence in bold.

24          Q.      Could you read it, please.

25          A.      Sure.                                        03:34:50

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1                  I'd like to read it in context.                  03:34:50

2                  So the section is "                   is not

3      ideal.    Ideally, applications should only have

                     explicitly granted them by" user -- "by

5      the user permissions.       In this case, the ability        03:35:03

6      for the application to

                         is not problematic because the user

8      is knowingly granted permission to this

9      application."

10                 THE COURT REPORTER:       Hold on.    Hold on.   03:35:09

11                 THE DEPONENT:     "At this point" --

12                 THE COURT REPORTER:       You're going to have

13     to read slower, please.

14                 THE DEPONENT:     Oh.

15                 THE COURT REPORTER:       You need to read       03:35:17

16     slower.

17                 THE DEPONENT:     Apologies.     I can start

18     over.

19                 THE COURT REPORTER:       No need.    Just

20     please read slower.                                          03:35:20

21                 THE DEPONENT:     Okay.

22                 "In this case, the ability for the

23     application to

                  is not as problematic because that user

25     has knowingly granted permission to this                     03:35:42

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1      application.       At this point, the ability for the               03:35:44

2      application to                         is basically

3      redundant.     The bigger problem is making sure" that

4                                      without permission in the

5      first place."                                                       03:35:58

6           Q.      (By Ms. Weaver)     And do you have an

7      understanding as to why ASIDs were created in the

8      first place?

9           A.      The                is the canonical source

10     of truth for the user --                                  .   And   03:36:17

11     as we introduce third-party developers, having the

12     ability to have                        that are

                              without having to give them the

14                        meant that that never had to be

15     shared with them as the default state.                              03:36:41

16                  And it also meant that when a user would

17     terminate their relationship for any reason with

18     the third-party developer, that they would not have

19     the user identifiable information of a UID by

20     default as a part of that process.                                  03:37:00

21                  (Exhibit 354 was marked for

22     identification by the court reporter and is

23     attached hereto.)

24                  MS. WEAVER:    We'll go ahead and mark

25     Exhibit 302 -- oh, strike that.          Actually, tab 31.          03:37:18

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1                   And for the record, it's a rather large      03:37:38

2      file.

3                   Tab 31 bears the

4      Bates numbers PwC_CPUP_FB00020372 through -381.

5                   And I'm only going to ask you questions      03:37:53

6      about some specific pages.

7              A.   Okay.

8                   What is the exhibit number again?

9              Q.   I believe it will be 354.

10                  But, again, it's large, so it's probably     03:38:32

11     taking a moment.

12             A.   There it is.

13                  I know this is on the record.       It's

14     really hard when the mouse scroll goes the opposite

15     direction you're used to.       Just have to, for the     03:39:35

16     record, say that.

17             Q.   Are you left-handed or is it --

18             A.   I'm -- I'm usually left-handed, but it's

19     like when you scroll up, it goes down and in the

20     opposite --                                               03:39:46

21             Q.   Oh, yeah.   Let's get it --

22             A.   I do have it open now.

23             Q.   Great.

24                  So you can flip through it.

25                  The first question is, what is               03:39:55

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1      Exhibit 354?                                              03:39:56

2                 And I'll tell you, I'm going to ask

3      you -- well, let me know when you're ready.

4           A.    Okay.

5                 In answering the question of what this         03:42:05

6      is, it is an email from Spencer Kindt to

7      Louis C. Larrus.     Spencer Kindt from Facebook,

8      Louis C. Larrus of PwC, dated 10/9/2013.

9                 And I don't know whether the right phrase

10     would be montage or potpourri of code samples,            03:42:33

11     screenshots, emails, user ID, examples from a

12     cvikram.   Content that was in a Box folder and the

13     PDF containing all the contents of that folder.

14          Q.    Okay.   And so is it fair to say that code

15     begins on or around page -1260 -- the page ending         03:43:01

16     at -1260 in the document?

17                MR. BLUME:     Objection.    Form.

18                THE DEPONENT:     It depends on your

19     definition of code.      There's a -- there's some code

20     on page 12 and 13.                                        03:43:23

21          Q.    (By Ms. Weaver)     When you say 12 and 13,

22     would you mind using the Bates number?

23          A.    Oh, I apologize.

24          Q.    No problem.

25          A.    I'm using the page number.                     03:43:34

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1             Q.    Yeah.                                               03:43:36

2             A.    There is a chronscript on

3      Bates page -21261.

4             Q.    Great.

5             A.    And then actual page v code starting on             03:43:46

6      -21262.

7             Q.    What's a chronscript?

8             A.    It's a script that runs on a -- on a

9      regular basis with a schedule.           And so it's -- it's

10     a -- it's a scheduling tool for scheduling jobs.                 03:44:05

11            Q.    Is              a chronscript?

12                  MR. BLUME:     Objection.     Form.

13                  THE DEPONENT:     What I'm looking at on

14     this page is not                .     It's the

15                            that's highlighted on line 73 on          03:44:28

16     that page.        That was scheduled to run at 5 after

17     2:00 a.m., 8:00 a.m., 2:00 p.m. and 8:00 p.m. every

18     day.

19            Q.    (By Ms. Weaver)        Understood.

20                  But is                 also a chron- --             03:44:46

21     chronscript but runs routinely, or how does it run?

22            A.    It is a process that is called --

23     I don't -- I don't know the -- I don't know if --

24     that it's specifically run                       because it's

25     an                                                        , as   03:45:01

                                                                        Page 187

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1      opposed to this being older in our infrastructure            03:45:04

2      where the way to

3           Q.   Okay.    And how are they scheduled now?

4           A.   I didn't specifically prepare for that.

5                But just -- it's -- we have more modern            03:45:17

6      tools that -- as -- as opposed to chronscripts that

7      ran in this way.    So that we can monitor when they

8      start, that they start, validate that they start

9      and -- and get completions.

10               I just don't remember the name of the              03:45:29

11     tool that's built for that.

12          Q.   Thank you.

13               And you said then code begins at

14     page -262; is that right?

15          A.   That is correct.                                   03:45:39

16          Q.   And what's your understanding of why code

17     was being provided to PwC here?

18               MR. BLUME:    Objection.     Form.    Beyond the

19     scope.

20               THE DEPONENT:     I -- I don't see any             03:45:51

21     context on -- the only context I see in the email

22     is "Here's the latest stuff from Box."

23          Q.   (By Ms. Weaver)     Okay.    And are you

24     prepared to discuss today how data is associated

25     with users through pixels?                                   03:46:10

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1                  MR. BLUME:     Objection.       Form.           03:46:19

2                  THE DEPONENT:        Could you be more

3      specific in -- in the question.

4           Q.     (By Ms. Weaver)        I don't know how to be

5      more specific.                                              03:46:28

6           A.     Okay.

7           Q.     The topic identified was -- included

8      Facebook's processes of association of user data

9      and information, and I had expressly emailed about

10     pixels.                                                     03:46:41

11                 Are you prepared to talk about how pixels

12     function?

13          A.     Do you have -- if you've got a specific

14     question, I can let you know if I'm prepared for

15     that or not.     I believe I'm prepared, but...             03:46:54

16          Q.     Sure.

17                 Turn to the Bates number ending in

18     -303 -- I'm sorry.       -305.

19          A.     I'm at -305.

20                 I will quickly read this.                       03:47:42

21          Q.     Sure.

22          A.     Okay.   I've read this page, which appears

23     to be a proposal to the privacy XFN board.

24          Q.     And what is the

25          A.     In here, it's identified as an                  03:49:25

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1                                                                03:49:29

2           Q.   Are you familiar with           other than

3      this document?

4           A.   I'm not.

5           Q.   Okay.                                           03:49:35

6           A.   I have not come across that.      I -- I also

7      don't know if this was adopted or not, as this was

8      a proposal.

9           Q.   Okay.   Why don't we turn to the page

10     ending at -307.                                           03:49:49

11          A.   Okay.

12               Okay.

13          Q.   Do you need a second to review it?

14          A.   I'm reviewing it right now.

15          Q.   Are you familiar with the process of            03:50:33

16                                     between Facebook and

17     data partners?

18          A.   I am in personal experience.

19          Q.   And what do you know about it?

20          A.   I know that we've -- for -- how I'm             03:51:02

21     familiar with it is how we've integrated in the

22     past for types of privacy safe matching similar to

23     what's proposed here is -- is -- is what's been my

24     experience and what I'm familiar with it around it.

25          Q.   Okay.   When are you aware that                 03:51:33

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1




3           A.    I do not know.

4                 MR. BLUME:   Objection.      Objection.      Form.

5           Q.    (By Ms. Weaver)     Do you know if it's              03:51:45

6      still going on?

7                 MR. BLUME:   Objection.      Form.    Scope.

8                 THE DEPONENT:     I do not know.

9           Q.    (By Ms. Weaver)     When data was received

10     from data brokers and then matched to Facebook                  03:51:58

11     data, where did that data go and how -- and is it

12     part of the deletion process?

13                MR. BLUME:   Objection.      Form.

14                THE DEPONENT:     Third-party data for the

15     deletion process has its -- has its own retention               03:52:24

16     policy.   It's also stored in a way that it

17     itself is not directly identifiable but can only be

18     matched with a series of hashes.        And so it,

19     itself, by itself, is not user identifiable, as

20     it's stored, hashed in ways similar to what is                  03:52:48

21     described in this example.

22                It would require there to be an exact UII

23     that has been hashed to see if it matches with the

24     existing hashed storage.

25          Q.    (By Ms. Weaver)     And is that data then            03:53:08

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1      associated with a specific user in a way such that           03:53:11

2      if it were -- well -- is hash -- no, strike that.

3                Is matched data re-associated with

4      Facebook users through pseudonymize --

5      pseudonymized identifiers at some point?                     03:53:30

6                MR. BLUME:   Objection.      Form.    And scope.

7                THE DEPONENT:     The -- and just speaking

8      from personal experience on that, the -- and to

9      walk through and give a synthetic example of what a

10     hash is, to help explain that, because I don't               03:54:02

11     think I can answer that question -- and maybe you

12     can ask it slightly different after I explain how a

13     hash works.

14               If my name is Mike and I hash that, that

15     hash might end up with 7654321 as the number that            03:54:15

16     represents what Mike was.     That 7654321 is what

17     would be stored.   It is not UII.      It's not

18     identifiable.

19               If I wanted to match, to see if something

20     matched for Mike, I wouldn't be able to attach Mike          03:54:40

21     and say that.   I would need to generate a hash and

22     then see if the hashes match.

23               And so as 7654321 is not user

24     identifiable, it wouldn't -- there -- there --

25     it -- it wouldn't -- it would fall under natural             03:54:59

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1      del- -- or retention policies, but would be stored           03:55:03

2      in that context -- or in -- in its form.         And there

3      wouldn't be a need to de-identify it, as it's not

4      user identifiable information in the hash itself.

5                And so could you clarify the question you          03:55:19

6      were asking?

7           Q.   (By Ms. Weaver)     Is that data then, at

8      some point, later re-associated with Facebook

9      users?

10               MR. BLUME:     Objection.    Form.                 03:55:43

11               THE DEPONENT:     In this third-party data

12     example, we wouldn't have the salt or the key to

13     unlock the hashes.     We would only be able to match

14     if we had that same data and put it in a similar

15     hash to then see if it matched.       And so                 03:56:05

16     prohibitively by itself there isn't re-association

17     on data itself in that form because we don't

18     possess the key to it in the scenario that's --

19     that's on the document in front of me.

20          Q.   (By Ms. Weaver)     Setting aside what's in        03:56:23

21     the document in front of you, do you know if

22     Facebook, at any point, acquired the key to be able

23     to re-identify such data back to Facebook users?

24               MR. BLUME:     Objection.    Form.    And scope.

25               THE DEPONENT:     I'm not aware.                   03:56:41

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1                 MS. WEAVER:     Okay.     Let's mark               03:56:45

2      Exhibit 302 [sic].      And actually -- actually, while

3      that's loading, mark tab 88.

4                 (Exhibit 355 was marked for

5      identification by the court reporter and is                   03:57:20

6      attached hereto.)

7                 MS. WEAVER:     Sorry, Josh.      I hit you with

8      two at once.

9                 THE DEPONENT:     While those are loading,

10     may I take a few-minute break?                                03:57:37

11                MS. WEAVER:     Yes.     Why don't we go off

12     the record.

13                THE VIDEOGRAPHER:        Okay.   We're off the

14     record.   It's 3:57 p.m.

15                (Recess taken.)                                    03:58:01

16                THE VIDEOGRAPHER:        Okay.   We're back on

17     the record.    It's 4:14 p.m.

18          Q.    (By Ms. Weaver)        In -- Mr. Clark, you

19     understand you're still under oath, correct?

20          A.    Yes, I do.     Yes.                                04:14:55

21                MS. WEAVER:     In your absence, we marked

22     Exhibit 356.

23                (Exhibit 356 was marked for

24     identification by the court reporter and is

25     attached hereto.)                                             04:15:01

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1                  MS. WEAVER:     And for the record, it bears   04:15:03

2      Bates numbers ADVANCE-META-23 to -25, and reads

3      "                    " on top.

4                  THE DEPONENT:     Okay.

5             Q.   (By Ms. Weaver)     What is Exhibit 356?       04:15:16

6             A.   356 is a Wiki page from the internal

7      Facebook engineering Wiki titled

                                                  And it's

9      Revision No. 51885342.

10            Q.   And what is -- and what does the document      04:15:47

11     reflect, in general?

12            A.   It's talking about the -- as part of the

13     overall deletion framework, there -- the -- the --

14     just -- the workers of the deletion framework that

15     actually do the deletion, from a software                  04:16:03

16     perspective, are called deleters.         And this walks

17     through -- talking through what deleters are and

18     examples of what those deleters are.

19            Q.   And do you see a reference to "recording

20     of restoration data" here?                                 04:16:19

21                 It's the second bullet.

22            A.   The second bullet under "What Do They

23     Do?"

24            Q.   Yes.

25            A.   Yes, I do.                                     04:16:37

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1              Q.    What is the recording of restoration                     04:16:37

2      data?

3              A.    As the deletion process kicks off, the --

4      the broader deletion framework, if I were to

5                                                   almost simul- --          04:16:51

6      almost instantly

                             the Facebook application or

8      Facebook platform.

9                    But there's a lot of work to do behind

10     the scenes for these

                    Like for                           not just




14                   And so in the process of making that

15                                      I'm -- as a user, I'm given           04:17:22

16     a period of time that I can choose not to delete or

17     reactivate my account

18     And so in order to be                                         I need

19     to know what the

                                    .                                         04:17:41

21             Q.    Okay.     Got it.

22                   And looking, just for a second, back at

23     347,




                                                                              04:18:01

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1




3                     MR. BLUME:    Objection.      Form.

4                     THE DEPONENT:     Could you -- could you ask

5      that one more time.         And I'm -- I'm -- I want to         04:18:20

6      make sure I understand it.

7             Q.      (By Ms. Weaver)     Once an

                   is it possible to reach all of the data by

9      searching for the                        previously would

10     have been able to find with -- strike it.              Let me   04:18:37

11     try it again.

12                    Once an                                is it

13     possible to reach all of the data using the

14     that you might have been able

                                                                       04:18:59

16                    MR. BLUME:    Objection.      Form.

17                    THE DEPONENT:     Okay.    It -- that feels

18     like two questions because I want to make sure I

19     answer that.

20                    And so the first part is, when a

                                      is the moment an

22     created and so that's -- that's from -- from day

23     one.    No                        has occurred at that

24     point because the                         haven't happened.

25                    After               activity, things that        04:19:32

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1      are -- some of the metadata -- and just the                        04:19:37

2      metadata that                        would have

3      run against it at -- at -- so it's done by

4      So at            it would kick off, and the

                           in logs or some of that kind of                04:19:57

6      information in

7                 And the question was, can the                 be used

8      to                    information?

9                 While an account is active

10                        allows for the

                 The active process of                             n or

12                                         occurs when an

13     account is deleted.     And so once that account is

14     deleted, that       is not               because there is

15     only the one point of                    the

               that we had spoken about, that is the only

17                                  And so it's not




19                It also like from a -- from a privacy

20     perspective, would go against any violation to                     04:20:59

21     maintain any other mapping.       And that's also at the

22     heart of the rationale why we go through and

23     eliminate UII from these files as well to prevent

24     that mapping from -- from -- from -- that user

25     identifiable information from being able to make                   04:21:22

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1      that identity in any way.                                 04:21:24

2           Q.   (By Ms. Weaver)     Okay.    I guess my

3      question was a little unclear.

4                At any point prior to the time the

5      account is deleted, is the            perfect             04:21:40

6      for the           terms of the scope of the data




8           A.   The           the scope of the data it

9

10               The        is only in data that sits in         04:22:04

11     that has been                 And so I don't know what

12     you mean by the "scope of the data."

13          Q.   Okay.     For the -- I'm going to ask some

14     ugly questions, and then I'll try to clean it up

15     later and try to communicate with you.                    04:22:22

16          A.   Okay.

17          Q.   So what I'm trying to understand is --

18     yes, let's limit it to the                  data in

19

20               Is there any way in which, when the

                            there is some subset of the data

22     within              that cannot




24               That's what I mean by perfect substitute.

25               Does that make sense?                           04:22:49

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1                      MR. BLUME:   Objection.      Form.                04:22:51

2                      THE DEPONENT:     It -- I think it does.

3      And that scenario is intentionally -- like that

4      that's why the product is architected the way it

5      is, to swap

                    And then having the user information, the

7                                            in that same process

8      of

9                      And so I -- the -- the scenario you're

10     talking about is not part of what's engineered.                   04:23:24

11             Q.      (By Ms. Weaver)     Right.

12                     So in conclusion, once

               it is likely that it will be very difficult to

14                                                             is that

15     fair?                                                             04:23:56

16                     MR. BLUME:   Objection.      Form.

17                     THE DEPONENT:     The -- that's more to --

18     to tear apart there.

19                     The -- when you say "all data," could --

20             Q.      (By Ms. Weaver)     Assume I'm talking about      04:24:10

21     all the data --

22             A.      Could we be specific and maybe --

23             Q.      Sorry.

24                     Assume I'm talking about all the data in

25     Hive, just for now, data warehouse.                               04:24:16

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1           A.      Okay.   Then please ask the question              04:24:18

2      again.

3           Q.      Well, strike that.

4                   Is      also used for TAO?

5                   MR. BLUME:    Objection.     Form.                04:24:27

6                   THE DEPONENT:         exists in the

7               that we had mentioned before, which is --

8      contains the                                       is only

9                                                     which is only

10                                                                    04:24:42

11          Q.      (By Ms. Weaver)     Does       exist in TAO?

12                  MR. BLUME:    Objection.     Form.

13                  THE DEPONENT:         only exists in the

14              that does the                             It is

15     TAO -- TAO, being for internal Facebook developers,            04:24:57

16

17                  MS. WEAVER:     Thank you.

18          Q.      (By Ms. Weaver)     So for only the dataset

19     where Facebook




23                  MR. BLUME:    Objection.     Form.

24                  THE DEPONENT:     If by more difficult you

25     mean less efficient or technically feasible, it is             04:25:40

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1      less efficient because you have to look up the

                         for anything that you're trying to

3      do analysis on while the account is still active.

4                   Whereas, before you would be able to

5                                     from a technical           04:26:05

6      efficiency perspective.        So while the account is

7      still active,                                 When that

8      account is no longer active, the mechanism




                                                                 04:26:22

11                  The -- the process of pseudonymization

12     made it so that there is only the one string that

13     connects RID back to the user.         And once that

14     string is cut, there is no other tie because the

15     UII has been eliminated.                                  04:26:41

16             Q.   (By Ms. Weaver)     And when you say "when

17     the account is no longer active," are you referring

18     to                 or are you referring to




20             A.   I should have been precise and specific      04:26:55

21     and meant

22                  MS. WEAVER:   Okay.     Great.

23                  Thank you.

24

25     /////                                                     04:27:03

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1                (Exhibit 357 was marked for                              04:27:03

2      identification by the court reporter and is

3      attached hereto.)

4                (Exhibit 358 was marked for

5      identification by the court reporter and is                        04:27:03

6      attached hereto.)

7                MS. WEAVER:   Please take a look at

8      Exhibits 357 and 358, which are actually associated

9      with each other.

10               Exhibit -- for the record, Exhibit 357 is                04:27:14

11     the email and family associated with the native

12     file at Exhibit 358.

13               And for the record, these documents bear

14     Bates numbers FB-CA-MDL-03233363 through -65.

15               And Exhibit 358 is the native file.                And   04:27:42

16     we're not going to put up Exhibit 358 on the

17     screen, but it might be a little bit difficult for

18     to navigate.

19               Actually, if we can put it on the screen

20     that might be good.                                                04:28:00

21               Josh, do you want to try it?        I know that

22     you're freezing.

23          Q.   (By Ms. Weaver)     And I guess you might

24     want to start with Exhibit 357, Mr. Clark.             And

25     I'll just ask you what is it, when you have a                      04:28:30

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1      chance.                                                   04:28:33

2           A.     Okay.

3                  Apologies.    This is taking a while.

4      There's a lot of content here.

5           Q.     No problem.                                   04:30:18

6           A.     All right. 357 appears to be an email

7      between Ayana Miller and Privacy PM, dated

8      September 9th, 2015, where Ayana, in sending to

9      Privacy says "It's time to close out August

10     products.    Please make sure you've checked all of       04:31:03

11     your TBDs and products listed with August launch

12     dates" and "see whether they launched and" updates

13     according -- "accordingly by end of day next

14     Tuesday.    We are planning on picking products for

15     audit leader next week."                                  04:31:15

16                 THE DEPONENT:     Oh, I apologize for

17     reading that so fast.

18                 Do you need me to redo that?

19                 THE COURT REPORTER:       No.

20                 THE DEPONENT:     Okay.                       04:31:20

21                 MS. WEAVER:     She would have let you know

22     probably.

23                 But it's near the end, you'll both be

24     happy to know.

25          Q.     (By Ms. Weaver)     Who -- who is             04:31:29

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1      Anna Ruecker; do you know her?                            04:31:32

2           A.   I do not.

3           Q.   Okay.     Do you know what a product

4      closeout reminder is?

5                MR. BLUME:     Objection.    Form and scope.    04:31:46

6                And I don't think this document was among

7      the ones you sent.

8                MS. WEAVER:     That's because I just

9      received it.     It was loaded on Saturday.

10               THE DEPONENT:     I do not know what product    04:31:59

11     closeout reminder is for August.       I can only

12     infer -- infer -- actually, I -- there's not enough

13     context in here to really infer what -- what that

14     means.

15          Q.   (By Ms. Weaver)     Okay.    And turning to     04:32:11

16     the Excel spreadsheet.

17          A.   Okay.

18               Is there a specific row?

19          Q.   Sure.     Let's start with row 8B.

20          A.   The custom segment creation via                 04:32:53

21     off-Facebook surveys?

22          Q.   Yes.

23          A.   Okay.

24          Q.   And I'm actually looking at -- I'm trying

25     to identify the cell.     So 8B, as in boy.               04:33:00

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1           A.   Understandable.                                 04:33:03

2           Q.   Perfect.

3                And let me know when you've had a

4      second -- a second to look at it.

5           A.   Okay.                                           04:34:10

6           Q.   What is a segment ID?

7                MR. BLUME:   Objection.      Form.    Scope.

8                THE DEPONENT:     It --                wasn't

9      something I had prepared or researched before this,

10     and so I -- I don't specifically know what that's         04:34:35

11     referring to in this context.

12          Q.   (By Ms. Weaver)     Okay.    So Exhibit 8B

13     describes the creation of




                                                                 04:34:56

16               Is that a fair description of what it

17     says in this cell?

18          A.   That is a fair description of what it

19     says in this cell.

20          Q.   And then it says in the cell at step 2,         04:35:08

21




23               Do you see that?

24          A.   I do see No. 2, yes.

25          Q.   And then it says                                      20

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1




3                     Do you see that?

4              A.     I do see that.

5              Q.     So do you know whether, in this scenario,          04:35:30

6      Facebook

                    and stored it?

8                     MR. BLUME:     Objection.    Form.    And scope.

9                     THE DEPONENT:     I could not say -- I -- as

10     I don't know that answer.                                         04:35:47

11             Q.     (By Ms. Weaver)     So you're not -- that's

12     okay.

13                    So you're not prepared to testify about

14     how Facebook associates the off-platform data to

15     the Facebook user ID; is that fair?                               04:35:59

16                    MR. BLUME:     Objection.    Form.

17                    THE DEPONENT:     In -- in the context of

18     deletion and off-Facebook associations on how this

19     would be stored, I'm prepared to talk about.                I

20     just am not familiar with the specific scenario.                  04:36:20

21             Q.     (By Ms. Weaver)     How does the Facebook

22     conversion pixel work?

23                    MR. BLUME:     Objection.    Form.    Scope.

24                    THE DEPONENT:     Is there a specific

25     question around that?                                             04:36:33

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1           Q.      (By Ms. Weaver)     Well, I identified data        04:36:34

2      associated through the pixel in my email.

3                   This specific example talks about how the

4      partner under contract issues survey off Facebook

5      with Facebook conversion pixel, and I'm wondering               04:36:49

6      if you had the ability to testify as to how that

7      functions?

8                   MR. BLUME:   Objection.      Form.

9                   THE DEPONENT:     I -- I know it broadly in

10     my own experience and -- and can talk to it                     04:37:04

11     generically.     But I just am not familiar with this

12     specific scenario.

13          Q.      (By Ms. Weaver)     Okay.    What can you talk

14     to generically?

15                  MR. BLUME:   Objection.      Form.    And scope.   04:37:17

16                  THE DEPONENT:     How I -- the -- the

17     elements I can talk to and the elements I'm

18     familiar with are what the IDs are that are stored

19     and how -- how they are either pseudonymized or

20     de-identified, or the information in the processes,             04:37:33

21     and how that information is handled in the deletion

22     process.

23                  I don't think I'd be able to talk to

24     enough specificity on an example like this.

25          Q.      (By Ms. Weaver)     Okay.    Look at cell 14B,     04:37:51

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1      as in boy.     And while you're looking, I'll read it           04:37:54

2      into the record.

3




13                  Do you see that in cell 14B?

14          A.      I do see that in 14B.

15          Q.      Are you familiar with how clean -- how             04:38:34

16     data is




18                  MR. BLUME:   Objection.      Form.    And scope.

19          Q.      (By Ms. Weaver)     And if it helps, I'll

20     direct you to cell 14F, which refers to use of the              04:39:11

21                                                         , as part

22     of this process.

23          A.      I'm not familiar with this clean room

24     process.

25          Q.      Do you know who may be -- oh, I'm sorry.           04:40:06

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1             A.   I -- as -- especially as -- and I -- I           04:40:10

2      just want to make sure we go back to 357 in the

3      setup for this spreadsheet -- that these were

4      proposed products.       And I'm just -- I -- I don't

5      know that these are -- I -- I -- I am not familiar           04:40:32

6      with that scenario and I'm not seeing that scenario

7      in practice.    So I wouldn't be able to talk to that

8      one.

9                  And as I have not seen it, I -- I would

10     only -- when asked for a name, would only be able            04:40:45

11     to point to the name of the person that's on the

12     sheet as the privacy PM that worked -- that had

13     worked this at that time.

14            Q.   Okay.   Looking at row 36A, are you

15     familiar with the practice of

                                                                ?

17                 MR. BLUME:     Objection.    Scope.

18                 THE DEPONENT:     I understand the technical

19     components of what's described here, but I'm not

20     familiar with this exactly existing in production.           04:41:52

21     So I wouldn't be able to talk to it.

22            Q.   (By Ms. Weaver)     How about row 40,

23     cell 40A describes training translation systems

24     using message to pages.

25                 MR. BLUME:     Objection.    Scope.              04:42:07

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1           Q.    (By Ms. Weaver)     And it says "To improve         04:42:08

2      our machine translation systems, creating two sets

3      of messages to pages."

4                 Do you see that?

5                 And then it says

                                                 ."

7                 Do you have any involvement with that?

8                 MR. BLUME:    Objection.      Scope.

9                 THE DEPONENT:     I do not.     And I'm not

10     familiar with that operating today.                            04:42:43

11          Q.    (By Ms. Weaver)     Give me just two

12     seconds.

13                Are you familiar with the

14          A.    Which line is that on?

15          Q.    7F.                                                 04:43:14

16                MR. BLUME:    Objection.      Form.    And scope.

17                THE DEPONENT:     Not in preparation for

18     this, but in -- just my normal -- is myself in --

19     personal experience.

20                I am familiar with the                   just       04:44:01

21     meaning that when somebody

                         there is a -- there is a

23     put in place.

24                So that if somebody had

                                                                      04:44:12

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1      that it still knows to go back in and




3              Q.   (By Ms. Weaver)      Okay.     Look at --

4              A.   The rest of -- the rest of this, I -- I'm

5      not familiar with.                                         04:44:25

6              Q.   Okay.   Apologies.

7                   Look at row 6A.

8                   Were you familiar with Facebook

9

                                                                  04:44:38

11                  MR. BLUME:     Objection.      Scope.

12                  THE DEPONENT:     I am not familiar with

13     that.

14             Q.   (By Ms. Weaver)      What is




16             A.   I do not know.

17             Q.   Do you know who might know?

18             A.   Edward Esslemont, the name in the sheet.

19             Q.   Yeah.

20                  Okay.   What's a custom audience match        04:45:02

21     rate?

22                  Do you know?

23                  MR. BLUME:     Objection.      Scope.

24                  THE DEPONENT:     I didn't prepare for that

25     as part of this, and I -- I don't actually know            04:45:12

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1      what the custom audience match rate is.                         04:45:15

2                 MS. WEAVER:     Okay.     I think that's it.     I

3      think we have no more -- further questions for this

4      witness.   We are not closing the topic or the

5      notice.                                                         04:45:33

6                 Mr. Clark, thank you very, very much, and

7      I hope you feel better.

8                 THE DEPONENT:     Thank you.

9                 THE VIDEOGRAPHER:        Okay to go off the

10     record?                                                         04:45:44

11                MS. WEAVER:     Yes.

12                MR. BLUME:    Are we off the record?

13                THE VIDEOGRAPHER:        Okay.   Sure.   We're

14     off the record.     It's 4:45 p.m.

15                (Recess taken.)                                      04:46:22

16                (Exhibit 359 was marked for

17     identification by the court reporter and is

18     attached hereto.)

19                THE VIDEOGRAPHER:        We're back on record.

20     It's 4:57 p.m.                                                  04:57:17

21          Q.    (By Ms. Weaver)        Mr. Clark, have you had

22     the opportunity to review what has been marked as

23     Exhibit 359?

24                MS. WEAVER:     It bears Bates numbers

25     ADVANCE-META-66 through -69.                                    04:57:28

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1                  And for the record, on the break,               04:57:35

2      counsels produced it to us.          It was a document in

3      the hyperlink of the earlier exhibit.

4                  THE DEPONENT:     And for clarity, this is

5      the link -- I just want to make sure I know what            04:57:47

6      this is -- this is the linking from which

7      Exhibit -- which earlier exhibit?          It was the --

8                  MS. WEAVER:     Exhibit 348.

9                  THE DEPONENT:     348.

10                 MS. WEAVER:     Is that correct, Counsel?       04:58:00

11                 MR. BLUME:    I trust you, but hang on.

12                 MS. WEAVER:     Well, I don't know that this

13     is the link.

14                 MR. BLUME:    Yes, this is link -- yes.

15     This is the link under what is -- UII redirect to           04:58:09

16     link privacy/UII_definition_0 is -- the link --

17     that link brings us to Exhibit 359.

18          Q.     (By Ms. Weaver)     So Mr. Clark, what is

19     Exhibit 359, in your understanding?

20          A.     Exhibit 359 is a Wiki page from the             04:58:35

21     Facebook internal Wiki, titled "UII Definition,"

22     Reversion 48265038.

23          Q.     And when was the last time you saw this

24     document?

25          A.     Right now, as I'm looking at it.                04:59:01

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1           Q.      Have you reviewed this link document             04:59:04

2      before?

3           A.      I did not review this link document

4      before today.

5           Q.      And do you understand this document to           04:59:18

6      set forth --

7           A.      I -- I -- I want to correct the record.

8                   I've seen this before.     I've used it in

9      the course of business.     But for the sake of

10     preparation and deeper understanding.                         04:59:26

11          Q.      That's what I was asking.

12                  So does Exhibit 359 set forth Facebook's

13     definition of UII?

14          A.      It -- it is on the privacy Wiki as -- as

15     the definition -- policy definition of UII.                   04:59:51

16          Q.      And beginning at what point in time was

17     this the definition for Facebook of UII?

18          A.      I'm going to refer just to my notes for a

19     moment to see if I made note of that.

20                  I don't know when that shift occurred.       I   05:00:30

21     do know that as of 2010, we still referred to it as

22     PII -- or we still -- we still used PIIs as the

23     basis.     It was some point after that where UII was

24     adopted.     I just do not know when.

25          Q.      And what's your understanding of the             05:00:45

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1      distinction between PII and UII?                          05:00:47

2           A.   UII is Facebook's specific definition

3      of -- which is broader than PII, which is adopted

4      more industry-wide.     But has specific meaning in

5      the context of ads versus other types of                  05:01:09

6      industries.

7                And for our own sake built the definition

8      of UII to be inclusive of the types of data and

9      things that we had.

10          Q.   So specifically, what is the definition?        05:01:25

11          A.   UII, originally an acronym for user

12     identifiable information, refers to types of data,

13     or combinations of types of data, which could be

14     used uniquely to identify a person, account, or

15     device, or to relink data to a person, account or         05:01:41

16     device.

17          Q.   And do you have an understanding of what

18     personal information is, in Facebook's view?

19          A.   I'm -- I'm going to read from the

20     document for that.                                        05:02:35

21               In the third paragraph, in the section

22     labeled

                             third paragraph starts

24     "Additionally, it is important to note that

25     does not directly map to 'personal information'           05:02:50

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1      (under CCPA) or other similar legal terms.                     05:02:54

2      Instead, it is a category assigned to




                                                             as per

5      our commitments and obligations.                               05:03:10

6                "It is entirely possible for a particular

7      piece of data to be                    because of its

8      type even though it may not necessarily constitute

9      'personal information' when examined by itself."

10          Q.   Personal --                                          05:03:37

11          A.   "For example" --

12          Q.   I'm sorry.

13               Go ahead.

14          A.   "For" -- I'm just reading it slow to make

15     sure -- "For example,                                 is a     05:03:42

16                    regardless of whether any"




19          Q.   Do you have an understanding that the

20     definition of personal information, under the                  05:04:08

21     CCPAA, is any information that can be reasonably

22     linked or associated with an individual?

23               MR. BLUME:    Objection.    Calls for a legal

24     conclusion.   Form.

25               THE DEPONENT:    I -- I -- I -- that one, I          05:04:42

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1      can't answer that.     But I can answer that I believe     05:04:43

2      that's part of why we make UII even broader.

3           Q.   (By Ms. Weaver)     Broader than what?

4           A.   Specific -- when you get to the

5      definition of UII meaning both types of data, but          05:04:55

6      combinations of types of data.

7           Q.   Okay.   As you sit here today, can you

8      state what personal information is under the CCPAA,

9      as referenced in this document?

10               MR. BLUME:     Objection.    Form.    Scope.     05:05:18

11     Calls for a legal conclusion.

12               THE DEPONENT:     I -- I can't quote the

13     CCPA off the top of my head.

14          Q.   (By Ms. Weaver)     So you don't know what

15     the definition of "is personal information under           05:05:28

16     the CCPA" as referenced in this document?

17          A.   As -- as I just am seeing this document

18     for myself, I -- I'm familiar with personal

19     information under CCPA, but just don't -- don't

20     have that analysis or didn't prepare for -- to             05:05:45

21     answer that question.

22          Q.   Do you know what personal infor- -- how

23     personal information is defined under the CCPA?

24               MR. BLUME:     Objection.    Calls for a legal

25     conclusion.   Form.    And scope.                          05:06:03

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1                  THE DEPONENT:     I -- I don't know how to         05:06:15

2      answer that.

3                  I -- in -- in my personal experience, I

4      would work with product counsel and counsel.             And

5      in that definition, I -- I -- as I said, I did not             05:06:24

6      prepare to have an answer for that today.

7           Q.     (By Ms. Weaver)     Okay.    So it's really --

8      this really is very simple.       It's a yes-or-no

9      question.

10                 As you sit here today, can you define              05:06:33

11     personal information under the CCPA?

12                 MR. BLUME:   Same objections.

13                 THE DEPONENT:     I'm -- I'm truly

14     struggling to answer that, but -- I have prepared

15     context.    But I can't answer yes or no to that.              05:06:43

16          Q.     (By Ms. Weaver)     Isn't the answer "no,"

17     that you don't know, as you sit here today, how

18     CCPA defines personal information?

19          A.     I do in my personal experience and as I

20     work as a product manager day-to-day, but I do so              05:06:57

21     with guidance and direction from counsel.           And I --

22     I didn't -- I don't have a prepared answer or

23     didn't prepare to answer it in this context.

24          Q.     Well, what is your personal understanding

25     of what personal information is under the CCPA?                05:07:11

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1              A.      As I said, I've worked with counsel on               05:07:32

2      that.        I just -- I don't have it at the end of the

3      day for you.

4                      If -- if you'd like to put it up, I can

5      read what it is.         I just -- I don't have that                 05:07:40

6      answer right here in front of me.

7              Q.      Okay.   So that's fine.

8                      So the answer is you don't know, right?

9                      MR. BLUME:   Same objections.

10                     THE DEPONENT:     As a representative of             05:07:52

11     Facebook, I didn't prepare to answer that.                   In my

12     personal experience, I work with it.              But I -- I

13     just -- I can't articulate it right now.               So I --

14             Q.      (By Ms. Weaver)     So the answer is, as you

15     sit here right now, you don't know what the                          05:08:11

16     definition of personal information under the CCPA

17     is, correct?

18                     In your personal or in the corporate

19     capacity; is that right?

20                     MR. BLUME:   Objection.      Scope.                  05:08:21

21                     You can answer yes or no in your personal

22     capacity.

23                     THE DEPONENT:     In -- in my personal

24     capacity, I work with product counsel on a regular

25     basis on the definition of what personal                             05:08:31

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1      information is under CCPA, which is a long and                  05:08:33

2      nuanced answer in the context of working with that

3      data every day, because I have come up with and

4      developed that definition under guidance and

5      direction of counsel.                                           05:08:45

6                In my personal experience, I -- I -- I

7      did not prepare to answer that question, so I

8      cannot answer that I don't know.

9           Q.   (By Ms. Weaver)        Okay.    Well, so -- we

10     have a 30(b)(6) deposition here.          You've asked for      05:09:03

11     this document that refers to personal information

12     under CCPA, which is part of the definition of UII,

13     which is within the scope of what data is deleted,

14     and I'm just answering -- I'm just asking, for

15     the jury, can you tell me today, as you sit here,               05:09:20

16     how does Facebook define personal information?

17               MR. BLUME:     Objection.       Form.    And scope.

18     And calls for a legal conclusion under the CCPA.

19               THE DEPONENT:        And I -- I really am

20     trying to be responsive.        And that's why I'm making       05:09:39

21     sure that it's on the record that I'm answering

22     that I don't know.     In --

23          Q.   (By Ms. Weaver)        Okay.

24          A.   -- preparation for this, I came prepared

25     to answer the things related to question 4.               And   05:09:48

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1      am -- am not counsel and can't make a legal                   05:09:52

2      conclusion to that.

3           Q.   I'm not asking for a legal conclusion.

4                I am asking for Facebook's understanding

5      of what personal information is.                              05:10:03

6           A.   And as -- as I've already identified, it

7      wasn't in the scope of what I prepared in the

8      context of this deposition for the jury.

9                MS. WEAVER:    And, Rob, why is it that you

10     think the definition of personal information is not           05:10:23

11     within the scope of user data and information?

12               MR. BLUME:    It's defined in the CCPA,

13     which is a statute, and that is the definition.

14     Whether he can articulate it word for word or

15     whether he refers to the CCPA's definition is what            05:10:37

16     it is under the statute.

17               MS. WEAVER:    I believe this is what --

18               (Simultaneously speaking.)

19               MR. BLUME:    That is the definition --

20               MS. WEAVER:    Rob, if you listen to the            05:10:46

21     question -- because you're objecting off point.

22               Could you please read back --

23               MR. BLUME:    Your -- your question was --

24               SPECIAL MASTER GARRIE:      All right.      Stop.

25     We are not going off the rails.      We are way too far       05:10:52

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1      into this today.                                          05:10:55

2                  So read the question back.

3      Counsel Blume, if you want to respond, and you feel

4      you're responding, please do so.        And we'll note

5      the objection for the record and we will then move        05:11:05

6      forward.

7                  MS. WEAVER:    The question is at page 196,

8      line 9.

9                  MR. BLUME:    Can you read it again?

10                 SPECIAL MASTER GARRIE:      196.              05:11:31

11                 MR. BLUME:    The question I have is --

12                 MS. WEAVER:    I'm sorry.    It's line 3.

13                 MR. BLUME:    Yeah, I'm -- I'm -- you're

14     asking me -- I'm happy to read the question.

15                 "So the answer is, here right now, you        05:11:37

16     don't know what the definition of personal

17     information is" --

18                 MS. WEAVER:    Rob.

19                 MR. BLUME:    -- "under the CCPA; is that

20     correct?"                                                 05:11:44

21                 That's the question.

22                 MS. WEAVER:    Rob, it's line 3.

23                 I'm not asking for a legal conclusion.

24     This is the question:      What is Facebook's

25     understanding of what personal information is?            05:11:51

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1                 MR. BLUME:    He said it was the CCPA.         And   05:11:55

2      that's a statute that you're --

3                 (Simultaneously speaking.)

4                 MS. WEAVER:    Okay.   But you're not

5      testifying, Mr. Blume --                                        05:11:59

6                 SPECIAL MASTER GARRIE:      Wait.    Wait.

7      Everybody just -- for some reason you guys

8      interpret my silence as a permission to keep

9      talking.

10                The objection is pending.       I hear it.           05:12:06

11     And we will go from there.

12                Counsel Weaver, what was -- so I'm

13     looking at this.   You asked a question to the

14     witness.   The witness -- all right.       It says "I'm

15     not asking for a legal conclusion.       I'm asking for         05:12:25

16     Facebook's understanding of what the personal

17     information.

18                And then there's an answer.

19                And what is your -- your -- and then --

20     so help -- walk -- work with me.                                05:12:36

21                So what is the issue, Counsel Weaver?

22                MS. WEAVER:    I would like an answer to

23     the question of what Facebook's understanding of

24     personal information is.

25                SPECIAL MASTER GARRIE:      Okay.    That is         05:12:46

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1      the question that is pending to the witness.              05:12:48

2                Is there an objection, Counsel Blume?

3                MR. BLUME:   The objection is to the

4      extent it calls for a legal conclusion.

5                SPECIAL MASTER GARRIE:       Noted --           05:13:00

6                MR. BLUME:   That is -- that's -- that's

7      my objection.

8                SPECIAL MASTER GARRIE:       Noted for the

9      record.

10               Mr. Clark, please answer the question to        05:13:06

11     the best of your ability.

12               THE DEPONENT:     To -- to the best of my

13     ability, as a representative of Facebook, I -- I

14     didn't prepare for that in -- in the context of

15     answering No. 4.                                          05:13:18

16               In my personal experience, the definition

17     that I have, I have gotten in working under

18     guidance and direction of counsel for the sake of

19     product work.   And -- and I -- I don't know what I

20     can say and what I can't say.                             05:13:39

21               I'm -- if -- if I were asked and even if

22     I were read is the CCPA definition of this, this,

23     then I could give an observation or factual answer,

24     I could answer that.   But understanding implies

25     much more --                                              05:14:03

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1                  SPECIAL MASTER GARRIE:       Counsel Weaver,          05:14:05

2      you can follow --

3                  THE DEPONENT:     -- than what I had

4      prepared.

5                  SPECIAL MASTER GARRIE:       Go ahead.       Sorry.   05:14:08

6      I didn't mean to interrupt.

7                  THE DEPONENT:     Oh, than -- than what I

8      had prepared for.

9                  SPECIAL MASTER GARRIE:       Counsel Weaver.

10                 MS. WEAVER:     This is a fundamental                 05:14:18

11     question to the case and relates directly to the

12     data that is deleted and collected by Facebook.

13                 What is Facebook's definition of personal

14     information?

15                 I'm not asking for a legal conclusion.                05:14:27

16     I'm just asking --

17                 SPECIAL MASTER GARRIE:       Hey.

18                 MS. WEAVER:     Yeah.

19                 SPECIAL MASTER GARRIE:       The witness

20     testified he's not prepared to answer that on                     05:14:33

21     behalf of Facebook as the witness -- I mean, I can

22     read you back what he said, but -- I mean --

23                 MS. WEAVER:     Okay.   Well, I'll move on.

24     Sanctionable.

25          Q.     (By Ms. Weaver)     Looking at this                   05:14:49

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1      document -- looking --                                    05:14:50

2                MR. BLUME:     Objection to the comment.

3           Q.   (By Ms. Weaver)     -- going -- looking --

4      Mr. Clark, do you see a bunch of Facebook

5      identifiers listed in this document?                      05:14:56

6           A.   I do.

7           Q.   Do you know what the           is?

8           A.   This is Facebook

9      prior to the rename of Meta, as this document

10     hadn't been updated.




15          Q.   What is                                         05:15:35

16          A.   It --

17          Q.   I'm sorry.

18          A.   I believe




20          Q.   And -- and back to the third-party              05:15:46

21     identifier you said we discussed earlier.

22               What are you referring to?

23          A.   In one of the earlier documents we had

24     discussed -- we had referred to third-party ID, the

25     ephemeral third-party IDs.                                05:16:03

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1           Q.    You mean the IDs used in customer match?       05:16:09

2           A.    No.     These are -- these are

3      identifiers -- not just individual user

4      identifiers.     These are identifiers of objects,

5      transactions, third parties.                              05:16:21

6           Q.    Okay.               what is that?

7           A.    I believe that one is




                 when I -- when I choose the button on           05:16:43

11     Instagram, it's the




13          Q.    Is --

14          A.    -- as Instagram has its own canonical

15     user -- as Instagram has its own canonical user ID,       05:16:56

16     this maps between the two.

17          Q.    Understood.

18                And do you see where it says "Cookie

19     Identifiers" in this document?

20          A.    I do.                                          05:17:10

21          Q.    And it lists "BrowserID" and "DATR."

22                Do you see that?

23          A.    I -- I do.

24          Q.    How are they different?

25          A.    BrowserID -- each Web browser generates        05:17:20

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1      its own unique browser ID.                                     05:17:22

2                   DATR is the Facebook version of that

3      unique identifier, as it's possible to spoof the

4      BrowserID.

5                   And then the first-party cookie                   05:17:32

6      identifiers would be some of the things which we

7      had talked about before.       The values associated

8      with these cookie identifiers.

9           Q.      And you said a moment ago that the

10     Facebook identifiers we just discussed have changed            05:17:51

11     since Facebook became Meta.

12                  Which ones changed?

13          A.      Sorry.    I was -- to -- clarifying to make

14     sure my statement was heard correctly.

15                  This says Facebook identifiers.        But that   05:18:04

16     title of that category of Facebook identifiers, if

17     updated, would say Meta identifiers, as this

18     includes user ID, which is the Facebook ID.

                                       And so it's -- it's not

20     just Facebook as an application.         This is Facebook,     05:18:23

21     as a company, in that line.

22          Q.      Okay.    And then it's --

23          A.      Because it included WhatsApp and it

24     included other products as well.

25          Q.      Understood.                                       05:18:37

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1                 Turning to the top of the next page, do         05:18:37

2      you see where it says "Device identifiers and

3      Advertising Identifiers"?

4            A.   I do.

5            Q.   What is MS -- MISDN?                            05:18:45

6            A.   I think that's a typo.

7                 It says MISDN, but I believe it's MSISDN,

8      which is an identifier -- it's a -- it's a hardware

9      identifier on every phone.

10           Q.   Is it unique to -- to the -- every phone?       05:19:05

11           A.   I believe it is.    I can't say with

12     specificity.   I just know that it's a -- it's a

13     general unique device identifier that comes on

14     device.

15           Q.   And what's an IDFV?                             05:19:19

16           A.   I remember the two I's.      IDFV and IDFA as

17     both being an iOS-related device identifiers.

18                I don't know IDFV off the top of my head.

19           Q.   What's --

20           A.   I just know it's iOS-related.                   05:19:34

21           Q.   What's the "Family Device IDs" referred

22     to?

23           A.   That is -- that is across Meta or across

24     Facebook corporate.    Similar to what           is for

25                That is the equivalent for                      05:19:46

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1                                                                05:19:51

2             Q.   Is the family device ID tied to a

3      individual new UID?

4             A.   It is as -- as this

                                     is that one put in          05:20:08

6      combination with other things could cause or could

7      create

8                  So it's identified as something that when

9      combined with something else could equal

10     re-identification, which is why it's identified as        05:20:28

11     UII.

12            Q.   And then GAID, what is that?

13            A.   I believe that's the Google ad ID.

14            Q.   And AAID, what is that?

15            A.   I think it's the Android ID, if I             05:20:43

16     remember correct.

17            Q.   And then it says "or other OS or

18     Facebook-generated device IDs."

19                 What other Facebook-generated device IDs

20     are you aware of?                                         05:20:57

21            A.   Well, I didn't prepare for it

22     specifically.    I didn't speak to my personal

23     capacity.

24                 An example of Facebook-generated device

25     ID might be for my Oculus, or might be for --             05:21:07

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1      it's -- it's Facebook-generated because it's               05:21:09

2      Facebook hardware.

3           Q.      And a little lower do you see where it

4      refers to "Derived data from UGC."

5           A.      Yes.                                          05:21:32

6           Q.      And it refers to hashes, embeddings and

7      features or labels.

8                   Do you see that?

9           A.      I do.

10          Q.      What is an embedding?                         05:21:42

11          A.      I'm reading the context, since that's a

12     technical term that could be used in a variety of

13     different ways.

14                  I actually don't know with specificity on

15     this page.                                                 05:22:08

16                  I can -- I would assume that this has to

17     do with any classification as that is -- that is

18     one of the common uses of that term.

19                  But I -- I can't say with specificity

20     what -- what that means in this context.         I would   05:22:26

21     have to follow up.

22          Q.      What do you mean by "classification"?

23          A.      If -- if this were used in any machine

24     learning model or how that may have been used in

25     that case is how I've seen that term used.                 05:22:42

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1                   But as I said, I can't say with                    05:22:45

2      specificity in this case at this paragraph.

3           Q.      Are all three categories of derived data

4      described there stored in data warehouse?

5           A.      All three of -- and this is in the                 05:23:18

6      derived data from UGC category.          I want to make

7      sure I'm answering the right question.

8           Q.      Yes.

9           A.      Yes, I would expect that.

10          Q.      Is derived data not from UGC but from              05:23:27

11     off-platform activity stored in data warehouse?

12                  MR. BLUME:   Objection.       Form.   Scope.

13                  THE DEPONENT:     Off-Facebook activity --

14     can -- can you -- can you ask that question one

15     more time.     That was --                                      05:23:46

16          Q.      (By Ms. Weaver)     Yes.

17          A.      I got confused on the --

18          Q.      Is derived data generated from

19     off-platform activity stored in data warehouse?

20                  MR. BLUME:   Same objection.                       05:23:56

21                  THE DEPONENT:     Data from

                      -- lands in the                       and then

23     is

24                  I would also expect that derived data

25     would live in the                       , but I cannot say      05:24:17

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1      without -- with specificity without like a more              05:24:21

2      specific example.

3           Q.   (By Ms. Weaver)     And when you say it is

4      "transformed," what do you mean?

5           A.   When data comes in from off-Facebook               05:24:30

6      activity, it comes in as log entries as -- as

7      data -- the -- the most efficient way to collect

8      that data is in -- in a raw logging format.            And

9      then to do transforms which is -- an ETL

10     transformation of that data, which is a common               05:24:51

11     industry prac- -- practice to take raw log data and

12     put it into a usable fashion.

13               For instance, part of the result of that

14     transform is that data being made available to

15     consumers in -- in off-Facebook activity, which is           05:25:10

16     a tool on the Facebook site.

17          Q.   When you say "put it into usable

18     fashion," what do you mean?

19          A.   The data as it comes in is in a -- in a

20     raw log format.     It's meant to be efficient from a        05:25:34

21     network perspective.     It's meant to essentially

22     just be raw collection and not necessarily in a way

23     that it can be used.     That -- that -- that data

24     would be -- might be in the JSON string.         It might

25     be in a different kind of format.                            05:25:54

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1                  I don't specifically know what kind of              05:25:56

2      format it's in.    But it would be -- it wouldn't be

3      meaningful to me, as a consumer, if I saw that

4      activity on my OFA page without putting it into a

5      format that could be queried and have a user                    05:26:07

6      interface put in front of it.

7           Q.     Setting aside user interaction with the

8      data, how does Facebook transform off-platform

9      activity for its own use?

10                 MR. BLUME:   Objection.      Form.     Scope.       05:26:19

11                 THE DEPONENT:     Well, I didn't prepare for

12     it -- specifically for -- as a representative of

13     Facebook.

14                 I -- just in my own capacity, that --

15     that data is -- is                               for either     05:26:34

16                                   purposes that I'm

17     personally aware of.

18          Q.     (By Ms. Weaver)




                                                                       05:26:55

21                 MR. BLUME:   Objection.      Form.     And scope.

22                 THE DEPONENT:     I -- won't be a broken

23     record, but just from my personal experience, it's

24     the --

25          Q.     (By Ms. Weaver)                                     05:27:09

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1                                                                05:27:12

2           A.   Correct.

3           Q.   And would it still be, in some instances,

4      associated with a user ID or other identifier?

5                MR. BLUME:   Objection.      Form.    Scope.    05:27:30

6                THE DEPONENT:     Just reiterating what

7      we've walked through today with the

8      process and the processes in the data warehouse

9      and -- and also just from the definition of what we

10     just walked through, any of that information that         05:27:42

11     contained any of this UII, or if there was a user

12     ID or -- or one of the other -- or if there was a

13     user ID, that

                                      And any of the

                                                                 05:27:59

16          Q.   (By Ms. Weaver)     And do you see the

17     question -- or the sentence in bold that says "




20               Do you see that?                                05:28:16

21          A.   I'm scrolling down to that.

22               I do see that.

23          Q.   And does that mean that in data

24     warehouse -- which is Hive, correct?

25          A.   That is correct.                                05:28:35

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1           Q.     Does that sentence reflect that in data             05:28:36

2      warehouse data is not deleted but just

3      de-identified?

4                  MR. BLUME:   Objection.      Asked and

5      answered.    Form.                                              05:28:46

6                  THE DEPONENT:     Where technically

7      feasible,                     .    Where it is




10          Q.     (By Ms. Weaver)       And how do you define         05:29:07

11     what's technically feasible?

12          A.     If -- if you think about how a database

13     works, most databases work like a spreadsheet.              I

14     can go in and delete a row and that would allow me

15     to delete a record.                                             05:29:25

16




                                          But not possible to

20     just go in and -- in the spreadsheet example --                 05:29:42

21                      which is why the                 process

22     was invented.     So that on a

                                          would go through and

24

                                                 and then further      05:29:59

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1      go through and                                                 05:30:03

2           Q.      How are blobs of files created, in

3      general?

4                   MR. BLUME:    Objection.     Form.    Scope.

5                   THE DEPONENT:     In -- in my personal            05:30:17

6      experience, using -- using the pixel example, as

7      data comes back from pixel files, the data is

8      written into a raw log format.          And tables are

9      merely sets of files that are written together and

10     it's -- that's how the structure, the physical                 05:30:37

11     structure of how data gets written to disks.

12                  MS. WEAVER:     Great.   Thank you.

13                  Okay.   This was very helpful.        We really

14     are done, except that we are not closing the

15     deposition nor the topic.                                      05:30:52

16                  Thank you very much for your time,

17     Mr. Clark.

18                  MR. BLUME:    And before -- before we go

19     off the record, Mr. Garrie, if I could be heard for

20     a moment.                                                      05:30:59

21                  MS. WEAVER:     Let me just -- before you --

22     if you're about to launch into something else -- we

23     would request that counsel produce any documents

24     used to refresh the witness -- refresh the

25     witness's recollection in preparation for this                 05:31:11

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1      deposition.                                                        05:31:14

2                   MR. BLUME:    Refresh his recollection.

3      Okay.     Presumably, if he didn't know it before the

4      deposition, then it wouldn't be refreshed.                But

5      okay.                                                              05:31:24

6                   And Mr. Garrie, if I could be heard for a

7      moment.

8                   SPECIAL MASTER GARRIE:       Yes.    Do you want

9      the witness to stay?

10                  MR. BLUME:    It doesn't matter.                      05:31:34

11                  SPECIAL MASTER GARRIE:       Okay.

12                  MS. WEAVER:     It might matter to him.

13                  MR. BLUME:    He can go, if he wants.

14                  THE DEPONENT:     I'll be back.

15                  MR. BLUME:    I just -- I just want to make           05:31:44

16     sure that we're not chasing --

17                  THE VIDEOGRAPHER:     Did you want -- did

18     you want to go off the record or keep this on?

19                  MR. BLUME:    On -- on the record, please.

20                  THE VIDEOGRAPHER:     On the record.          Okay.   05:31:53

21                  MR. BLUME:    To make sure that we're not

22     chasing windmills here.

23                  The definition of personal information,

24     under the CCPA, which is the cite in this document

25     specifically, is about 330 words with three                        05:32:06

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1      sections and ten subsections referencing no fewer         05:32:13

2      than three other statutes, including the California

3      constitution.

4                  And so to expect any witness, even a

5      30(b)(6) witness, to recite all of that by memory         05:32:25

6      is an unreasonable request when the definition,

7      quote, personal information, close quote, as is set

8      forth in Exhibit 359 has a specific cite as to what

9      it means per the -- under the CCPA.       And the CCPA,

10     as I mentioned, has a very long and complicated           05:32:47

11     definition of what that means.

12                 And so claiming that he should not -- he

13     should be able to recite it by memory, I think, is

14     unreasonable.    And it is also -- I will also note,

15     as he testified to all day, the term "personal            05:33:04

16     information" is not a necessary -- the definition

17     of that is not necessary to understand this

18     document.    It's a comparative reference with the

19     definition cited, should that comparison need to be

20     made.   But does not define the terms used by             05:33:21

21     Facebook, which is UII and/or user data.

22                 Thank you.

23                 We have nothing further.

24                 SPECIAL MASTER GARRIE:     Well, I -- yeah,

25     I -- again, I was just -- I was just processing           05:33:39

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1      what was said.                                                 05:33:41

2                  Okay.     Noted for the record.

3                  But the definition of how Facebook

4      defines personal information, I would go with being

5      a critical concept for the -- the case as its                  05:34:00

6      entirety.    And so for Facebook, it may -- I'll

7      leave it to the parties, having read the

8      stipulation to -- having reserved all the time and

9      allocated accordingly -- to have this conversation

10     among themselves, but I would -- I would encourage             05:34:21

11     the idea of producing a witness that can define how

12     Facebook defines personal -- personal --

13                 MR. BLUME:     If I may, Your Honor --

14                 SPECIAL MASTER GARRIE:       -- information.

15                 MR. BLUME:     Yeah.   If I may --                 05:34:36

16                 MS. WEAVER:     You're interrupting him.

17                 MR. BLUME:     How -- if I may, personal

18     information is defined by Facebook as it sets forth

19     in Exhibit 359.       That is the definition under the

20     CCPA.    Facebook does not use the term "personal              05:34:45

21     information."       That's why we -- it -- as the

22     witness said, the Facebook term for that -- for

23     something that subsumes personal information is

24     UII.    That is the term that Facebook uses.             And

25     it's important to note, that as the document --                05:35:03

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1                SPECIAL MASTER GARRIE:     But --                05:35:07

2                MR. BLUME:   -- says, UII does not

3      directly map to personal information, so...

4                SPECIAL MASTER GARRIE:     Well, that's --

5      that's where I got confused.                               05:35:11

6                So if someone who does know the CCPA and

7      the different articles and can recite it to you, I

8      have a serious concern with the very construct that

9      it subsumes the definition of personal information,

10     so I would expect that Facebook --                         05:35:21

11               MR. BLUME:   Well --

12               (Simultaneously speaking.)

13               SPECIAL MASTER GARRIE:     -- can product a

14     witness -- don't interrupt me again.      You interrupt

15     me again and we will have a problem.                       05:35:27

16               MR. BLUME:   Okay.

17               SPECIAL MASTER GARRIE:     Okay.    Thank you.

18               MR. BLUME:   Okay.

19               SPECIAL MASTER GARRIE:     Thank you very

20     much.                                                      05:35:34

21               So what I'm trying -- and what I was

22     saying is that it subsumes the definition.

23     Thereby, they must have some understanding of what

24     constitutes personal information.

25               I have reviewed countless exhibits and           05:35:44

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1      materials your client has produced referencing            05:35:47

2      personal information as a term and a concept.

3      Whether or not you personally want to take a

4      position on behalf of your client that they have no

5      position as to what personal information is in the        05:35:58

6      786-plus documents that I can cite to you that use

7      the term "personal information" is a bit

8      disconcerting to me.

9                But with that even said, I still expect

10     that Facebook would feel incentivized to provide a        05:36:12

11     witness that could attest to how it defines the

12     concept of personal information, which is subsumed

13     by this broader construct.    Because I can't exactly

14     understand how they are differentiating the two.

15     And I read the exhibit and I heard the testimony.         05:36:28

16               So I advise you to take this under

17     advisement accordingly before I order it.        And I

18     will encourage you again that whatever witness --

19     if he's not prepared to testify as to how Facebook,

20     as a corporate representative, defines personal           05:36:45

21     information, that's noted for the record and will

22     be reflected accordingly as one of your comments.

23               We're done.    We're off the record.

24               MR. BLUME:    All right.    I do not mean --

25               SPECIAL MASTER GARRIE:      Thank you very      05:36:58

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1      much.                                                          05:36:58

2                   MR. BLUME:   I did not mean subsumed.       I

3      meant to read the document, which is directly --

4      does not directly map to personal information.

5      That is how we define the term.                                05:37:06

6                   SPECIAL MASTER GARRIE:     Right.     I know.

7      But it -- so I've read the documents, actually, all

8      of them.     And there is -- if Facebook's position is

9      they cannot define what personal information is,

10     that is fine.                                                  05:37:21

11                  (Simultaneously speaking.)

12                  MR. BLUME:   That's not --

13                  SPECIAL MASTER GARRIE:     They can go on

14     the record -- all that was asked is how Facebook

15     defined personal information and he said he is not             05:37:28

16     prepared to testify to that.

17                  I said that is fine.     Right.     I said that

18     is fine.     I understand it was a concept of that

19     document.     But the question was a broader question

20     asked by the attorney and the witness stated that              05:37:40

21     they were not prepared -- maybe there was

22     confusion.     Maybe there wasn't.     Fine.

23                  My point is, is Facebook would -- I would

24     recommend find a witness that can define how

25     Facebook, the company, defines personal                        05:37:55

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1      information.     That's it.                                      05:37:58

2                   There's no further conversation.

3                   MR. BLUME:   Under- -- understood.

4                   And with all due respect, it's -- he --

5      all he said was he couldn't reflect -- he couldn't               05:38:05

6      testify to the definition under the CCPA, which is

7      how it's referenced in this document.          That is his

8      testimony.

9                   SPECIAL MASTER GARRIE:      Well, there was

10     actually multiple -- there -- there -- well, it                  05:38:17

11     doesn't matter.     The testimony is captured for the

12     record and -- and I read 196, line 3, accordingly,

13     with the subsequent six lines of answers, as well

14     as the four other references.

15                  But that's neither here nor there.          And I   05:38:27

16     will leave it in the hands of counsel to review it.

17                  All I'm saying to Facebook is, find a

18     witness that can define what personal information

19     is, if there is not an agreement on this.           Because

20     I get a lot of briefs from everybody citing to this              05:38:43

21     constructs of personal information and not personal

22     information, as does Judge Chhabria.          And if your

23     client doesn't have a definition, we'd all like to

24     know.

25                  So with that in mind, we're going to go             05:38:55

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1      off the record.   Call it a wrap for the day and we          05:38:58

2      will continue forward with other depositions.

3      That's all I'm telling for the record.        Okay.    All

4      done.

5                 THE VIDEOGRAPHER:    Okay.    We're off the       05:39:11

6      record.   It's 5:39 p.m.

7                 (TIME NOTED:    5:39 p.m.)

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1             I, MICHAEL PATRICK CLARK, do hereby declare
2      under penalty of perjury that I have read the
3      foregoing transcript; that I have made any
4      corrections as appear notes; that my testimony as
5      contained herein, as corrected, is true and
6      correct.
7             Executed this ____ day of ___________________,
8      2022, at      __________________,_____________________.
9
10
11
12                                _______________________
                                  MICHAEL PATRICK CLARK
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1             I, Rebecca L. Romano, a Registered
2      Professional Reporter, Certified Shorthand
3      Reporter, Certified Court Reporter, do hereby
4      certify:
5             That the foregoing proceedings were taken
6      before me remotely at the time and place herein set
7      forth; that any deponents in the foregoing
8      proceedings, prior to testifying, were administered
9      an oath; that a record of the proceedings was made
10     by me using machine shorthand which was thereafter
11     transcribed under my direction; that the foregoing
12     transcript is true record of the testimony given.
13            Further, that if the foregoing pertains to the
14     original transcript of a deposition in a Federal
15     Case, before completion of the proceedings, review
16     of the transcript [ ] was [X] was not requested.
17            I further certify I am neither financially
18     interested in the action nor a relative or employee
19     of any attorney or any party to this action.
20            IN WITNESS WHEREOF, I have this date
21     subscribed my name.
22     Dated:     May 23, 2022
23
24                    <%7321,Signature%>
                       Rebecca L. Romano, RPR, CCR
25                     CSR. No 12546

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1      Ms. Lesley E. Weaver, Esq.

2      lweaver@bfalaw.com

3                                                    May 23, 2022

4      RE: IN RE:   FACEBOOK, INC.

5      May 18, 2022, Michael Patrick Clark, Volume I (JOB NO. 5210145)

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      __ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      _X_ Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

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2      Michael Patrick Clark, Volume I (JOB NO. 5210145)
3                              E R R A T A          S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
5      __________________________________________________
6      REASON____________________________________________
7      PAGE_____ LINE_____ CHANGE________________________
8      __________________________________________________
9      REASON____________________________________________
10     PAGE_____ LINE_____ CHANGE________________________
11     __________________________________________________
12     REASON____________________________________________
13     PAGE_____ LINE_____ CHANGE________________________
14     __________________________________________________
15     REASON____________________________________________
16     PAGE_____ LINE_____ CHANGE________________________
17     __________________________________________________
18     REASON____________________________________________
19     PAGE_____ LINE_____ CHANGE________________________
20     __________________________________________________
21     REASON____________________________________________
22
23     ________________________________                    _______________
24     WITNESS                                             Date
25

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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